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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN



MATTHEW             BATTLE,          JUAN     CLASS ACTION COMPLAINT
CASTANEDA, DAVID FIGUEROA,
ROBERT GRIBBLE, and WALTER                    JURY TRIAL DEMANDED
and JANICE HELMS, individually and
on behalf of all others similarly situated,

Plaintiffs,

       v.

GENERAL MOTORS, LLC,

Defendant.
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         1.    Plaintiffs Matthew Battle, Juan Castaneda, David Figueroa, Robert

Gribble, Walter and Janice Helms, (“Plaintiffs”), for themselves and on behalf of all

others similarly situated, bring this action against General Motors, LLC (“GM” or

“Defendant”). Plaintiffs allege the following based on personal knowledge as to their

own acts and on the investigation conducted by their counsel as to all other

allegations:

                            NATURE OF THE ACTION

         2.    This proposed class action is brought by new and used purchasers of

2019-2022 model year1 vehicles designed manufactured, marketed, distributed, sold,

warranted, and serviced by GM, equipped with GM’s eight-speed Hydra-Matic 8L90

transmission or Hydra-Matic 8L45 transmission (collectively, “Class Vehicles”).

Plaintiffs allege that the Class Vehicles’ eight-speed transmissions are defective, and

that GM concealed the defects.

         3.    The first generation 8L90 and 8L45 transmissions built after March 1,

2019, have a design defect based on a common architecture that causes “harsh shifts”




1
    For the model year 2019 Class Vehicles, those only include vehicles purchased on
    or after March 1, 2019. Class Vehicles purchased before March 1, 2019, are part of
    the proposed class in Won et al. v. General Motors, LLC, No. 19-cv-11044-DML-
    DRG (E.D. Mich.) (“Won v. GM”), ECF No. 223 (“Won Class Cert. Brief”) at 15.


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in lower gears, which can feel like jerking, lurching, and/or hesitations (“Shift

Defect”).

        4.     According to GM, the Shift Defect has been described by customers (as

recent as April 2021) as follows:2




        5.     The jerking, hesitation, surging, and lurching present a safety hazard

because they affect the driver’s ability to control the vehicle’s speed, acceleration,

and deceleration.

        6.     GM has not fixed the Shift Defect, nor can it, until the planned

deployment of a major redesign in MY23 models (“Gen 2”). GM has planned since




2
    Won v. GM, ECF No. 209-7, PageID.12936.


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at least 2018 for this redesign.3




        7.     GM is aware that the Class Vehicles will experience the Shift Defect at

levels well above GM’s warranty targets. 4

        8.     The Shift Defect affects the following GM vehicles: the 2019-2022

Chevrolet Camaro, Colorado, and Silverado, and the 2019 Corvette; the 2019

Cadillac ATS, ATS-V, CTS, CT6, and CTS-V; and the 2019-2022 GMC Canyon

and Sierra.

        9.     Defendant has known about the Shift Defect since before Job One in

2013 and has deliberately not disclosed to Plaintiffs and other similarly situated

customers that the Class Vehicles have defective transmissions that fail to function

in a safe and reliable manner as expected.

        10.    The Shift Defect manifests within the limited warranty period or shortly

after the limited warranty period expires. It is covered by GM’s express warranties.

GM expressly warranted the following: “The warranty covers repairs to correct any

vehicle defect, not slight noise, vibrations, or other normal characteristics of the



3
    Won v. GM, ECF No. 173-5, PageID.5934.
4
    Id., ECF No. 223, PageID.15442.


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vehicle due to materials or workmanship occurring during the warranty period.”

Accordingly, GM’s warranty covers all defects except for “slight noise, vibrations,

or other normal characteristics of the vehicle due to materials or workmanship

occurring during the warranty period.” Because the Shift Defect does not fall into

any of the above excluded categories, it is covered under GM’s express warranty.

However, when Class Members bring their vehicles to GM’s authorized agents for

repair, they are either told that their vehicles are behaving normally, given

ineffective repairs, or are having their transmissions or components replaced with

the same defective parts. GM knows those efforts won’t fix the Shift Defect—an

August 2020 Technical Service Bulletin (“TSB”) designed to address harsh first

shifts of the day notes that “[r]eplacing transmission components or complete

assemblies will not improve the condition.”

      11.      GM knew of the Shift Defect well before the time of sale for all Class

Vehicles, as early as 2013. During GM’s testing of an 8L vehicle, the down shift was

described as a “neck snapper.” Further evidence of GM’s presale knowledge of the

Shift Defect includes (1) continued prelaunch testing; (2) ongoing and above target

warranty claims in MY15-MY18 8L vehicles, (3) records from the National

Highway Traffic Safety Administration (“NHTSA”), (4) customer complaints

posted on internet forums, (5) its own records of customers’ complaints, (6)

dealership repair records and requests for technical assistance, (7) customer surveys;



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(8) Service Bulletins, and (9) its Customer Satisfaction Program. GM even

considered a service proposal for Class Vehicles to include valve body replacements

on the 8L transmissions at $1,250.5

        12.    Despite GM’s long-standing knowledge of the Shift Defect, it did not

alert purchasers before (or after) their transactions, has not recalled the Class

Vehicles to repair the defective transmissions.

        13.    Because of Defendant’s misconduct, Plaintiffs and Class Members

have been damaged: (1) at the point of sale by overpaying for the purchase of the

Class Vehicles; (2) at the time of resale due to diminished resale prices; and (3) by

receiving defective Vehicles that GM itself estimates would take over a thousand

dollars to repair to get them close to targets for Gen 2.

                          JURISDICTION AND VENUE

        14.    This action is properly before this Court and this Court has subject

matter jurisdiction over this action under the Class Action Fairness Act. At least one

member of the proposed class is a citizen of a different state than GM, the number

of proposed class members is in the hundreds of thousands, and the amount in

controversy exceeds the sum or value of $5,000,000.00 exclusive of interests and

costs. 28 U.S.C. § 1332(d)(2)(A).




5
    Won v. GM, ECF No. 172-2, PageID.5733.


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        15.    In addition, under 28 U.S.C. § 1367, this Court may exercise

supplemental jurisdiction over the state law claims because all the claims are derived

from a common nucleus of operative facts and are such that Plaintiffs would

ordinarily expect to try them in one judicial proceeding.

        16.    This Court has personal jurisdiction over Defendant because it is

headquartered in the State of Michigan; has consented to jurisdiction by registering

to conduct business in the state; maintains sufficient minimum contacts in Michigan;

and otherwise intentionally avails itself of the markets within Michigan through

promotion, sale, marketing and distribution of its vehicles, which renders the

exercise of jurisdiction by this Court proper and necessary as GM is “at home” in

Michigan.

        17.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(a)-(c). A

substantial part of the events or omissions giving rise to the claims occurred in this

District. Plaintiffs may properly sue GM in this District, where GM is headquartered.

                                   THE PARTIES

        18.    Plaintiff Matthew Battle is a citizen and resident of Georgia, over the

age of eighteen. Plaintiff Battle purchased a new 2020 GMC Canyon, manufactured

by GM and containing an 8L90 or 8L45 transmission, on or about November 25,

2019.




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      19.      Plaintiff Juan Castaneda is a citizen and resident of California, over the

age of eighteen years. Plaintiff Castaneda purchased a new 2021 GMC Canyon,

manufactured by GM and containing an 8L90 or 8L45 transmission, on or about

November 21, 2020.

      20.      Plaintiff David Figueroa is a citizen and resident of New Jersey, over

the age of eighteen years. Plaintiff Figueroa purchased a new 2021 GMC Canyon,

manufactured by GM and containing an 8L90 or 8L45 transmission, on or about

August 24, 2020.

      21.      Plaintiffs Walter and Janice Helms are citizens and residents of

Washington, over the age of eighteen years. Plaintiffs Walter and Janice Helms

purchased a new 2021 GMC Sierra 1500, manufactured by GM and containing an

8L90 or 8L45 transmission, on or about November 22, 2021.

      22.      Plaintiff Robert Gribble is a citizen and resident of Illinois, over the age

of eighteen years. Plaintiff Gribble purchased a used 2021 Chevrolet Silverado,

manufactured by GM and containing an 8L90 or 8L45 transmission, on or about

September 22, 2021.

      23.      Defendant General Motors LLC is a Delaware limited liability

company with its principal place of business located at 300 Renaissance Center,

Detroit, Michigan 48265. The sole member and owner of General Motors LLC is

General Motors Holdings LLC. General Motors Holdings LLC is a Delaware limited



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liability company with its principal place of business in the State of Michigan.

General Motors Holdings LLC’s only member is General Motors Company, a

Delaware corporation with its principal place of business in the State of Michigan.

General Motors Company has 100% ownership interest in General Motors Holdings

LLC.

       24.     General Motors LLC, itself and through its affiliates, designs,

manufactures, markets, distributes, services, repairs, sells, and leases passenger

vehicles, including the Class Vehicles, nationwide and in Michigan. General Motors

LLC is the warrantor and distributor of the Class Vehicles in the United States.

       25.     At all relevant times, Defendant was and is engaged in the business of

designing, manufacturing, constructing, assembling, marketing, distributing, and

selling automobiles and motor vehicle components in Michigan and throughout the

United States of America.

       26.     To sell vehicles to the general public, GM enters into agreements with

dealerships who are then authorized to sell GM-branded vehicles such as the Class

Vehicles to consumers such as Plaintiffs. In return for the exclusive right to sell new

GM-branded vehicles in a geographic area, authorized dealerships are also permitted

to service and repair these vehicles under the warranties GM provides directly to

consumers. These contracts give GM a significant amount of control over the actions

of the dealerships, including sales and marketing of vehicles and parts for those



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vehicles. All service and repair at an authorized dealership are also completed

according to GM’s explicit instructions, issued through service manuals, TSBs,

preliminary information bulletins (“PIs”), information service bulletins, and other

documents, often only referred to by a “Document ID.” Per the agreements between

GM and the authorized dealers, consumers such as Plaintiffs can receive services

under GM’s issued warranties at dealer locations that are convenient to them.

      27.      GM also develops and disseminates the owners’ manual, warranty

booklets, maintenance schedules, advertisements, and other promotional materials

relating to the Class Vehicles.

      28.      GM is the drafter of the warranties contained in the manuals it provides

to consumers nationwide, the terms of which unreasonably favor GM. Consumers

are not given a meaningful choice in the terms of those warranties provided by GM,

and those warranties are offered on a “take it or leave it” basis.

                            FACTUAL ALLEGATIONS

      29.      GM designs, manufactures, markets, distributes, and warrants

automobiles in the United States sold under various brand names, including the

Buick, Cadillac, Chevrolet, and GMC brands. In calendar year 2021, GM brands

Buick, Cadillac, Chevrolet, and GMC delivered 2,218,228 vehicles in the USA—




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12.9% lower than the 2,547,339 vehicles delivered in 2020.6 Combined sales of the

Chevrolet Silverado and GMC Sierra LD and HD were 768,689. The company’s

share of the retail market in 2021 was approximately 39 percent, according to J.D.

Power PIN estimates, and about 10 points higher than the next closest competitor. 7

       30.    GM has thousands of authorized dealerships across the United States,

all of which are under GM’s control. GM authorizes these dealerships to sell GM

vehicles, parts, and accessories and to service and repair GM vehicles using GM

parts. Id. at 3.

       31.    Since 2019, GM has designed, manufactured, distributed, and sold

hundreds of thousands of the Class Vehicles, which include the following models

and model years: the 2019-2022 Chevrolet Camaro, Colorado, and Silverado, and

the 2019 Corvette; the 2019 Cadillac ATS, ATS-V, CTS, CT6, and CTS-V; and the

2019-2022 GMC Canyon and Sierra.

       32.    GM provided all purchasers of the Class Vehicles with a New Vehicle

Limited Warranty with the purchase of the Class Vehicles.




6
  2021 (Full Year) USA: GM Sales (Chevrolet, Buick, Cadillac, GMC),
  https://www.best-selling-cars.com/usa/2021-full-year-usa-gm-sales-chevrolet-
  buick-cadillac-gmc/, last accessed Mar. 4, 2022,
7
   Id.


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      33.   The 2019 Chevrolet New Vehicle Limited Warranty for Chevrolet-

brand Class Vehicles (“Chevrolet Warranty”), which included a “Bumper-to-

Bumper” warranty and a Powertrain warranty, stated in relevant part:

      What Is Covered

      Warranty Applies

      This warranty is for GM vehicles registered in the United States and
      normally operated in the United States, and is provided to the original
      and any subsequent owners of the vehicle during the warranty period.

      Repairs Covered

      The warranty covers repairs to correct any vehicle defect, not slight
      noise, vibrations, or other normal characteristics of the vehicle due to
      materials or workmanship occurring during the warranty period.
      Needed repairs will be performed using new, remanufactured, or
      refurbished parts.

      No Charge

      Warranty repairs, including towing, parts, and labor, will be made at no
      charge.

      Obtaining Repairs

      To obtain warranty repairs, take the vehicle to a Cadillac dealer facility
      within the warranty period and request the needed repairs. Reasonable
      time must be allowed for the dealer to perform necessary repairs.

      Warranty Period

      The warranty period for all coverages begins on the date the vehicle is
      first delivered or put in use and ends at the expiration of the coverage
      period.




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      Bumper-to-Bumper Coverage

      The complete vehicle is covered for 3 years or 36,000 miles, whichever
      comes first, except for other coverages listed here under “What Is
      Covered” and those items listed under “What Is Not Covered” later in
      this section.

      Powertrain Component Warranty Coverage.

      The powertrain is covered for 5 years or 60,000 miles, whichever comes
      first.

            *      *      *

      Transmission/Transaxle Coverage includes: All internally lubricated
      parts, case, torque converter, mounts, seals, and gaskets as well as any
      electrical components internal to the transmission/ transaxle. Also
      covered are any actuators directly connected to the transmission (slave
      cylinder, etc.).

      Exclusions: Excluded from the powertrain coverage are transmission
      cooling lines, hoses, radiator, sensors, wiring, and electrical connectors.
      Also excluded are the clutch and pressure plate as well as any
      Transmission Control Module and/or module programming.

      *     *      *

      Other Terms: This warranty gives you specific legal rights and you
      may also have other rights which vary from state to state. GM does not
      authorize any person to create for it any other obligation or liability in
      connection with these vehicles. Any implied warranty of
      merchantability or fitness for a particular purpose applicable to
      this vehicle is limited in duration to the duration of this written
      warranty. Performance of repairs and needed adjustments is the
      exclusive remedy under this written warranty or any implied
      warranty. GM shall not be liable for incidental or consequential
      damages, such as, but not limited to, lost wages or vehicle rental
      expenses, resulting from breach of this written warranty. (See Ex.
      1, 2020 Chevrolet Limited Warranty and Owner Assistance
      Information at 2, 4-5, 13.)



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      34.   Later versions of the Chevrolet Warranty and the New Vehicle Limited

Warranty for GMC-brand Class Vehicles (“GMC Warranty”) included substantially

the same terms as the Chevrolet Warranty terms excerpted above. (See, e.g., Ex. 2,

2019 GMC Limited Warranty and Owner Assistance Information at 2, 4-5, 12.)

      35.   The Cadillac Warranty for the Class Vehicles includes substantially the

same terms as the Chevrolet and GMC-brand vehicle warranties, but with slightly

longer warranty coverage, e.g., 4 year or 50,000 mile bumper-to-bumper warranty

coverage and 6 year or 70,000 mile powertrain coverage.

      36.   The warranties and representations contained in the Cadillac Warranty

and the Chevrolet/GMC Warranties (collectively, the “Warranties”) were and are

material to Plaintiffs because Plaintiffs would not have purchased their Class

Vehicles or would not have paid as much as they did if the transmissions in their

Class Vehicles were not covered by a full warranty.

A.    The Defective Eight-Speed Automatic Transmissions (GM 8L90 and
      8L45)

      37.   In January 2014, GM began marketing the release of a new, eight-speed

automatic transmission to be included in some of its vehicles for model year 2015.

GM-brand vehicles for model years 2014 and older had automatic transmissions of

six or fewer speeds.

      38.   The engines in the Class Vehicles produce power and then send that

power to the 8L90 or 8L45 automatic transmission. The transmission then takes that


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power and delivers it to the rear drive transmissions of the Class Vehicle, while

ensuring the engine stays within predetermined RPMs. The transmission also seeks

to maximize the efficiency of the Class Vehicles’ engines by balancing fuel

consumption and torque.

      39.    As background, transmissions use toothed gears that interact with each

other to produce torque. The term “gear ratio” refers to the relationship between

gears. For example, if an input gear has 20 teeth and it interacts with an output gear

that has 10 teeth, the 10-tooth gear must spin twice to fully spin the 20-tooth gear.

A gear ratio is then calculated by taking the number of teeth on the output gear and

dividing it by the input gear. In this example, the gear ratio would be 1:2 (typically

expressed as 0.5:1).

      40.    Automatic transmissions automate the switching of gears using multi-

plate clutches, which adjust according to the speed that the vehicle is traveling. Thus,

instead of manually operating a clutch, the vehicle’s transmission constantly

monitors and engages and disengages gears according to the speed at which the

vehicle is moving. This is done through the use of fluid pressure, which provides the

necessary pressure to activate clutches and bands that in turn determines what gear

to engage.

      41.    GM marketed and sold its new eight-speed automatic transmissions as

having “world-class performance” rivaling top performance vehicles, lightning-fast



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and smooth shifting, along with improved fuel efficiency, among other

representations. (See Won v. GM, ECF No. 41-4, PageID 3098-100)

      42.   For instance, GM’s own press release dated January 13, 2014

introduced the new 8L90 transmission as being “tuned for world-class shift-response

times,” and “deliver[ing] shift performance that rivals the dual-clutch/semi-

automatic transmissions found in many supercars – but with the smoothness and

refinement that comes with a conventional automatic fitted with a torque converter.”

In addition, the technology and design of the new 8L90 transmission “help make the

new [Corvette] Z06 surprisingly fuel efficient.” (See Won v. GM, ECF No. 41-5,

PageID 3102-06). GM touted similar characteristics for its 8L45 transmission in

press releases in 2015. (See Won v. GM, ECF No. 41-6, PageID 3108-12; Won v.

GM, ECF No. 41-7, PageID 3114-16).

      43.   In another GM press release, GM continued to represent the high

quality of the new eight-speed automatic transmission:

      In fact, in the 2015 Corvette Stingray, [8L90 transmission] enables a
      class-leading 29-mpg EPA highway estimate – a 3.5-percent increase
      in fuel economy over the previous six-speed automatic – and a quicker
      0-60 time of 3.7 seconds, all while delivering wide-open-throttle
      upshifts quicker than those of the dual-clutch transmission offered in
      the Porsche 911.

      “GM’s new 8L90 eight-speed automatic represents a rare win-win-win
      scenario for customers,” said Kavoos Kaveh, global chief engineer for
      eight-speed automatic transmissions. “It offers greater performance and
      efficiency, while weighing less than the transmission it replaces. That’s



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      a rare accomplishment in the industry today – and one for which GM
      has been awarded more than two dozen patents.”

      ****

      The lower engine speed reduces fuel consumption, while a new torque
      converter design enhances refinement, particularly during low-speed
      gear changes. “The Corvette’s new eight-speed automatic delivers the
      comfort and drivability of a true automatic transmission, as well as
      lightning-fast shifts and the manual control that enhance the
      performance-driving experience,” said Kaveh. “It was designed to
      enhance the driving experience, with performance on par with dual-
      clutch designs, but without sacrificing refinement. . . . Additionally, a
      torque converter design with a turbine damper complements
      performance with excellent refinement at low engine speeds.”

      44.    However, the 8L90 and 8L45 transmissions deliver anything but

“comfort and drivability[,]” “lightning-fast shifts[,]” and “enhanc[ed] refinement,

particularly during low-speed gear changes.” In fact, the Shift Defect in the 8L90

and 8L45 transmissions causes unsafe conditions, including, but not limited to, Class

Vehicles suddenly lurching forward, sudden acceleration, delayed acceleration, and

sudden loss of forward propulsion. These conditions present a safety hazard because

they severely affect the driver’s ability to control the car’s speed, acceleration, and

deceleration. As an example, these conditions may make it difficult to safely merge

into traffic, back out of a garage or driveway, and drivers have reported sudden

lurching into intersections when attempting to gradually accelerate from a stopped

position and other dangerous driving conditions.




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B.    GM’s Knowledge of the Shift Defect

      1.     GM Determined Before Class Vehicles Were Ever Sold that There
             Was No Fix for the Shift Defect Until 2023.

      45.    Prior to the sale of the Class Vehicles, GM knew about the Shift Defect

based on: (1) similar issues with 2015-2019 MY vehicles equipped with first

generation eight-speed automatic transmissions, which led GM to stop using those

transmissions entirely in its performance and luxury vehicles—like the later model

year Corvette, Escalade, and Yukon—and develop a “second generation”

transmission for the Class Vehicles; (2) GM’s exclusive knowledge of non-public,

internal data about the Shift Defect, including pre-release testing data and warranty

data, and investigations applying hazard metrics; (3) early consumer complaints

about the Shift Defect to GM’s dealers who are their agents for vehicle repairs; (4)

aggregate data from GM’s dealers, including dealership repair orders; (5) consumer

complaints to the National Highway Traffic Safety Administration (“NHTSA”) and

resulting notice from NHTSA; (6) testing conducted in response to owner

complaints; (7) GM service bulletins addressing shift issues in 2015-2019 MY

vehicles equipped with the eight-speed transmission, as well as additional bulletins

addressing shift issues in Class Vehicles; and (8) customer feedback survey from

J.D. Power identifying drive quality and shifting as a weakness.

      46.    For example, as early as September 2014, GM knew that the 8L90 and

8L45 transmissions were defective and that the Shift Defect would adversely affect


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the drivability of the Class Vehicles and cause safety hazards. GM’s testing of the

2014 of the Corvette revealed a down shift that GM testers described as a “neck

snapper.”8

      47.    GM engineers knew that harsh shifts affected drive quality during

development and preproduction of the Corvette.9 Those issues—along with first shift

of the day, shudder, and lunges—were among the top five issues GM engineers faced

in May 2014. The issues were so bad that GM’s Chief Engineer for the Corvette

even considered stopping production.10 But GM did not stop production; instead,

GM put the eight-speed transmission in hundreds of thousands of vehicles starting

in 2015.

      48.    From 2015 to 2019, the GM 8L transmission program was at “yellow”

(concerned) or “red” (not confident: targets not met) due to issues related to the now

fixed Shudder Defect as well as harsh shift issues due to the Shift Defect. 11 And

while GM has fixed the Shudder Defect, it still hasn’t fixed the Shift Defect—which

has been a problem since 2014.

      49.    A GM engineer who worked on transmission calibration admitted that

his group should have informed management sooner about the Shift Defect for



8
  Won v. GM, ECF No. 224-23, PageID.15661.
9
  Id.
10
   Id.
11
   Won v. GM, ECF No. 223, PageID.15447.


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       52.    GM considered and rejected retrospective improvements for 2015 to

2017 models because they would require a transmission replacement—a very

expensive fix.17 GM’s Mark Gordon lamented in February 2019 that “shift quality

issues are an ongoing concern with the 8 Speed transmission. Unfortunately, these

issues have been through an Op-ex and a service solution is not going to be

developed due to cost.”18 A year later, in 2020, Gordon reported that “unfortunately”

shift quality complaints in Class Vehicles continued to increase and would only stop

once the Gen 2 redesign was completed—information he warned was “(GM

Confidential).”19

       53.    Assistant Chief Engineer Bill Goodrich who helped develop and

validate the 8L transmission, appeared at auto shows to brag about 8L transmission

performance in Class Vehicles without disclosing the Shift Defects or the crushing

warranty rates. 20

       54.    A comparison of the Class Vehicles with the 8L transmissions and the

same models with other transmissions showed that the 8L equipped vehicles had

repairs per thousand vehicles at orders of magnitude higher 21:




17
   Id. at PageID.15447.
18
   Id.
19
   Id.
20
   ECF No. 224-17, PageID.15633-37.
21
   Id. at PageID.15442.


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transmission redesign will be what ultimately “addresses these customer facing

issues” including23:




        57.   The redesign comes too late for purchasers of the Class Vehicles. They

will be left with cars of lower value, with no clear repair, and not what they bargained

for.

        2.    GM’s Service Bulletins Demonstrate Its Knowledge of the Shift
              Defect as Early as 2014, and a Continuing Design Defect.

        58.   From September 2014 to at least February 2019, GM issued many

service bulletins and service bulletin updates to its dealers in the United States, but

not its customers, acknowledging problems of harsh shifting, jerking, clunking, and

delays in acceleration or deceleration relating to the 8L90 and 8L45 transmissions.


23
     Won v. GM, ECF No. 209-7, PageID.12936.


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                    a.     Service Bulletin 14-07-30-001

       59.    On or around September 1, 2014, GM issued Service Bulletin 14-07-

30-001 with the subject “Information on Transmission Adaptive Functions.” This

bulletin applied to the following vehicle models equipped with 8L90 transmissions

(RPO M5U): 2015 Cadillac Escalade, 2015 Cadillac Escalade ESV, 2015 Chevrolet

Corvette, and 2015 GMC Yukon. In the bulletin, GM stated that “[s]ome customers

may comment on low mileage vehicles with automatic transmission that shift feel to

be too firm (harsh) or may slip or flare. Customers should be advised that the

transmission makes use of an adaptive function that will help to refine the shift feel

while driving and improve shift quality.” The bulletin also included description of

transmission’s adaptive learning functions and a section titled “How to Adapt Your

Transmission” containing GM’s instructions to train the adaptive learn process “for

a concern with a 1-2 upshift” and “for a concern with a 3-1 coastdown (closed

throttle) shift.”

       60.    From October 2014 to October 2018, GM subsequently issued seven

updates to Service Bulletin 14-07-30-001, numbered 14-07-30-001A through 14-07-

30-001G.

       61.    On or around October 8, 2014, GM issued Service Bulletin 14-07-30-

001A with the same subject and covered vehicles listed on the previous version. In

this bulletin, GM again noted that “[s]ome customers may comment on low mileage



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vehicles with automatic transmission that shift feel to be too firm (harsh) or may slip

or flare.” This revised bulletin was issued to provide updated information in the

“How to Adapt Your Transmission” section, including a chart of shifts and their

corresponding clutches, along with new, more detailed instructions to train the

adaptive learn process for each of these clutches.

      62.    On or around December 1, 2014, GM issued Service Bulletin 14-07-

30-001B with the subject “Information on Transmission Adaptive Functions and

Correcting Low Mileage HarshShift.” In addition to the vehicles listed on the

previous versions of this bulletin, the following models equipped with 8L90

transmissions were added: 2015 Chevrolet Silverado, 2015 GMC Sierras, and 2015

GMC Yukon XLs. The revised bulletin also included instructions for resetting and

“relearning” transmission adapts using diagnostic software (“Transmission Adaptive

Values Learn procedure through GDS 2”) instead of performing the adaptive

instructions while driving the vehicle but noted that the software function would not

resolve the issue in 2015 Corvettes built before September 29, 2014, which “must

be driven to learn the adapts.”

      63.    On or about January 27, 2015, GM issued Service Bulletin 14-07-30-

001C with the same subject, the same covered vehicles, and substantially the same

information included in the previous version. However, this revised version added a

note to the “How to Adapt Your Transmission” section stating that “[t]he



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transmission fluid temperature must be between 75°C (167°F) and 85°C (185°F)

during the drive procedure or adapts will not be learned.”

      64.    On or about May 7, 2015, GM issued Service Bulletin 14-07-30-001D

with the same subject and covered vehicles listed on the previous version. In this

revised bulletin, GM provided updated instructions for resetting and “relearning”

transmission adapts using different diagnostic software, the Transmission Service

Fast Learn procedure through GDS 2, as opposed to the Transmission Adaptive

Values Learn procedure in previous bulletins.

      65.    On or about July 27, 2015, GM issued Service Bulletin 14-07-30-001E

with the same subject and covered vehicles listed on the previous version. It also

included substantially the same instructions for resetting and “relearning”

transmission adapts. However, this revised bulletin included new information

explicitly acknowledging that the Warranty applied to the transmission repair,

stating: “Warranty Information. For vehicles repaired under the Powertrain

coverage, use the following labor operation. Reference the Applicable Warranties

section of Investigate Vehicle History (IVH) for coverage information,” and listing

the applicable labor code as 8480318.

      66.    On or about March 4, 2016, GM issued Service Bulletin 14-07-30-001F

with the same subject and covered vehicles listed on the previous version. This

revised bulletin repeated that “[s]ome customers may comment on low mileage



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vehicles with automatic transmission that shift feel to be too firm (harsh) or may slip

or flare” but added that “[c]learing the shift adapts without performing a Service Fast

Learn should not be considered a repair procedure as the transmission will simply

relearn the previous settings.” The bulletin then proceeded to outline more detailed

instructions “to determine what steps should be followed” to diagnose and perform

the recommended “relearn” functions to adapt the clutches. However, like the

previous version, this bulletin explicitly acknowledged that the Warranty applied to

the transmission repair, stating: “Warranty Information. For vehicles repaired under

the Powertrain coverage, use the following labor operation. Reference the

Applicable Warranties section of Investigate Vehicle History (IVH) for coverage

information,” and listing the applicable labor code as 8480318.

      67.    On or about March 3, 2017, GM issued Service Bulletin 14-07-30-

001G with the same subject as the previous version. However, this revised bulletin

applied only to 2015 Chevrolet Corvettes equipped with 8L90 transmissions (RPO

M5U) and instructed GM technicians, “For all truck and utility applications with the

8L90 automatic transmission, refer to 16-NA-411 for the latest information for

correcting low mileage harsh shifts.” This revised bulletin’s substantive information,

including the service instructions and warranty information, otherwise remained the

same as the previous version.




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                    b.     Service Bulletin 14876

      68.    In or around December 2014, GM Issued Service Bulletin 14876 with

the subject “Service Update for Inventory Vehicles Only 8-speed Transmission

Harsh Shift.” Under the section titled “Purpose,” GM stated that “[o]n certain 2015

model year Cadillac Escalade, Cadillac Escalade ESV, Chevrolet Corvette,

Chevrolet Silverado Double Cab and Crew Cab, GMC Sierra Double Cab and Crew

Cab, GMC Yukon and GMC Yukon XL vehicles equipped with 8-speed automatic

transmission (M5U), the customer may complain about harsh shifting. This can

occur if the vehicle experienced multiple transmission reprogramming events during

manufacturing, causing the calibration to over-adjust the shift parameters. This

bulletin provides a service adaptive learn procedure that should be run to reset the

calibration to the baseline parameters.”

                    c.     Service Bulletin 15-NA-007

      69.    On or around September 15, 2015, GM issued Service Bulletin 15-NA-

007 in response to customer complaints reporting conditions such as delayed

engagement, “Firm garage shifts, Park to Drive or Park to Reverse after the vehicle

has be [sic] sitting for several hours with the engine off,” a clunking noise when the

engine starts, and/or an illuminated malfunction lamp relating to diagnostic

transmission code P16F3. This bulletin applied to the following vehicle models

equipped with 8L90 transmissions (RPO M5U): 2015 Cadillac Escalade, 2015




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Chevrolet Silverado, 2015 GMC Sierra, 2015 GMC Yukon and included directions

regarding a software update and programming the transmission control module

(“TCM”).

      70.    GM re-issued three updates to this service bulletin. On or around

September 30, 2015, “delayed engagement” was removed from the subject. On or

around October 21, 2015, the bulletin was expanded to cover the 2015 Chevrolet

Corvette. On or around January 22, 2016, the bulletin was expanded to cover the

2016 model years for the vehicles listed in the original bulletin.

                    d.     Service Bulletin 16-NA-014

      71.    On or around January 21, 2016, GM issued Service Bulletin 16-NA-

014 with the subject “Delayed Engagement After Sitting With Engine Off.” This

bulletin applied to the following vehicle models equipped with an 8L45 or 8L90

transmission: 2015-2016 Cadillac Escalade, 2016 Cadillac Escalade ESV, 2016

Cadillac ATS, 2016 Cadillac CTS, 2015-2016 Chevrolet Corvette, 2015-2016

Chevrolet Silverado, 2015-2016 GMC Sierra, 2015-2016 GMC Yukon and 2015-

2016 GMC Yukon XL. In the bulletin, GM stated that “[s]ome customers may

comment on a condition of delayed engagement when the transmission is shifted

from Park to Reverse or Park to Drive after the vehicle has been sitting with the

engine off. This condition may typically occur after several hours or more commonly




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overnight.” GM’s recommended correction was to “[i]nstall a new stator shaft

support assembly.

      72.    GM issued an update on or around April 22, 2016 to update part

numbers.

      73.    On or around June 16, 2016, GM issued an update to clarify the reported

condition, to identify the cause of the reported condition, and to add diagnostic

procedures for the C5 clutch and torque converter. Specifically, GM stated that

“[t]his condition may be caused by the torque converter draining the transmission

fluid back into the transmission pan.” Additionally, GM advised that customers may

describe the reported condition as follows:

      •      Vehicle delaying into gear.

      •      Not wanting to move.

      •      Feeling like the transmission is slipping.

      •      Delayed engagement followed by a harsh engagement.

      74.    On or around November 17, 2016, GM issued an update to clarify the

applicable vehicle models and provide more detailed repair or diagnostic procedures.

The updated bulletin applied to the following vehicle models within the VIN range

identified in the bulletin: vehicles equipped with an 8L45 or 8L90 transmission:

2015-2016 Cadillac ATS, 2015-2016 Cadillac CTS; vehicles equipped with an 8L45

transmission: 2015-2016 Chevrolet Camaros with a 3.6L engine and VIN on or

before September 28, 2015, 2015-2016 Chevrolet Camaros with a 2.0L engine and


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VIN on or before November 9, 2019; vehicles equipped with an 8L90 transmission:

2015-2016 Cadillac Escalade, 2015-2016 Cadillac Escalade ESV, 2015-2016

Chevrolet Camaro, 2015-2016 Chevrolet Corvette, 2015-2016 Chevrolet Silverado,

2015-2016 GMC Sierra, 2015-2016 GMC Yukon, and 2015-2016 GMC Yukon XL.

GM’s recommended correction was to replace parts of the transmission and/or the

transmission pan, depending on the symptoms described by the customer. Like

PIE0353 and later versions of 14-07-30-001, this bulletin update included a

“Warranty Information” section with a specific Labor Operation code.

                    e.     Service Bulletin 16-NA-019

      75.    On or around January 25, 2016, GM issued Service Bulletin 16-NA-

019 with the subject “Information on Transmission Adaptive Functions and

Correcting Low Mileage Harsh Shifts, Slips, or Flares.” This bulletin applied to all

2016 passenger cars and trucks under the Buick, Cadillac, Chevrolet, or GMC brands

equipped with 8L90 or 8L45 automatic transmissions (RPOs M5U, M5T, M5N,

M5X). Under the “Condition” section of this bulletin, GM stated, “[s]ome may

comment on low mileage vehicles with an automatic transmissions [sic] that they

shifting may feel too firm (harsh), slips, or flares. Customers should be advised that

the transmission makes use of an adaptive function that will help to refine the shift

feel while driving and improve shift quality.” The bulletin also included description

of transmission’s adaptive learning functions and instructions for resetting and



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“relearning” transmission adapts. Like PIE0353 and later versions of 14-07-30-001,

this bulletin update included a “Warranty Information” section with a specific Labor

Operation code.

       76.   On or around August 19, 2016, GM issued an update to Service Bulletin

16-NA-019 as 16-NA-019A with “[a]dded 2017 Model Year and updated

information.” Specifically, the bulletin directed GM technicians to “check the

ECM/TCM Software/Calibrations against what’s currently in the vehicle and if the

description of the update is relevant to the customer concern please perform the

update prior to proceeding with the learns” outlined in the revised bulletin. The

revised bulletin included the same “Warranty Information” section as the original

bulletin.

                    f.    Service Bulletin 16-NA-213

       77.   On or around June 28, 2016, GM issued yet another Service Bulletin to

address consumer comments “that the transmission has developed a harsh shift.”

This bulletin, 16-NA-213, applied to the following vehicle models equipped with an

8L90 or 8L45 transmission (RPOs M5U, M5T, M5N) built between July 1, 2015 to

September 14, 2015: 2015-2016 Cadillac Escalade, 2015-2016 Cadillac ATS, ATS

V, CTS, CTS V, 2015-2016 Chevrolet Corvette, 2015-2016 Chevrolet Silverado,

and 2015-2016 GMC Sierra. The bulletin specifically noted that “there may be more




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than one shift that is harsh” and that some transmissions, those with “a suspect

Clutch Control Solenoid,” should have the valve body replaced.

                    g.     Service Bulletin PIP5437

      78.    On or around November 8, 2016, GM issued another service bulletin to

address the ongoing, unremedied Shift Defect. This bulletin, PIP5437, was titled

“8L45 8L90 Diagnostic Tips for Harsh Shifts” to address consumer comments that

“the transmission in their vehicle is not shifting correctly.” The bulletin applied to

the following vehicle models equipped with an 8L90 or 8L45 transmission: 2015-

2016 Cadillac Escalade, 2016 Cadillac Escalade ESV, 2016 Cadillac ATS, ATS-V,

CTS, and CTS-V, 2015-2017 Chevrolet Corvette, 2015-2017 Chevrolet Silverado,

2016-2017 Chevrolet Camaro, 2015-2017 GMC Sierra, and 2015-2017 GMC

Yukon. The bulletin directed technicians to use software to identify the shift

problems and to perform a drive learn procedure on low-mileage vehicles. On higher

mileage vehicles, the bulletin instructed technicians to remove the transmission fluid

pan and inspect for debris. Technicians were further instructed, “if debris is found

the transmission should be disassembled for root cause and repairs. If excessive

debris is not found the valve body should be replaced.” This bulletin was updated on

or around November 14, 2016 to cover additional vehicle models equipped with an

8L90 or 8L45 transmission, namely 2017 Cadillac Escalade, 2017 Cadillac Escalade

ESV, and 2017 Cadillac ATS, ATS-V, CTS, and CTS-V.



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                   i.     Service Bulletin 16-NA-411

      82.   On or around January 20, 2017, GM issued Service Bulletin 16-NA-

411 to provide GM technicians with yet another a procedure to reprogram the ECM

and TCM to correct ongoing complaints relating to the Shift Defect. This bulletin

applied to the following vehicle models equipped with an 8L90 transmission: 2015-

2016 Cadillac Escalade models; 2015-2016 Chevrolet Silverado, 2015-2016 GMC

Sierra, and 2015-2016 GMC Yukon models. Specifically, the bulletin addressed the

following consumer comments on the following conditions:

      •     Harsh 1-2 upshift (except for the first 1-2 upshift of the day)

      •     Harsh 3-1 downshift when de-accelerating to a stop

      •     Harsh downshift under heavy throttle apply

      •     Active Fuel Management (AFM) V4 to V8 transition harshness

      •     Coast down downshifts

      83.   Notably, the bulletin specifically acknowledged that:

      The new ECM and TCM software will not improve the following
      conditions and should not be installed for any of the following
      conditions:

      •     Shift quality of the first 1-2 shift of the day

      •     Power-On lift foot upshifts (Heavy throttle application followed by a
            closed throttle application which results in a transmission up shift)

      •     Delayed/slow engagement (Refer to Bulletins 16-NA-014 and 16-NA-
            364)

      •     TCC Shudder (Refer to PIP5337 and Bulletin 16-NA-175)



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      •      Engine or Chassis induced vibrations

      •      Fuel Economy

                    j.       Service Bulletin 16-NA-404

      84.    On or around April 7, 2017, GM issued Service Bulletin 16-NA-404 to

provide GM technicians with another procedure to reprogram the TCM to correct

the diagnostic transmission code set relating to the same complaints reiterated above

arising from the Shift Defect. This bulletin applied to the following vehicle models

equipped with an 8L45 and 8L90 transmissions (M5T, M5N, M5U, M5X): 2017

Cadillacs ATS and CTS built before December 6, 2016; 2017 Cadillacs CT6

(Excluding RPO I16) built before November 17, 2016; 2017 Cadillacs Escalade built

before December 16, 2016; 2017 Chevrolet Camaro built before December 6, 2016;

2017 Chevrolet Corvette built before December 8, 2016; 2017 Chevrolet Silverado

built before December 16, 2016; 2017 Chevrolet Suburban (excluding RPO I16)

built before December 16, 2016; 2017 Chevrolet Tahoe (Excluding RPO I16) built

before December 16, 2016. It also applied the following vehicles built before

December 16, 2016 and equipped with automatic 8L90 transmissions (M5U, M5X):

2017 GMC Sierra and 2017 GMC Yukon (excluding RPO I16). The bulletin

addressed the following consumer complaints reporting:

      •      Harsh shift

      •      Delayed shift

      •      Unwanted downshift


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      •      Transmission stuck in one gear

      •      Erratic shifting

      •      Hesitation between shifts

      •      MIL illuminated
                    k.     Service Bulletin 20-NA-187

      85.    On or around September 2020, GM issued service bulletin 20-NA-187

with the subject line “Delayed and/or Harsh Engagement of Transmission Shift After

Vehicle Sitting with Engine Off.” This bulletin applied to 2018-2021 MY Camaro

and Colorado vehicles; 2018-2019 Corvette and Silverado vehicles; 2018-2019

Cadillac ATS, CTS, and CT6 vehicles; as well as GMC Canyon vehicles for 2018-

2021 and Sierra vehicles for 2019-2021. It also applied to additional vehicles going

back to 2018. The bulletin notes that “[s]ome customers may comment on a

condition of delayed engagement when the transmission is shifted from Park to

Reverse or Park to Drive after the vehicle has been sitting with the engine off,” and

added that customers “may describe this condition as . . . [v]ehicle delaying into

gear,” “[f]eeling like the transmission is slipping,” and/or “[d]elayed engagement

followed by a harsh engagement.”

      3.     Consumer Complaints to NHTSA Demonstrate Consumers Have
             Complained about the Shift Defect Since 2015 to the Present.

      86.    Federal law requires automakers like GM to be in close contact with

NHTSA regarding potential auto defects, including imposing a legal requirement



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(backed by criminal penalties) compelling the confidential disclosure of defects and

related data by automakers to NHTSA, including field reports, customer complaints,

and warranty data. See TREAD Act, Pub. L. No. 106-414, 114 Stat. 1800 (2000).

      87.       Under information and belief, GM personal communicate with

NHTSA and review complaints on the website as part of GM’s open investigation

review process.

      88.    Automakers have a legal obligation to identify and report emerging

safety-related defects to NHTSA under the Early Warning Report requirements. Id.

Similarly, automakers monitor NHTSA databases for consumer complaints

regarding their automobiles as part of their ongoing obligation to identify potential

defects in their vehicles, including safety-related defects. Id. Thus, GM knew or

should have known of the many complaints about the Shift Defect logged by

NHTSA ODI, and the content, consistency, and large number of those complaints

alerted, or should have alerted, GM to the Shift Defect.

      89.    Complaints that owners filed with the NHTSA demonstrate that the

defect is widespread and dangerous and that it manifests without warning. The

complaints go back to 2015 and include some models that no longer have the 8L

transmissions, such as Escalades and Yukons. The complaints indicate GM’s

awareness of the problems with the transmission and how potentially dangerous the

defective condition is for consumers. The complaints also indicate how often GM



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dealers and service technicians told customers that the symptoms of the Shift

Defect—harsh shifts that involve jerking, lurching, and/or hesitations—were

“normal.” The following is just a small sampling of the hundreds of safety-related

complaints describing the Shift Defect (spelling and grammar mistakes remain as

found in the original) (National Highway Traffic Safety Administration, Safety

Issues & Recalls, http://www-odi.nhtsa.dot.gov/complaints/).

                   a.     Cadillac ATS

      90.   On October 24, 2018, the following was reported as to a 2016

Cadillac ATS:

      WHILE DRIVING VEHICLE SLOWLY OR IN STOP AND GO
      TRAFFIC, THE TRANSMISSION SHIFTS VERY ROUGH
      BETWEEN THE LOWER GEARS ON UPSHIFTS AND
      DOWNSHIFTS AND WILL HOLD A GEAR HANGING WHILE
      TRYING TO BRAKE OR ACCELEfRATE AND CAUSE THE
      VEHICLE TO RAPIDLY LUNGE FORWARD AND CAUSE A
      POTENTIAL ACCIDENT AS IT BECOMES HARD TO APPLY
      MORE PRESSURE TO THE BRAKES SUDDENLY[.]

      91.   On May 11, 2019, the following was reported:

      VEHICLE TENDS TO DO A HARD DOWN SHIFT WHEN IT'S
      AROUND 10-15 MPH AND IT WILL FEEL LIKE SOMEONE HIT
      YOUR CAR FROM BEHIND. WHEN ACCELERATING FROM A
      COMPLETE STOP 10-15 MPH VEHICLE WILL STALL
      SOMETIMES.

      92.   On August 26, 2019, the following was reported:

      TAKEN MULTIPLE TIMES TO DEALER FOR TRANSMISSION
      ISSUES. GM HAS REPLACED IT AT 17475 MILES. MORE TRIPS
      FOR ISSUES WITH NEW TRANSMISSION. IMPROPER



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      SHIFTING, HARD DOWN SHIFTING, HOLDING RPM GEAR
      LONGER THAN NORMAL.

      93.   On August 9, 2019, the following was reported:

      TRANSMISSION SHUDDERS ON LIGHT ACCELERATION (WORST
      AT AROUND 50 MPH) GENERAL ACCELERATION FEELS SIMILAR
      TO AN ENGINE MISFIRE WITH INTERMITTENT DROPS IN POWER.
      SOME TIMES TRANSMISSION CAN SHIFT HARD AND HAVE A
      BANG, JARRING FEELING.

      94.   On September 2, 2019, the following was reported:

      AT MAJOR INTERSECTION WAS AT A STOP RED LIGHT.
      BEGAN ACCELERATING VEHICLE STALLED AND THE LIGHT
      ENGINE TURNED ON, TRANSMISSION STUCK AT FIRST GEAR
      AND WOULD NOT ACCELERATE ABOVE 20MPH. THIS
      HAPPENED AS I TRIED PASSING A VEHICLE IN FRONT TO
      LATER MAKE A TURN. THE CAR HAS HAD THIS ISSUE
      SEVERAL TIMES. REPORTED TO CADILLAC THEY ASKED
      THAT I REPORT AS A LEMON MEANWHILE THIS IS A LEASE
      VEHICLE.

      95.   On October 5, 2021, the following was reported:

      TRANSMISSION    CAUSES   CAR   TO   SHUDDER   OR
      SHAKE/VIBRATE AT LOWER SPEEDS AND LOWER RPM
      (AUTO SHIFTING) IT'S BEEN LIKE THIS SINCE IT WAS
      PURCHASED. IF YOU PERFORM MANUAL SHIFTING AT 2500
      RPM'S OR HIGHER YOU DON'T EXPERIENCE THE SAME
      SHAKE/VIBRATION. RON CRAFT CADILLAC SAYS IT'S
      PERFORMING AS EXPECTED.

                   b.    Cadillac CTS

      96.   On November 7, 2020, the following was reported:

      WHEN I ACCELERATED THE TRANSMISSION FELT LIKE IT
      GOT STUCK AND CONTINUED TO REV WHEN I ATTEMPTED
      TO ACCELERATE AND FELT LIKE I WAS NOT MOVING. RPM
      CONTINUED TO GO UP BUT NO POWER. OTHER TIMES A VIG


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      BUMP IS FELT WHEN I TAKE FOOT OFF GAS FOR A KOMENT
      AND WHEN I PLACE IT BACK ON TO ACCELERATE THE BIG
      BUMP IS FELT. HAVE TAKEN IT TO CADILLAC SEVICE TWICE
      AND BOTH TIMES TRANSMISSION WAS REPROGRAMMED
      BUT IT DID NOT DIX THE PROBLEM.

      97.   On July 11, 2021, the following was reported:

      A known issue. “Clutch slow to fill” is a defect of the 8 speed
      transmission that causes the vehicle to violently buck and surge at low
      speeds and is dangerous as it makes it unreliable when driving at low
      speeds since it can randomly lunge forward dangerously. Dealership
      replaced transmission valve body under warranty and flushed
      transmission twice but problem remains. Dealership claims it can be
      fixed with an “update” but tried to charge over $300 for the “update”
      when it is a defect that should have been fixed under warranty for free
      or have a recall.

      98.   On June 24, 2021, the following was reported:

      CAR HAS LOCKED IN 2ND OR 3RD GEAR TWO DIFFERENT
      TIMES, BOTH AFTER LONG DRIVES (2+ HOURS AT HIGHWAY
      SPEEDS) AND WOULD NOT DOWNSHIFT INTO 1ST TO STOP
      MOVEMENT. THE FIRST TIME WAS A STOP LIGHT AND
      ALMOST CAUSED AN ACCIDENT, THE SECOND TIME WAS IN
      MY DRIVEWAY AND ALMOST HIT THE HOUSE. GOOD
      BRAKES ARE THE ONLY THING THAT SAVED ME. BOTH
      TIMES, THE VEHICLE SHIFTED TO 1ST WITH A LOUD BANG.
      TRANSMISSION ALSO JERKS THE CAR FORWARD FROM THE
      STOPPED POSITION WHEN ENGINE STARTS AT A STOP SIGN
      OR LIGHT (WHEN AUTO-START./STOP IS ENABLED).

      99.   On December 12, 2019, the following was reported:

      THE CAR HAS 37250 MILES ON IT. 6 MONTHS AGO, IT
      STARTED SHIFTING ROUGHLY BETWEEN 1ST AND 2ND
      GEAR. WE TOOK IT TO WALDORF CADILLAC/GM IN
      WALDORF, MD. THEY ACKNOWLEDGED IT WAS A KNOWN
      ISSUE AND WOULD TAKE THE FOLLOWING STEPS: FLUSH
      THE TRANSMISSION, RE-PROGRAM THE TRANSMISSION,
      REPLACE THE VALVE, AND ULTIMATELY, REPLACE THE


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      TRANSMISSION. THEY HAVE DONE ALL THE ACTIONS
      EXCEPT REPLACE THE TRANSMISSION AND WON'T TAKE
      FURTHER ACTION. THE CAR SHIFTS SO VIOLENTLY AT
      TIMES THAT YOU DON'T KNOW IF YOU'RE GOING TO HIT
      THE CAR IN FRONT OF YOU. WE LIVE IN THE WASHINGTON
      DC AREA, SO TRAFFIC IS USUALLY STOP-AND-GO. WHEN
      THE CAR GETS TO THE TOP END OF 1ST GEAR (AROUND 9
      MPH) IT HESITATES, THEN SLAMS INTO SECOND GEAR. IT
      HAS ALSO GOTTEN "STUCK" IN FIRST GEAR, WHILE
      TURNING ONTO A STREET. THE ENGINE ACCELERATED BUT
      THE CAR WOULDN'T SHIFT SO I HAD TO PULL OFF
      IMMEDIATELY OR RISK BEING HIT BY ONCOMING TRAFFIC.
      IT HAS ONLY DONE THIS ONCE SINCE WE STARTED HAVING
      PROBLEMS.

      100. On March 24, 2021, the following incident was reported:

      I WAS DRIVING MY 2018 CADILLAC CTS BETWEEN 50-60MPH
      AND I LIGHTLY TAPPED ON THE GAS AND THE CAR
      STARTED SHAKING AND VIBRATING. FELT LIKE IT COULD
      BE A TRANSMISSION OR A ENGINE MISFIRE. MY CARS
      TRANSMISSION ALSO SHIFTS VERY VERY ROUGH KINDLY
      JERKY WHICH CREATES A UNSAFE ENVIRONMENT WHILE
      IN MOTION. THIS IS A CONSISTENT ISSUE AND WITH MY
      CAR AND ONLY HAVING 12,000 MILES ON IT I FIND REALLY
      CONCERNING. THIS VIBRATION ONLY HAPPENS BETWEEN
      50-60MPH AND THE ROUGH TRANSMISSION SHIFTING
      HAPPENS AS I DRIVE IT ALONG WITH VIBRATIONS ARE
      COMING FROM THE ENGINE WHICH SHAKE MY ENTIRE CAR.
      ALL SERVICES ARE UP TO DATE. CADILLAC AND GM ARE
      BOTH NOT SURE OF WHAT THE ISSUE CAN BE EVEN
      THOUGH THERE IS A PENDING CLASS ACTION LAWSUIT FOR
      THE SAME ISSUE[.]

                  c.     Cadillac CT6

      101. On November 1, 2018, the following was reported:

      CAR WILL NOT RESPOND FOR AT LEAST 2 SECONDS DURING
      A SLOW, ROLLING STOP, WHEN TRYING TO ACCELERATE
      AGAIN. UNABLE TO PERFORM EVASIVE MANUEVER, IF


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      NEEDED, SECONDARY TO THE DELAY TO ACCELERATOR
      INPUT. HARSH 2-1 DOWNSHIFTS ALSO AT SLOW SPEEDS
      AND CAN EVEN FEEL AS THOUGH YOU WERE STRUCK
      FROM BEHIND. HIGHWAY DRIVING IS EXCELLENT; CITY
      DRIVING CHALLENGING WITH THE TRANSMISSION. THE
      DRIVER HAS TO LEARN HOW TO DRIVE THIS VEHICLE. FIND
      IT VERY UNUSUAL AFTER OWNING 5 OTHER CADILLACS
      AND NEVER HAD THIS PROBLEM. I BOUGHT THIS CAR AS A
      PRE-OWNED CERTIFIED VEHICLE FROM CADILLAC
      DEALER. THE CAR HAD 650 MILES ON IT AND I TRULY
      BEATIFUL/SHOWROOM      CONDITION.   I   HAD     THE
      TRANSMISSION RE-FLASHED, WHICH PROVIDED PERHAPS A
      1-2 DAYS RELIEF. I WILL CONTINNUE TO PERSUE WITH
      DEALER, BUT WANTED YOU GUYS TO BE AWARE.
      CADILLAC SHOULD FIX THE PROBLEM; NEW/DIFFERENT
      TYPE OF TRANSMISSION OR RE-WORK THE 8L45/8L90'S
      WITH DIFFERNET VLAVES/SOFTWARE OR BUY IT BACK
      FROM ME.

                   d.    Cadillac CT6

      102. On October 3, 2017, the following was reported:

      VEHICLE'S TRANSMISSION LURCHES AND SLIPS OUT OF
      GEAR IN COAST CONDITIONS; DURING TURNS AND IN
      INTERSECTIONS.

      103. On June 27, 2018, the following incident was reported:

      TRANSMISSION       HAS        A      SIGNIFICATION
      CLUNK/HESITATION/DELAY SHIFTING UP FROM 1ST-2ND
      GEAR AND DOWN FROM 2ND-1ST GEAR. IN THE UPSHIFT,
      THE CAR VIOLENTLY LUNGES FORWARD ONCE THE
      ACCELERATION REV FROM THE PUSH OF THE PEDAL
      CATCHES UP WITH THE GEAR SHIFTING, NO MATTER HOW
      DELICATELY YOU MIGHT PUSH THE PEDAL. FEELS LIKE
      THE VEHICLE HAS BEEN HIT FROM BEHIND ONCE IT
      CATCHES. IN THE DOWNSHIFT, UPON BRAKING TO COME TO
      A STOP, THE CAR PULSATES AND LUNGES FORWARD AS
      WELL WHICH HAS CAUSED ME TO NEARLY HIT THE CAR IN
      FRONT OF ME ON SEVERAL OCCASIONS AND IF NO CAR IS


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      IN FRONT OF ME IT HAS CAUSED ME TO CREEP OUT INTO
      THE INTERSECTION A BIT. THIS HAS HAPPENED
      REGULARLY SINCE MY ACQUISITION OF THE VEHICLE IN
      EARLY APRIL 2018 AND THE DEALER HAS REVIEWED AND
      ADVISED THAT IT SHIFTS JUST FINE.

      104. On August 26, 2019, the following was reported:

      HARD SHIFTS IN LOW SPEEDS, INTENSE VIBRATION ,
      SHUDDER THROUGHOUT DRIVING SPEED. CADILLAC
      DEALER SAID IT IS TORGUE CONVERTER ISSUE, CAR
      TRANSMISSION NEEDS TO BE FLUID EXCHANGED FOR $800.

                   e.     Chevrolet Corvette24

      105. On October 12, 2014 the following incident was reported:

      AT ANY SPEED THE CAR JERKS LIKE ONE OR MORE SPARK
      PLUG WIRES ARE NOT FIRING(PULLED OFF) IN ALL MODES,
      IT IS WORSE IN (E ECONOMY MODE) PUSH THE GAS DOWN
      IT GETS WORSE IN ALL MODES.

      I REPLACED THE PLUGS AND WIRES I STILL HAVE THIS
      PROBLEM, I WAS HOPING IT WAS A BAD PLUG OR WIRE,
      THAT HAPPENS.

      I TOOK IT TO THE DEALER WHEN THE CHECK ENGINE LIGHT
      CAME ON I PULLED THE FUSE FOR THE EXHAUST VALVES
      TO KEEP THEM OPEN THEY CHECKED THEN TESTED THE
      CAR AND TOLD ME IT WAS FINE NO OTHER CODES WERE
      FOUND.

      I HAVE 1800 MILES ON THE CAR NOW I TRIED EVERY 93
      OCTANE FUEL AVAILABLE IN THIS AREA AND OTHER
      AREAS, HOPING IT WAS JUST BAD FUEL THAT MANY
      STATIONS CAN’T HAVE BAD FUEL FOR IT TO BE FUEL
      RELATED. *TR



24
  GM switched all Corvettes to a different eight-speed transmission, the eight-speed
 Tremec Dual Clutch Transmission, in 2020.


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      106. Another incident involving a Chevrolet Corvette was reported on

October 27, 2015:

      8 SPEED AUTOMATIC TRANSMISSION DOWN SHIFTS AT A
      STOP WITH SUCH FORCE IT FEELS AS YOU HAVE BEEN HIT
      FROM BEHIND BY ANOTHER CAR WHILE COMING TO A
      STOP. TRANSMISSION ALSO WILL NOT ALWAYS ENGAGE
      PROPERLY AND WILL OVER REV AND SLAM INTO GEAR
      POSSIBLY CAUSING AN ACCIDENT. TRANSMISSION AT
      TIMES WILL DISENGAGE WHILE GOING FORWARD THEN
      SLAM INTO GEAR WITH GREAT FORCE. I WAS TOLD BY A
      GM INSIDER THAT GM IS AWARE SOME TRANSMISSIONS
      ARE DEFECTIVE AND IS WORKING ON A KIT TO FIX THE
      FLUID STARVATION PROBLEM INTERNALLY BUT HAS
      DONE NOTHING TO INFORM OWNERS OF THE POTENTIAL
      DANGERS OF ERRATIC SHIFTING THAT IT’S CAUSING
      WHILE DRIVING. THIS ALSO CAUSES THE TRANSMISSION
      TO OVER HEAT AND TO ILLUMINATE A WARNING LAMP.

      107. Another incident involving a Chevrolet Corvette was reported on

February 27, 2016:

      8-SPEED AUTOMATIC TRANSMISSION ALWAYS SHIFTS
      ERRATICALLY WHEN STARTING OUT COLD (LAZY SHIFT,
      SLOW SHIFT, ETC.) AND OCCASIONALLY DOES NOT
      DOWNSHIFT WHEN CAR COMES TO A STOP, ONLY TO SLAM
      HARD INTO 1ST WHEN GAS PEDAL IS PRESSED TO RESUME
      TRAVEL. DEALER SAYS GM CLAIMS THIS IS “NORMAL,” BUT
      NO CAR I’VE EVER OWNED BEHAVES LIKE THIS. APPEARS
      TO    BE  FLUID    STARVATION   INTERNALLY.     ANY
      FIX/REPLACEMENT WOULD BE COSTLY FOR GM, SO GIVEN
      THEIR HISTORY W/FAULTY IGNITION SWITCHES, NOT
      SURPRISED THEY’RE TRYING TO AVOID IT. TRANSMISSION
      IS DEFINITELY NOT NORMAL AND BEHAVIOR IS
      UNPREDICTABLE + UNACCEPTABLE -- ESPECIALLY AT THIS
      PRICE. WHEN CAR IS MOVING & TRANSMISSION IS IN DRIVE
      AND TRYING TO LAZILY SHIFT GEARS, YOU TEMPORARILY
      LOSE ABILITY TO APPLY POWER, WHICH IS BOTH


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      DANGEROUS    AND    UNNERVING.   CLEARLY,  THIS
      TRANSMISSION    WAS    PUT   INTO    PRODUCTION
      W/INADEQUATE TESTING & DEVELOPMENT. A RECALL IS
      NECESSARY TO FIX PROPERLY.

      108. On May 17, 2016, the following incident involving a Chevrolet

Corvette was reported:

      AUTOMATIC 8 SPEED TRANSMISSION HAD TO BE REPLACED
      AT 2000 MILES ON THE ODOMETER DUE TO HARD SHIFTS
      AND SHIFTING AUTOMATICALLY TO LOW GEAR AT
      HIGHWAY SPEEDS NEARLY BRINGING THE CAR TO A STOP
      IN INTERSTATE TRAFFIC, NOW 700 MILES AND 4 MONTHS
      LATER THE TRANSMISSION IS STUCK IN SECOND GEAR AND
      YOU CANT DRIVE FAST ENOUGH TO GET OUT OF THE WAY
      OF TRAFFIC. AND I KNOW OF SEVERAL OTHER CARS LIKE IT
      THAT HAVE SIMILAR PROBLEMS. THIS IS A REAL SAFETY
      PROBLEM AND GM SEEMS TO IGNORE IT, PROBABLY UNTIL
      SOMEONE GETS HURT OR KILLED.

      109. On August 8, 2016, the following incident involving a Chevrolet

Corvette was reported:

      AUTOMATIC A8 TRANSMISSION HAS THE FOLLOWING
      ISSUES: 1)MORNING SHIFT FROM REVERSE TO DRIVE
      SEVERELY DELAYED, BANGS IN EVENTUALLY. 2) ERRATIC
      SHIFTING IN NORMAL TRAFFIC 3) THE 2-1 DOWNSHIFT
      WHEN COMING TO A STOP RESULTS IN SEVERE BANG,
      LURCHES FORWARD AND IS VERY UNSAFE IN A PARKING
      LOT SITUATION. ALSO IN STOP AND GO TRAFFIC, SAME
      LURCHING FORWARD. FEELS AS IF SOMEONE HIT YOU
      FROM BEHIND 4) TORQUE CONVERTER LOCKUP IN 5TH AND
      6TH GEAR. DEALER TORE APART THE CAR TO REPLACE THE
      STATOR, PERFORMED SOFTWARE UPDATE - NEITHER
      SOLUTION WORKED.

      110. On August 8, 2016, another incident involving a Chevrolet Corvette

was reported:


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      THE A8 AUTOMATIC TRANSMISSION IN THE 2015 CORVETTE
      IS PRONE TO OCCASIONAL HARD DOWNSHIFTS FROM 2ND
      TO 1ST GEAR WHEN DRIVING AT SLOW SPEEDS (LESS THAN
      10 MPH). SOMETIMES THE DOWNSHIFTS ARE SO VIOLENT
      THAT THE CAR JERKS FORWARD SEVERAL FEET. THE FIRST
      TIME IT HAPPENED I THOUGHT I HAD BEEN REAR ENDED BY
      ANOTHER CAR. THE UNPREDICTABLE BEHAVIOR OF THE
      TRANSMISSION IS ESPECIALLY DANGEROUS IN PROXIMITY
      TO PEDESTRIANS OR OTHER VEHICLES.

                   f.    Chevrolet Camaro

      111. On July 5, 2016, the following incident was reported:

      PURCHASED 2016 CHEVROLET CAMARO ON 6/18/2016 FEW
      DAYS AFTER THE ENGINE WAS RUNNING VERY ROUGH,
      GRINDING NOISE, TRANSMISSION SHIFTING HARD, THE
      CHECK ENGINE LIGHT ILLUMINATED AND SPEED REDUCED
      TO 5 MPH SHOWED ON DISPLAY. THIS HAS BEEN GOING ON
      SINCE THEN, I BROUGHT TO DEALER ON 7/1/2016 AND THE
      SERVICE MECHANIC TOOK BACK TO CHECK CODES AND
      INFORMED ME THAT NUMEROUS ERROR CODES WERE
      DETECTED AND TOLD ME TO GO AHEAD AND TAKE
      VEHICLE HOME BECAUSE IT WAS A HOLIDAY WEEKEND
      AND TO RETURN ON TUESDAY 7/5/2016 TO BE INSPECTED
      FOR REPAIR.

      112. Another incident involving a Chevrolet Camaro was reported on March

19, 2018:

      I BOUGHT MY CAR IN SEPT. 2016 AFTER THE FIRST COUPLE
      OF MONTHS AT RANDOM TIMES THE TRANSMISSION
      MAKES A BOOM SOUND WHEN SLOWING DOWN FROM
      SPEEDS OVER 55 MPH OR DURING ACCELERATION FROM
      STOP AND GO RUSH HOUR TRAFFIC IT’S AS IF THE
      TRANSMISSION HAS TO CATCH UP WITH THE
      ACCELERATOR. I GET MONTHLY DIAGNOSTICS AND
      NOTHING SHOWS UP AS AN ISSUE.




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      113. Another incident involving a Chevrolet Camaro was reported on

February 27, 2019:

      WHEN DRIVING, THE VEHICLE WILL VIBRATE/SHUDDER
      PERIODICALLY. WHEN PULLING INTO TRAFFIC, SOMETIMES
      IT DOES NOT SHIFT PROPERLY AND PRESENTS A DANGER.
      THE DEALER FLUSHED THE TRANSMISSION FLUID
      RECENTLY, BUT IT IS STARTING TO HAPPEN AGAIN.

      114. Another incident involving a Chevrolet Camaro was reported on

January 17, 2019:

      ISSUE 1 - 8 SPEED AUTOMATIC TRANSMISION IS SHIFTING
      HARD BETWEEN GEARS AND ALSO HAS A SHUTTER AT LOW
      ENGINE RPM BETWEEN 1200 TO 1500 RPM. THE SHUTTER
      WILL OCCUR IN MOST GEARS. ESPECIALLY NOTICEABLE
      WHEN USING CRUISE CONTROL. IT HAPPENS IN ALL ROADS
      IN ALL CONDITIONS AND AT VARIOUS SPEEDS + GEAR...

      115. An incident involving a 2017 Chevrolet Camaro was reported on

February 2, 2019, as follows:

      HARD SHIFTS BETWEEN 1ST & 2ND GEAR VIBRATION
      BETWEEN 1500 & 1800 RPM. THIS CAR HAS ACTIVE FUEL
      MANAGEMENT VIBRATION SEEMS TO HAPPEN WORSE
      WHEN IN 4 CYLINDER MODE. GM IS AWARE OF THE ISSUE
      AND KEEPS PROMISING A FIX WHICH HAS YET TO BE
      RELEASED. BLAME IT ON FLUID IN TRANSMISSION.

      116. On July 22, 2019, the following was reported:

      2018 2.0LITER TURBO HAS SHIFTING ISSUES I BELIEVE. IT IS
      VERY VIOLENT SHIFTING THROUGH GEARS WHEN FIRST
      START DRIVING AND SLOWING VEHICLE DOWN, AND
      SEEMS TO CAUSE LAG WHEN ACCELERATING IN
      EVERYDAY DRIVING.

      117. On November 15, 2019, the following was reported:


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      GRINDING SOUND COMING FROM THE REAR END, IT DOES
      IT WHILE TURNING WHEN THE CAR IS COLD OR SAT FOR A
      FEW HOURS, I'M WORRIED THAT IT'S GOING TO LOCK UP
      SOME DAY WHILE TRAVELING. I BOUGHT IT NEW AND THE
      NOISE STARTED AT ABOUT 4000 MILES, THEY CHANGED
      THE FLUID AND THE NOISE NEVER WENT AWAY, I TRY TO
      EXPLAIN IT WHEN I TAKE IT IN, BUT THEY'RE DRIVING IT
      AFTER IT'S WARMED UP , SO NO NOISES EVERY TIME,
      THANKS, AND I HEAR ABOUT THIS FROM OTHER OWNERS.

      118. On January 21, 2021, the following was reported:

      TRANSMISSION ISN'T CONTROLLED WELL. WHEN COMING
      TO A COMPLETE STOP THE TRANSMISSION TENDS TO SHIFT
      TO 1ST GEAR VIOLENTLY WHICH MAY CAUSE THE VEHICLE
      TO MOVE FORWARD AND HIT A CAR IN FRONT OF YOU. 2018
      CAMARO 2.0

      119. On July 12, 2019, the following incident was reported:

      TODAY IN THE MORNING, I WAS DRIVING ON THE HIGHWAY
      TO WORK AND AS I WAS DRIVING AT ABOUT 45 MPH, I
      HEARD A CLUNK SOUND UNDER THE CAR AND THE ENGINE
      UGHT CAME ON. I SLOWED DOWN AND STOPPED AT A
      TRAFFIC LIGHT AND THEN I BEGIN TO DRIVE AGAIN AND I
      NOTICED THAT MY CAR WAS DRIVING AT A HIGH RPM AND
      IT SEEMED LIKE WAS STUCK AT A SHIFT AND IT DIDNT
      WANT TO CHANGE GEARS SO I SLOWED DOWN PULLED
      INTO AN ENTRANCE AND TURNED OFF MY VEHICLE I
      LOOKED UNDER THE CAR AND I DIDNT SEE ANYTHING
      WRONG; NO LEAKS OR NOTHING. I TURNED IT BACK ON
      AND DROVE IT TO AUTO PARTS TO SEE HAVE THEM RUN A
      CHECK ENGINE LIGHT TEST AND 3 CODES CAME UP WHICH
      WAS P0964, P0966, AND P0700. AFTER THAT I TOOK IT BACK
      HOME AT A SLOW SPEED AND LEFT IT THERE UNTIL I GOT
      BACK HOME FROM WORK I STARTED MY CAR UP AND
      DIDNT SEE THE CHECK ENGINE LIGHT ON ANYMORE. I
      CALLED MY DEALERSHIP TO HAVE IT SERVICED AND
      CHECKED.




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                   g.       Chevrolet Silverado

      120. On November 20, 2015, the following incident was reported as to a

2015 Chevrolet Silverado:

      TRANSMISSION CANNOT FIND GEARS WHEN COASTING OR
      SLOWING DOWN AND THEN HITTING ACCELERATOR. VERY
      DANGEROUS WHEN IT HESITATES FOR SECONDS BEFORE
      FINDING THE RIGHT GEAR AND GOING, OR IT STAYS IN TOO
      HIGH OF A GEAR INSTEAD OF DOWNSHIFTING TO
      ACCELERATE AND RATTLES. HAPPENS EVERY TIME I DRIVE
      THE TRUCK, AND MANY OTHER PEOPLE HAVE THE SAME
      ISSUE. GM DOESN’T CARE!

      121. Another incident involving a Chevrolet Silverado was reported on April

6, 2016:

      HAD BEEN COMPLAINING SINCE 2 DAYS AFTER PURCHASE
      THAT                TRANSMISSION               WAS
      SHAKING/SHIMMYING/SPUTTERING. WAS PULLING ONTO A
      COUNTY HIGHWAY OFF OF A RESIDENTIAL TYPE ROAD
      (AFTER PICKING UP GRANDDAUGHTER FROM SCHOOL - SHE
      WAS IN TRUCK) AND TRUCK BOGGED DOWN & WOULDN’T
      GO. INTERSECTION IS AT TOP OF HILL AND AROUND A
      CORNER. WAS CLEAR WHEN I STARTED PULLING OUT, BUT
      WAS ALMOST HIT BY ONCOMING TRUCK BEFORE I GOT MY
      TRUCK TO GET ON ACROSS THE INTERSECTION. HAS BEEN
      IN SHOP TWICE TO FIX IT. FIRST TIME TO DOUBLE
      TRANSMISSION FLUSH. THAT DIDN’T WORK. NEXT TIME A
      FEW WEEKS LATER, A TECHNICIAN HOOKED UP A
      COMPUTER TO MY TRUCK SO HE COULD MANUALLY SHIFT
      GEARS WHILE RIDING WITH ME. HE FELT THE ISSUES AND
      SAID HE SAW SEVERAL PROBLEMS. DEALERSHIP ENDED UP
      REPLACING TORQUE CONVERTER. ALSO REPLACED VLOM
      MANIFOLD - WHATEVER THAT IS? THAT’S WHAT IT SAYS
      ON WORK ORDER. THE PROBLEM STILL EXISTS. I BELIEVE
      THERE ARE BULLETINS OUT ON THIS TRUCK’S




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      TRANSMISSION ALREADY. I HAVE TALKED TO OTHERS
      WHO HAVE HAD THE SAME PROBLEM.

      122. Another incident involving a Chevrolet Silverado was reported on May

12, 2016:

      TL* THE CONTACT OWNS A 2015 CHEVROLET SILVERADO
      1500. WHILE DRIVING 30 MPH, THE VEHICLE DOWNSHIFTED
      UNCONTROLLABLY WITHOUT WARNING. ALSO, WHILE IN
      THE PARK POSITION, THE VEHICLE SUDDENLY LUNGED
      FORWARD AND HAD TO BE RESTARTED. THE CONTACT
      STATED THAT THE TRANSMISSION INDEPENDENTLY
      ENGAGED INTO FIRST GEAR WITHOUT WARNING AND
      CAUSED THE VEHICLE TO SHIFT FORWARD ON MORE THAN
      ONE OCCASION. THE VEHICLE RECEIVED AN UNKNOWN
      REPAIR,    BUT    THE    FAILURE     RECURRED.      THE
      MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE
      FAILURE MILEAGE WAS 14,000. ....UPDATED 0711/16 *BF

      123. Another incident involving a Chevrolet Silverado was reported on

August 8, 2016:

      TL* THE CONTACT OWNS A 2015 CHEVROLET SILVERADO
      1500. UPON DEPRESSING THE ACCELERATOR PEDAL, THE
      VEHICLE WAS EXTREMELY SLOW TO ACCELERATE WITH A
      DRASTIC REDUCTION IN SPEED WITHOUT WARNING. THE
      VEHICLE WAS TAKEN TO TWO DEALERS WHO WERE
      UNABLE TO REPLICATE AND DIAGNOSE THE FAILURE. THE
      MANUFACTURER WAS NOTIFIED OF THE FAILURE AND
      PROVIDED NO RECOMMENDATION OR REPAIR SOLUTION.
      THE FAILURE MILEAGE WAS NOT AVAILABLE.

      124. Another incident involving a Chevrolet Silverado was reported on

August 20, 2016:

      THE TRANSMISSION HESITATES WHEN SHIFTING IN
      AUTOMATIC BUT WHEN IN MANUAL MODE IT SHIFTS FINE
      WITH NO ISSUES. THIS HAS BEEN A ON GOING ISSUE AND


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      PROBLEM THE SERVICE CENTER FOR A LOCAL DEALERSHIP
      CAN NOT FIND THE ISSUE. BUT THERE IS SOMETHING
      GOING ON WITH THE TRANSMISSION.

      125. Another incident involving a Chevrolet Silverado was reported on

September 14, 2016:

      TL* THE CONTACT OWNS A 2015 CHEVROLET SILVERADO
      1500. WHILE DRIVING 10 MPH, THE ACCELERATOR PEDAL
      WAS DEPRESSED AND THE VEHICLE ACCELERATED IN
      EXCESS. THE VEHICLE WAS TAKEN TO A DEALER WHERE IT
      WAS DIAGNOSED THAT THE WIRING HARNESS, PART OF
      THE TRANSMISSION, AND MULTIPLE OTHER PARTS NEEDED
      TO BE REPLACED. THE VEHICLE WAS REPAIRED; HOWEVER,
      THE FAILURE RECURRED. IN ADDITION, WHILE DRIVING AT
      A VERY LOW SPEED, “HAUL GEARS” DISPLAYED ON THE
      MESSAGE BOARD AS THE VEHICLE SWITCHED INTO A LOW
      GEAR INDEPENDENTLY. THE MANUFACTURER WAS
      NOTIFIED OF THE FAILURES. THE FAILURE MILEAGE WAS
      3,000. THE VIN WAS UNAVAILABLE.

      126. Another incident involving a Chevrolet Silverado was reported on

September 26, 2016:

      I PARK IN A 5 LEVEL PARKING GARAGE. SEVERAL MONTHS
      AGO, I WAS LEAVING WHEN I CAME UP TO THE RAMP TO
      THE NEXT LOWER LEVEL. I LET OFF ON THE ACCELERATOR
      BEFORE I WENT FROM FLAT TO LOWERING RAMP. THE
      TRUCK SHIFTED UP TO SECOND GEAR, ACCELERATED AND
      THROUGH ME TOWARD THE VEHICLE IN FRONT. THE
      TRUCK WENT OUT OF MY CONTROL. IF I WERE NOT A SAFE
      DRIVER I WOULD HAVE STRUCK THE VEHICLE. THIS ISSUE
      HAS OCCURRED ANOTHER TIME AS WELL. THERE HAVE
      BEEN OTHER PROBLEMS WHICH ARE NUMEROUS. I WILL
      ADDRESS THEM INDIVIDUAL IN FURTHER COMPLAINTS.

      127. Another incident involving a Chevrolet Silverado was reported on

September 27, 2016:


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      ON SEPT 21 2016 I ARRIVED AT MY HOME. I DROVE UP MY
      GRAVEL DRIVEWAY IN D(DRIVE) AND SLOWED TO A STOP
      AND MY TRUCK BEGAN TO ROLL BACKWARD UNDER MY
      CONTROL. I WAS CHECKING ON THE GROUND FOR LAWN
      DAMAGE. THE TRUCK SHUTTERED TWICE, SHUT OFF AND
      STARTED TO ROLL BACKWARD TOWARD A TREE. I
      QUICKLY REGAINED CONTROL WITH A PANIC STOP. I WAS
      ABLE TO PLACE THE TRUCK IN PARK AND RESTART THE
      TRUCK. I HAD LOST CONTROL OF THE TRUCK.

      128. Another incident involving a Chevrolet Silverado was reported on

November 9, 2016:

      TRANSMISSION IS LURCHING IF DRIVING 50 MPH THEN
      SLOW DOWN TO 35 MPH WHEN YOU GO TO SPEED BACK UP
      IT LURCHES. COMPLAINED TO CHEVROLET SEVERAL TIMES
      THEY SAY CANNOT FIND ANYTHING WRONG.

      129. Another incident involving a Chevrolet Silverado was reported on

December 12, 2016:

      TL* THE CONTACT OWNS A 2015 CHEVROLET SILVERADO
      1500. WHILE DRIVING APPROXIMATELY 45 MPH, THE CHECK
      ENGINE INDICATOR ILLUMINATED. THE VEHICLE STARTED
      TO DECELERATE WHEN DEPRESSING THE ACCELERATOR
      PEDAL. THE VEHICLE WAS TAKEN TO THE DEALER, BUT
      WAS NOT DIAGNOSED OR REPAIRED. THE MANUFACTURER
      WAS MADE AWARE OF THE FAILURE. THE APPROXIMATE
      FAILURE MILEAGE WAS 33,000.

      130. Another incident involving a Chevrolet Silverado was reported on

December 13, 2016:

      TL* THE CONTACT OWNS A 2015 CHEVROLET SILVERADO
      1500. THE CONTACT STATED THAT WHILE DRIVING AT
      VARIOUS SPEEDS, THERE WAS A LOUD CLUNKING NOISE
      COMING FROM THE REAR OF THE VEHICLE. THE CONTACT
      STATED THAT THE FAILURE OCCURRED AFTER SHIFTING


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      GEARS. THE VEHICLE WAS NOT REPAIRED. THE
      MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE
      FAILURE MILEAGE WAS 17,000.

      131. On May 11, 2016, the following incident was reported:

      I BOUGHT A 2016 CHEVY SILVERADO 1500 LTZ Z71 AND IT
      VIBRATES AT IDLE AND THE TRANSMISSION IS SLIPPING. I
      HAD ALREADY TOOK IT TO THE DEALERSHIP TO GET IT FIX,
      BUT NO LUCK. GM TOLD ME THAT IS HOW THE TRUCK IS
      DESIGNED TO OPERATE, WHICH IS HARD TO BELIEVE.
      THERE IS ABSOLUTELY ZERO HELP FROM GM TO HELP ME
      RESOLVE THE PROBLEM. I WAS GIVEN AN OPTION TO
      TRADE IT IN FOR A NEW ONE AT MY OWN EXPENSES OR
      DEAL WITH THE PROBLEM. FORD WOULD NOT TAKE MY
      TRUCK AS A TRADE IN NOR WILL GMC. THIS VEHICLE CAN
      POTENTIALLY BY DANGEROUS AND A LIABILITY AS THE
      TRANSMISSION SEEM TO HAVE A MIND OF ITS OWN AND
      THE CONSTANT VIBRATION CANNOT POSSIBLY HE GOOD
      FOR ANYONE.

      132. Another incident involving a Chevrolet Silverado was reported on

October 3, 2016:

      THE ISSUE(S) THAT I AM EXPERIENCING ALL APPEAR TO BE
      WITH THE TRUCKS 8 SPEED TRANSMISSION. THE FIRST TWO
      OCCUR DURING BREAKING AND THE THIRD HAPPENS
      WHEN ACCELERATING FROM A “COLD” START. A
      DESCRIPTION OF EACH OF THE THREE MAJOR ISSUES ARE
      OUTLINED BELOW:

           1.  DURING INITIAL BREAKING THE TRUCK WILL
      BEGIN TO SLOW DOWN AS INTENDED AND WITHOUT
      WARNING IT ABRUPTLY ACCELERATES/SLIDES FORWARD
      (SEE BREAKING PROFILES). THIS TYPICALLY HAPPENS
      BETWEEN 10-20 MPH.

          2.   DURING BREAKING JUST BEFORE COMING TO A
      STOP I EXPERIENCE A HARD JERK OR SHUDDER (SEE
      BREAKING PROFILES).


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          3.  DURING A “COLD” START, IN THE MORNING OR
      AFTER WORK, THE TRANSMISSION WILL SOMETIMES SLIP
      AND SHIFT HARD WHILE PULLING OUT OF MY
      DRIVEWAY/PARKING LOT.

      THE ISSUES ARE ALL INTERMITTENT.

      133. Another incident involving a Chevrolet Silverado was reported on

October 16, 2016:

      I HAD TWO EPISODES OF SUDDEN UNINTENDED
      ACCELERATION WHILE DRIVING HIGHWAY SPEEDS ON A
      HIGHWAY. TRUCK IS WEEKS OLD- 1500MILES ONLY.
      BRAKES STILL WORKED SO I WAS ABLE TO STOP. RPMS
      CONTINUED TO ESCALATE IN NEUTRAL AND PARK. HAD TO
      TURN OFF ENGINE QUICKLY TO ABORT THE PROBLEM. I’M
      TAKING THE TRUCK IN FOR EVALUATION TOMORROW. MY
      WIFE AND TWO OLDEST SONS WERE IN THE VEHICLE. *TR

      134. Another incident involving a Chevrolet Silverado was reported on

November 15, 2016:

      TL* THE CONTACT OWNS A 2016 CHEVROLET SILVERADO
      1500. WHILE ATTEMPTING TO ACCELERATE FROM A STOP,
      THE VEHICLE FAILED TO ACCELERATE. THE CONTACT
      COASTED INTO A PARKING LOT AND NOTICED THAT THE
      FRONT PASSENGER SIDE AXLE INDEPENDENTLY SHIFTED
      TO THE REAR OF THE CHASSIS, WHICH POTENTIALLY
      CAUSED A SPARK TO THE TIRES. THE VEHICLE WAS TAKEN
      TO THE DEALER, BUT WAS NOT DIAGNOSED OR REPAIRED.
      THE MANUFACTURER WAS MADE AWARE OF THE FAILURE.
      THE FAILURE MILEAGE WAS APPROXIMATELY 4,000.

      135. On July 20, 2018, the following incident was reported:

      8 SPEED TRANSMISSION CLUNKS WHEN SHIFTING INTO 2
      GEAR AND AT TIMES FEELS LIKE YOU GOT REAR ENDED.
      WHEN IT DOWN SHIFTS INTO THE LOWER GEARS ITS ALSO
      CLUNKS AND IS NOT SMOOTH. THIS IS HAPPENING WHEN


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      GOING AT SLOW SPEEDS AND IS WORSE AFTER A COLD
      START. THE VEHICLE SHIFTS FINE AT HWY SPEEDS. I HAVE
      ALREADY BROUGHT IT TO THE DEALERSHIP TWICE AND
      PROBLEM IS STILL THERE. TALKING TO OTHER PEOPLE
      WITH GM 8 SPEED TRANSMISSION AND THEY ARE HAVING
      THE SAME ISSUE. 8 SPEED TRANSMISSION NEEDS
      RECALL.POSSIBLY TORQUE CONVERTER.

      136. Another incident involving a 2017 Chevrolet Silverado was reported on

July 18, 2018:

      ENGINE HESITATION, OR MISFIRING. JERKING, OR
      TRANSMISSION SHUTTERING WHEN ENGINE IS AT LOW
      RPM AND ON INCLINE. (I.E. WHEN TRAVELING ABOUT
      45MPH AND START UP A HILL, THE RPM’S ARE ABOUT 1300
      AND THE TRANSMISSION DOESN’T GEAR DOWN, SO IT
      STARTS SHUTTERING UNTIL YOU GIVE IT MORE
      ACCELERATION THAN USUAL.) AFTER DEALING WITH THIS
      ISSUE FOR NEARLY 8 MONTHS AND 15K MILES, I BELIEVE
      THIS SAFETY ISSUE SHOULD BE RECALLED. DEALER
      ORIGINALLY ACKNOWLEDGE THE PROBLEM BUT WAS
      UNSURE OF THE CAUSE. AFTER 5 REPAIR ATTEMPTS THE
      DEALER SAY THEY CAN’T DUPLICATE AND THE VEHICLE
      PERFORMS AS DESIGNED.

      137. Another incident involving a Chevrolet Silverado was reported on May

9, 2018:

      TRANSMISSION ABRUPTLY SHIFTING. FEEL LIKE THE
      TRUCK IS BEING HIT BY ANOTHER VEHICLE. I DON’T KNOW
      WHEN IT’S GONNA DO IT BUT WHEN IT DOES, ITS SCARY.
      THE OTHER DAY WHILE TRYING TO BACK UP INTO MY
      DRIVE WAY, THE WOULD NOT MOVE WHEN I PUSHED ON
      THE PEDAL. THEN ON IT’S OWN, THE TRUCK BURNED
      RUBBER BACKWARDS WHEN I TOOK MY FOOT OFF OF THE
      GAS PEDAL. I ALMOST DROVE INTO MY GARAGE! THIS
      TRUCK IS NOT SAFE AND NEEDS TO BE REMOVED FROM




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      SERVICE! THIS IS AN ONGOING PROBLEM THAT YOU NEVER
      KNOW WHEN IT’S GOING TO HAPPEN DURING YOU DRIVE.

      138. Another incident involving a Chevrolet Silverado was reported on

March 27, 2018:

      VEHICLE HESITATION AND SURGES IN ACCELERATION.
      THIS CONDITION IS A SAFETY ISSUE AS IT HESISTATES
      PULLING INTO TRAFFIC, SURGES IN ACCELERATION HAVE
      CAUSED LOSS OF TIRE TRACTION ON ICE COVERED
      ROADWAYS NEARLY RESULTING IN A COLLISION.
      DEALERS HAVE ACKNOWLEDGED AN ISSUE BUT ADVISE
      THEY ARE STILL WAITING ON A FIX FROM GM.

      139. Another incident involving a Chevrolet Silverado was reported on

March 22, 2018:

      PURCHASED MY 17 CHEVROLET SILVERADO 1500 ON
      11/28/17 AND RETURNED IT TO THE DEALERSHIP ON 12/1/17.
      THIS WAS DUE TO A SEVERE SHUDDERING & SHIFTING IN
      THE TRANSMISSION & SEVERE SHAKE IN THE FRONT END
      AT 70-90MPH. THEY BALANCED & ROTATED THE TIRES,
      SAYING THE ISSUE WAS FIXED, I PICKED THE VEHICLE
      BACK UP ON 12/4/17 BUT THE ISSUE WAS NOT FIXED & AN
      ELECTRICAL ISSUE HAD ALSO OCCURRED. I TOOK THE
      VEHICLE BACK ON 12/7 /18 WITH THE SAME COMPLAINTS
      REGARDING THE TRANSMISSION & SHAKING IN THE FRONT
      END, AS WELL AS THE ELECTRICAL ISSUE. THE DEALERSHIP
      CALLED ME ON 12/8/17, TOLD ME THEY HAD BEEN UNABLE
      TO DUPLICATE THE ISSUES, FINDING NOTHING WRONG. I
      LEFT IT OVER THE WEEKEND, WENT IN MONDAY MORNING
      & SPOKE TO THE SERVICE MANAGER DIRECTLY. HE TOLD
      ME HE HAD PURCHASED THE SAME VEHICLE WITH THE
      SAME TRANSMISSION ISSUES. SAID THERE WAS A POSSIBLE
      FIX BY EXCHANGING THE TRANSMISSION FLUID & THEY
      WOULD USE A NEW MACHINE PICO TO CHECK IT OUT. THEY
      HAD TO REPLACE THE TORQUE CONVERTER DUE TO
      MALFUNCTIONING & PERFORM A PROGRAMMING MODULE


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      UPDATE ON RADIO, I PICKED IT UP ON 12/22/17, ISSUE WITH
      THE TRANSMISSION WAS STILL NOT RESOLVED. I TOOK IT
      TO A DIFFERENT DEALERSHIP FOR TRANSMISSION
      SHUDDER, SHIFT & SHAKE ISSUE MOST NOTICEABLE AT 70-
      90MPH, & RADIO ISSUE. THEY WERE ADVISED TO PERFORM
      A MODULE UPDATE ON THE TRANSMISSION & GIVEN 2
      OPTIONS ON THE RADIO, THEY CHOSE TO REPLACE THE
      SCREEN. I TOOK IT BACK TO THAT SAME DEALERSHIP,
      MODULE UPDATE MADE TRANSMISSION/FRONT END ISSUE
      WORSE, ESPECIALLY COMING OUT OF A CURVE. THEY’VE
      REPLACED MY 2 BACK TIRES SAID THEY WERE BAD &
      SHOULD FIX THE SHAKING ISSUE IN THE FRONT END.
      UNABLE TO DUPLICATE TRANSMISSION ISSUES THUS THEY
      CANNOT REPAIR IT. OWNERS WITH THE SAME ISSUES ARE
      BEING TOLD GM KNOWS BUT CAN’T FIX TRANSMISSION
      ISSUE.

      140. Another incident involving a Chevrolet Silverado was reported on

February 26, 2018:

      8 SPEED TRANSMISSION SHIFT VERY ROUGH FROM 1-2 AND
      2-1 GEARS, FREQUENTLY HESITATES, MAKES CLUNKING
      SOUND. HAVE TAKEN IT TO GM DEALER AND AM
      INFORMED THAT YES, THAT’S THE WAY THE 8 SPEEDS ARE.
      THIS IS A $50K+ TRUCK. THIS TRANSMISSION ISSUE CAUSES
      AND CAN CAUSE HESITATION WHEN NEEDING TO
      ACCELERATE, THUS CREATING A SAFETY HAZARD.

      141. Another incident involving a 2017 Chevrolet Silverado was reported on

February 13, 2018:

      TRANSMISSION SHIFTS HARD AND VEHICLE SURGES AT
      LOW SPEED WITH ACCOMPANING “CLUNK”. PROBLEM
      OCCURS IN BOTH UPSHIFT AND DOWN SHIFT. DEALER
      INFORMS ME THAT IS A “LEARNING” CURVE FOR VEHICLE
      TO UNDERSTAND MY DRIVING HABITS. HOWEVER I SEE ON
      SEVERAL AUTOMOTIVE FORUMS THAT THIS HAS BEEN AN
      ISSUE FOR SOME TIME AND HAS YET TO BE RESOLVED.


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      142. Another incident involving a Chevrolet Silverado was reported on

February 1, 2018:

      THE CONTACT OWNS A 2017 CHEVROLET SILVERADO 1500.
      WHILE DRIVING 25 MPH, THE VEHICLE SHIFTED HARD
      FROM FIRST TO SECOND GEAR. THE FAILURE OCCURRED
      EVERYDAY SINCE THE VEHICLE WAS PURCHASED IN APRIL
      OF 2017. THE VEHICLE WAS TAKEN TO O’REILLY
      CHEVROLET (6160 E BROADWAY BLVD, TUCSON, AZ 85711)
      WHERE IT WAS DIAGNOSED THAT THE TRANSMISSION
      CONTROL MODULE FAILED. THE DEALER REPROGRAMMED
      THE TRANSMISSION, WHICH FAILED TO REMEDY THE
      FAILURE. THE VEHICLE WAS BROUGHT BACK TO THE
      DEALER AND THE VALVE BODY FOR THE TRANSMISSION
      WAS REPLACED AND THE TRANSMISSION FLUID WAS
      CHANGED. THE FAILURE RECURRED. THE MANUFACTURER
      WAS NOTIFIED OF THE FAILURES. THE FAILURE MILEAGE
      WAS 16,000.

      143. Another incident involving a 2017 Chevrolet Silverado was reported on

January 6, 2018:

      NOTICED AFTER PURCHASE THAT THERE IS VIBRATION
      LIKE A BAD TIRE 35-42 MPH.

      VIBRATION FELT IN SEAT, CONSOLE AND STEERING WHEEL
      58-65 MPH. TRANSMISSION DOWN SHIFTS HARD
      SOMETIMES FEELS LIKE BEING BUMPED FROM BEHIND, IT
      ALSO HESITATES AND JERKS AFTER LETTING OFF THE
      ACCELERATOR AND ACCELERATING AGAIN BETWEEN 25-
      45 MPH.

      WHEN ACCELERATING IT SURGES, JERKS AND STUMBLES.
      SOMETIMES WHEN ACCELERATING THE TRANSMISSION
      DOWNSHIFTS AND HANGS IN THAT GEAR UNTIL YOU LET
      OFF THE ACCELERATOR.

      UNDER HEAVY ACCELERATION THERE IS VIBRATION IN
      THE POWER TRAIN AND THE TRANSMISSION SEEM NOISY.


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      AT 25 MPH IT SHUTTERS LIKE THE TRANSMISSION IS IN TO
      HIGH OF A GEAR UNDER LIGHT ACCELERATION.

      RETURNED TO WALDORF CHEVROLET WHERE I
      PURCHASED IT AND WAS TOLD THEY BALANCED 2 TIRES
      AND RESET THE ROAD FORCE.SCANNED TRANSMISSION NO
      CODES TRANSMISSION OK AFTER SHOP FOREMAN ROAD
      TESTED FOR 21 MILES NO OTHER REPAIRS NEEDED.

      PICKED IT UP DRIVING HOME NOTICED ALL THE PROBLEMS
      WERE STILL THERE AND AFTER INSPECTION OF MY
      TRANSMISSIONS NOTICED THAT THE TRANSMISSIONS
      WERE BALANCED STILL HAD THE OLD WEIGHTS STILL ON
      THE TRANSMISSIONS WITH NEW WEIGHTS ALSO.

      MADE ANOTHER APPOINTMENT THIS TIME TO HAVE SHOP
      FOREMAN (RICK) RIDE WITH ME TO SHOW HIM WHAT IT
      WAS DOING WHICH WE DID AND LEFT MY TRUCK AGAIN.

      AFTER 8 DAYS I AM TOLD IT WAS READY I WAS TOLD THEY
      DID A PICO SCOPE TEST AND THE DRIVESHAFT WAS BEING
      REPLACED THEN ONLY TESTED IT WAS OK. CHECKED RUN
      OUT ON FLANGES ALL WITHIN SPECS. FOUND THE RIGHT
      REAR TIRE BAD. THEY PUT STEEL WHEEL FROM ANOTHER
      TRUCK ON AND ROAD TESTED WITH NO CHANGE. THEY
      DROVE ANOTHER TRUCK AND IT RIDES THE SAME. EVEN
      HAS THE SHUTTERS ON HARD ACCELERATION. SAID THEY
      CALLED GM TAC BACK AND THEY DONT SEE A PROBLEM
      WITH THIS.

      WRITTEN DOCUMENTS BE SENT VIA MAIL.

      MADE ANOTHER APPOINTMENT

      144. Another incident involving a Chevrolet Silverado was reported on

October 27, 2017:

      TRANSMISSION ON MY NEW 2016 Z71 LT 4X4 JUMPS INTO
      LOW GEAR WHEN SLOWING DOWN. I TOOK IT TO THE
      DEALERSHIP MULTIPLE TIMES, BUT KEEP GETTING TOLD IT
      SHIFTS FINE. TOOK IT AGAIN AND HAD A MANAGER DRIVE


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      THE TRUCK WITH ME INSIDE AND AGREED THE
      TRANSMISSION WAS NOT GETTIN INTO GEAR IN A NORMAL
      WAY. TOON IT BACK TO GET IT FIXED AND WAS TOLD
      TRANSMISSION IS FINE. I NEED THIS FIXED OR I WILL BE
      RETURNING HE TRUCK AS A LEMON TITLE.

      145. Another incident involving a Chevrolet Silverado was reported on April

5, 2017:

      THE CONTACT OWNS A 2017 CHEVROLET SILVERADO 1500.
      WHILE DRIVING 45 MPH, THE TRANSMISSION FAILED TO
      SHIFT PROPERLY AND MADE A CLUNKING SOUND. THE
      FAILURE RECURRED MULTIPLE TIMES. THE VEHICLE WAS
      TAKEN TO A DEALER WHERE IT WAS DIAGNOSED THAT THE
      TRANSMISSION    FAILED   AND    NEEDED    TO   BE
      REPROGRAMMED. THE VEHICLE WAS REPAIRED, BUT THE
      FAILURE RECURRED. THE MANUFACTURER WAS MADE
      AWARE OF THE ISSUE. THE APPROXIMATE FAILURE
      MILEAGE WAS 30.

      146. On October 4, 2019, the following was reported as to a 2018

Chevrolet Silverado:

      SEVERAL TIMES, WHILE DRIVING RIGHT AROUND 55 MPH,
      THE TRANSMISSION DOWNSHIFTED FOR NO REASON ON
      THRUWAY CONDITIONS. WHEN THIS HAPPENED, IT WAS
      ALMOST LIKE SLAMMING ON THE BRAKES QUICKLY. ON
      ALL OCCASIONS, MY BODY LURCHED FORWARD. IF
      SOMEONE WAS BEHIND ME, I PROBABLY WOULD HAVE
      BEEN REAR ENDED. ON ANOTHER OCCASION, WITH MY SON
      IN THE TRUCK, WE STOPPED AT A RED LIGHT AND THE
      TRANSMISSION CLUNKED SO VIOLENTLY, THAT WE BOTH
      THOUGHT WE WERE REAR ENDED AT FIRST. I DESCRIBED
      THE ISSUE TO MY GM SERVICE SHOP WHO SAID THAT THEY
      COULDN'T FIND AN ISSUE AND THAT THE CODES WERE ALL
      NORMAL. I WAS ADVISED THAT THE CLUNK AT THE RED
      LIGHT WAS COMMON, AS THE TRANSMISSION HAS TO
      RELIEVE PRESSURE. NO WAY IS THIS NORMAL! I GOT ON


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      LINE TO REVIEW FORUMS AND IT APPEARS THIS IS A VERY
      PREVALENT ISSUE. YESTERDAY, I LOST MY TRANSMISSION
      COMPLETELY ON A THRUWAY. I HEARD A LOUD CLUNK
      AND THE RPMS SPIKED. I LEFT THE HIGHWAY ASAP BUT
      COULD NOT GO OVER 30 MPH OR THE RPMS WOULD JUST
      SPIKE WITHOUT MOTION RESPONSE. EXITING THE
      THRUWAY AT THIS SPEED WAS VERY DANGEROUS! EVEN
      WITH HAZARDS ON, DRIVERS SELDOM SLOW DOWN OR
      MOVE OVER, ESPECIALLY 18 WHEELERS. THESE
      TRANSMISSIONS ARE CLEARLY A SAFETY HAZARD.

      147. On November 28, 2018, the following was reported:

      THE EIGHT SPEED AUTOMATIC TRANSMISSION STUTTERS
      AND ACTS LIKE IT DOESN'T KNOW WHAT GEAR TO GO INTO
      UNDER LIGHT TO NORMAL ACCELERATION. THIS OCCURS
      WHILE COLD AND DURING THE WARMING PERIOD,
      (NORMALLY UP TO AROUND 180 DEGREES), BUT TENDS TO
      RESOLVE AFTER THE ENGINE IS COMPLETELY WARMED UP.
      THIS TRANSMISSION PROBLEM IS CONTINUOUS AND
      HAPPENS EVERY TIME AFTER THE VEHICLE SITS ALL NIGHT
      OR IF IT HAS SIMPLY SIT FOR A FEW HOURS. IT IS VERY
      APPARENT, OTHER PASSENGERS ASK WHAT IS WRONG
      WITH THE VEHICLE WHEN THEY RIDE IN IT. I BOUGHT THE
      VEHICLE NEW, BUT WHEN I TOOK THE TEST DRIVE IT WAS
      ALREADY WARMED UP. THEREFORE I WAS UNAWARE OF
      THE ISSUES PRESENT. I WENT BACK TO THE SALESMAN TO
      DESCRIBE THE PROBLEM AND WAS INFORMED THIS
      HAPPENS WITH ALL THE 2018 EIGHT SPEED SILVERADO'S HE
      HAS DRIVEN ON THEIR LOT. I LOOKED ON THE INTERNET
      AND FOUND THESE TRANSMISSIONS HAVE A LEARN
      CYCLE, SO I DECIDED TO GIVE IT SOME TIME TO SEE IF WAS
      A LEARNING CURVE WITH THE COMPUTER. IT NEVER
      CLEARED UP. I LATER BROUGHT THE VEHICLE INTO THE
      DEALERSHIP FOR THE INITIAL SERVICE AND DESCRIBED
      WHAT HAD BEEN HAPPENING WITH IT TO THE SERVICE
      DEPARTMENT. I LEFT THE VEHICLE OVERNIGHT SO THE
      TECHNICIAN COULD DRIVE FIRST THING IN THE MORNING
      AND PERFORM AN SERVICES. THE NEXT DAY I WAS CALLED
      AND TOLD MY VEHICLE WAS READY. UPON ARRIVAL I WAS


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      INFORMED THE TECHNICIAN WAS ABLE TO DUPLICATE THE
      PROBLEMS I DESCRIBED, BUT IT WAS NORMAL FOR THE
      EIGHT SPEED TRANSMISSION. HOWEVER, IT BECOMES
      WORSE TO BRING IT BACK IN FOR FURTHER DIAGNOSIS. I
      CALLED GM, THEY ALSO LOOKED INTO THE CASE FOR
      ABOUT A WEEK, THEN CALLED BACK AND STATED THAT IS
      NORMAL FOR THE TRANSMISSION. I BOUGHT THE VEHICLE
      NEW WITH ABOUT 2,500 MILES ON IT, (DEMO), AND HAVE
      HAD IT ONLY A FEW MONTHS. IT CURRENTLY HAS LESS
      THAN 10,000 MILES ON IT.

      148. On April 3, 2019, the following was reported, noting it could be a

“serious safety issue”:

      THE TRANSMISSION SLIPS OR SHUDDER, ALSO HAS FREE
      WHEELED WHEN GOING DOWN HILL AT SLOW SPEEDS,
      ALSO OCCURS IN REVERSE, USUALLY ABOUT 1 TO 2 CAR
      LENGTHS. HAVE RETURNED TO THE DEALER SEVERAL
      TIMES AND BEEN TOLD THAT GM DOES NOT HAVE A
      REMEDY. HAD THE SERVICE RECOMMENDATION OF A
      TRANSMISSION FLUED FLUSH DONE TWICE WITH
      DIFFERENT FLUID INSTALLED WITH NO CHANGE. HAS BEEN
      IN THE DEALERS SHOP FOR 3 WEEKS WITH GM LOOKING AT
      THE PROBLEM, NO SOLUTION IN SIGHT. NO CONFIDENCE
      THAT GM CAN FIX THE PROBLEM. THIS COULD DEVELOP
      INTO A SERIOUS SAFETY ISSUE.

      149. On July 19, 2019, the following was reported as to a 2019 Chevrolet

Silverado:

      8L90 AUTOMATIC TRANSMISSION WILL LURCH FORWARD
      ABRUPTLY WHEN SHIFTING FROM 1-2 GEAR. ALSO, HARD
      SHIFT FROM 1-2 WHEN COLD.

      150. On September 30, 2019, the following was reported:

      TL* THE CONTACT OWNS A 2019 CHEVROLET SILVERADO
      1500. WHEN THE GEAR WAS SHIFTED INTO REVERS AND
      THEN SHIFTED BACK INTO DRIVE, THE BEHICLE JERKED


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      AND LUNGED FORWARD. ON ONE OCCASIONI, THE
      CONTACT NEARLY STRUCK A PEDESTRIAN. THE VEHICLE
      WAS TAKEN TO AN UNKNOWN DEALER FOR DIAGNOSTIC
      TESTING. THE DEALER TEST DROVE VEHICLE AND WAS
      ABLE TO RECREATE THE FAILURE; HOWEVER, THE DEALER
      WAS UNABLE TO RECEIVE A FAILURE CODE. THE CONTACT
      ALSO STATED THAT THE DEALER TEST DROVE ANOTHER
      2019 CHEVROLET SILVERADO 1500 AND WAS ABLE TO
      RECREATE THE SHIFT FAILURE. THE MANUFACTURER WAS
      CONTACTED AND PROVIDED CASE NUMBER: 9-548-7097056.
      THE VEHICLE WAS NOT REPAIRED. THE FAILURE MILEAGE
      WAS 1,200.

      151. On October 31, 2019, the following was reported:

      TV THE CONTACT OWNS A 2019 CHEVROLET SILVERADO
      1500. WHILE DRIVING, THE VEHICLE WOULD SHIFT
      EXTREMELY HARD FROM FIRST INTO SECOND GEAR AND
      LUNGED FORWARD. THERE WERE NO WARNING
      INDICATORS ILLUMINATED. THE CONTACT CALLED
      UFTRING    CHEVROLET        (1860    WASHINGTON     RD,
      WASHINGTON, IL 61571, (309) 444-3151) AND WAS INFORMED
      THAT THE FAILURE WAS A KNOWN ISSUE BY THE
      MANUFACTURER. THE VEHICLE WAS NOT TAKEN TO A
      DEALER OR INDEPENDENT MECHANIC FOR DIAGNOSTIC
      TESTING. THE VEHICLE WAS NOT REPAIRED. THE
      MANUFACTURER WAS MADE AWARE OF THE FAILURE AND
      DID NOT ASSIST. THE FAILURE MILEAGE WAS
      APPROXIMATELY 10,000.

      152. On November 13, 2019, the following was reported:

      TL• THE CONTACT OWNS A 2019 CHEVROLET SILVERADO
      1500. WHILE DRIVING 70 MPH, THE VEHICLE DOWNSHIFTED
      TO 20 MPH. OCCASIONALLY, THE VEHICLE WOULD STOP
      MOVING AND SHUT OFF. ADDITIONALLY, THE VEHICLE
      FAILED TO SHUT OFF AT TIMES. FURTHERMORE, THE
      CHECK ENGINE, ENGINE REDUCED POWER LOW FUEL,
      SERVICE TRAILER BRAKE SYSTEM, SERVICE 4WD, SHIFT TO
      PARK, SERVICE ABS, REDUCED STEERING ASSIST, BACK UP


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      CAMERA. SERVICE ESC, AND REDUCE TRANSMISSION
      FUNCTION WARNING INDICATORS ILLUMINATED. THE
      VEHICLE WAS TAKEN TO DELLENBACH MOTORS (3111 S
      COLLEGE AVE, FORT COLLINS, CO 80525, (970) 226-2438)
      WHERE IT WAS DIAGNOSED THAT THE TRANSMISSION
      CONNECTION FAILED. THE VEHICLE WAS REPAIRED;
      HOWEVER THE FAILURE RECURRED. THE MANUFACTURER
      WAS CONTACTED AND PROVIDED CASE NUMBER: 9-
      5621232945, BUT DID NOT ASSIST THE FAILURE MILEAGE
      WAS 1,800. THE VIN WAS INVALID.

      153. On December 5, 2019, the following was reported:

      WAS DRIVING BACK HOME GOING AROUND 65MPH WHEN
      ALL OF THE SUDDEN IT DOWN SHIFTED AND EVENTUALLY
      LOSE POWER. I PULLED OVER RESTARTED TRUCK AND
      CHECK ENGINE LIGHT TURNED ON AND WOULD NOT SHIFT
      OUT OF FIRST GEAR. I COULD NOT TAKE IT TO THE
      DEALERSHIP THAT DAY AS IT WAS SUNDAY AND WOULD
      HAVE TO WAIT TILL MONDAY. MONDAY 10/14/19 CAME AND
      I TOOK IT TO THE DEALERSHIP. DEALERSHIP HAS STILL NOT
      FIXED THE PROBLEM, THEY HAVE ALREADY REPLACED
      THE PC MODULE, AND VALVE BODY. NOW THEY ARE THEY
      SAYING THEY ARE GOING TO REPLACE THE WIRING
      HARNESS ON IT. I DO HAVE A GM CASE 49-564919828,
      HOWEVER THEY ARE NC HELP AND BASICALLY TELL ME
      THE SAME THING AS THE DEALERSHIP DOES. TRUCK HAS
      BEEN AT THE DEALERSHIP SINCE 10/14/19 AND HAVE STILL
      NOT FIXED IT, TODAYS DAY 12/05/19.

      154. On December 12, 2019, the following was reported:

      ONGOING COMMUNICATION BETWEEN LOCAL DEALER
      AND CHEW/GM EXECUTIVE SUPPORT TEAM TO FIX
      SHUDDER/VIBRATION IS NOT RESOLVED. CHEW STATES
      ‘NORMAL CHARACTERISTIC FOR THIS MODEL VEHICLE,
      2019 SILVERADO 5.3, 8 SPEED. I VEHEMENTLY DISAGREE.
      GM APPROVED TORQUE CONVERTS SWAP AND THEN
      PROBLEM GOT MUCH WORSE. THEY NOW SAY,
      RESOLUTION IS FINAL, THIS IN NORMAL! PLEADED WITH


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      DEALERSHIP GENERAL MGR, TO CONTACT DISTRICT
      SUPERVISORS TO RE-EVALUATE. NOW THEY ARE GOING TO
      RUN PICO TEST AND COMPARATIVE ANALYSIS AGAINST 2
      NEW TRUCK ON THEIR LOT MY TRUCK ONLY HAS 6K MILES
      AND SHOULD SHAKE AND VIBRATE, BUT IT DOES AND
      GETTING WORSE. HARMONIC DISTORTION WITHIN CAB
      GETTING WORSE. SEEMS THE MORE MILES I PUT ON IT, THE
      WORSE IT GETS. AFTER DRAIN AND FLUSH OF
      TRANSMISSION, PER TSB, NOW ALSO HAD DELAYED
      SHIFTING, AND HAVING TO BRAKE HARD WHEN
      DOWNSHIFTING BECAUSE IT WANTS TO LURCH FORWARD.
      FRUSTRATING AT BEST, BUT SAFETY AND RISK OF INJURY
      ARE MY IMMEDIATE CONCERN. NEED HELP!

      155. On May 3, 2020, the following incident was reported as to a 2020

Chevrolet Silverado:

      IT CUT OFF AT A STOP AND AFTER I STOP WITH WITH MY
      FOOT ON THE BRAKES. I FELL BUMP IN THE REAR OF THE
      TRUCK, LIKE I BEEN REAR END AND THE REAR SHAKES.
      SOME THE THE AS WELL. IT CUT OF AFTER I STOP A FEW
      SECONDS AND START RIGHT BACK UP. IN DRIVE WAY IDLES
      ABOUT 15 OR LONGER, IT CUTS OFF. I HAVE TO RESTART IT.
      AND TAKING OFF IN HESITATION AND SOME TIMES
      MOVEMENT IN THE REAR AND UNDER THE TRUCK. BOTH
      STATIONARY AND IN MOTION.

      156. On June 23, 2020, the following incident was reported as to a 2020

Chevrolet Silverado:

      I WAS STOPPED N THE DRIVE THRU AT IN-N-OUT WITH MY
      FOOT ON THE BRAKE AND THE ECO SYSTEM HAD TURNED
      OFF THE MOTOR. IT SPONTANEOUSLY TURNED BACK ON
      WITHOUT ME LIFTING MY FOOT OFF OF THE BRAKE AND
      THE TRANSMISSION ENGAGED AND THE TRUCK
      LAUNCHED FORWARD APPROXIMATELY 12-18 INCHES.
      THIS IS THE SECOND TIME THIS HAS HAPPENED TO ME. IT
      ALSO HAPPENED ONE NIGHT ABOUT 2 MONTHS AGO. THIS


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      COULD HAVE BEEN VERY DANGEROUS, I COULD HAVE HIT
      SOMEONE OR THEIR CAR OR I COULD HAVE EVEN
      RECEIVED WHIPLASH MYSELF. *TR

      157. On August 27, 2020, the following was reported:

      2020 SILVERADO 1500 CUSTOM CREW CAB 4.6L, V6.
      PURCHASED TRUCK ONAUGUST 10, 2020. TOOK IT TO
      DEALER ON AUGUST 17, 2020 BECAUSE OF JERKING
      FORWARD AT LOW SPEED (20-25 MPH) AND REAR BRAKES
      MAKING A DEEP RUBBING SOUND. OF COURSE,
      TECHNICIAN SAID THERE WERE NO PROBLEMS (BECAUSE
      HE COULD NOT DUPLICATE) THE JERKING MOTION. AFTER
      PICKING UP MY TRUCK, I NOTICED THAT THEY DID NOT
      EVEN ADDRESS THE BRAKE ISSUE, NOR DID THE SERVICE
      ADVISOR NOTE IT ON THE FORM.

      158. On October 3, 2020, the following was reported:

      I’M THE OWNER OF A NEWLY BOUGHT (6/5/2020 PURCHASED
      DATE) 2020 GMC CANYON. I TOOK MY TRUCK INTO THE
      DEALERSHIP     AND   COMPLAINED     THAT     I  HAVE
      EXPERIENCED      TRANSMISSION       ISSUES      WHEN
      DOWNSHIFTING OR ACCELERATING. MY MOST COMMON
      ISSUE IS ‘SHUDDERING’ WHEN THE TRUCK ACCELERATES
      AND SUDDEN ‘JERKING’ WHEN DOWNSHIFTING GEARS
      WHEN DRIVING UP AN INCLINE OR EVEN COMING TO A
      COMPLETE STOP. THE DEALERSHIP SAID THEY HAVEN’T
      HAD ANY PROBLEMS WITH THE 2020 CANYONS AND
      UNLESS IT READS A ‘CODE’ THERE’S NOTHING THEY CAN
      DO. GM SAID TELL THE CUSTOMER TO DRIVE IT AND WE
      WILL CALL IF WE GET ANY FURTHER INFORMATION. THIS
      IS A SERIOUS PROBLEM. I WAS DRIVING THE VEHICLE AND
      BECAUSE OF THE SUDDEN JERKING AND TRANSMISSION &
      OR ENGINE ISSUES WITH THE VEHICLE THE RPMS REVED UP
      TO OVER 4500 RPMS AND I WAS STUCK OUT IN THE MIDDLE
      OF A LANE AND COULD NOT GO ANYWHERE. I HAD CARS
      AVOIDING ME SO THAT WAY THEY WOULD NOT HIT ME
      HEAD ON OR ON THE SIDE OF MY TRUCK. THIS IS A SERIOUS
      AND FATAL ACCIDENT WAITING TO HAPPEN AND THE


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      ISSUE IS GM KNOWS ABOUT IT BECAUSE IT HAPPENED
      WITH THEIR 2015- 2019 COLORADO AND CANNON SERIES.
      DESPITE MANY COMPLAINTS AND NUMEROUS LAWSUITS
      ABOUT THESE SERIOUS ISSUES, THERE ARE CURRENTLY NO
      ONGOING INVESTIGATIONS REGARDING TRANSMISSION
      AND ENGINE DEFECTS FOR THESE VEHICLES WITHIN GM
      FOR THE 2020 CANON. I HAVE PAID ALMOST $50,000 FOR A
      VEHICLE THAT SHOULD HAVE A LEMON LAW PUT ON IT
      BECAUSE GM KNOWS THEY ARE PRODUCING BAD
      TRANSMISSION/ENGINES AND NOT DOING ANYTHING
      ABOUT IT. I ASKED GM CORPORATE AND THE LOCAL
      DEALERSHIP WHAT AM I SUPPOSED TO DO WHEN I’M IN
      ANOTHER SITUATION WHERE THE VEHICLE DOES NOT
      WANT TO GET IN GEAR AND IS SHAKING AND SHUTTERING
      AND JERKING AND REVVING UP THE RPMS AND THE NEXT
      TIME. I SAID I PROBABLY WOULDN’T BE SO LUCKY AS TO
      HAVING PEOPLE AVOID ME AND THEN ME AND MY
      DAUGHTER WIND UP IN A HEAD ON COLLISION AND WE
      DON’T MAKE IT OUT ALIVE.

      159. On June 4, 2021, the following incident was reported for a 2020

Chevrolet Silverado:

      Transmission slipped then went limp at 35-40 mph. Truck would not
      accelerate at all. Had towed back to dealership.

      160. On June 9, 2021, the following incident was reported, noting that “GM

knows they have an issue” based on the service manager’s response:

      Wife was headed to town when the truck started bucking and surging
      then leaving her stranded along side the road. NO MIL on until 5 mins
      after the bucking and surging started. called GM and basically said oh
      we will just fix it. Didn’t care since we were able to start it back up and
      drive it home and then have it towed to the retailer next day. Truck has
      6000 miles on the odometer. GM knows they have an issue as Service
      manager explained tech tips they have on this truck.




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      161. On September 2021, a driver reported harsh shifting as “effect[ing]

safety”:

      Upon first start with 6-8 hours of being parked, the first shift from gear
      1 to gear 2 has a massive hesitation that cause all passengers to lurch
      forward. It has not caused in issues for the quiet street we live on but in
      a high traffic area it would effect safety of entering into traffic. This
      issue happens every morning.

                    h.     Chevrolet Colorado

      162. On September 1, 2017, the following incident was reported as to a 2017

Chevrolet Colorado:

      AIR    CONDITIONING      IS   INTERMITTENT/BLOWS
      WARM/EMITS FOG FROM VENTS. THE DEALER SAYS NO FIX
      AVAILABLE YET CITES PER DOC ID:5125499.SAYS
      ENGINEERING IS STUDYING PROBLEM. MINE STOPS
      WORKING-BLOWS WARM WITH IN 1/2 HOUR. ALSO IN
      STOP/GO TRAFFIC THE TRANSMISSION DOWNSHIFTS
      ABRUPTLY AND CAUSES TRUCK TO ACCELERATE
      FORWARD-HAVE TO APPLY BRAKES HARD TO AVOID
      COLLISION. DEALER SAYS CAN NOT REPEAT BUT SHIFTING
      IS CONSISTENTLY ABRUPT AND I HAVE ASKED ABOUT
      SOFTWARE UPDATES TO ALLIEVIATE THIS SAFTY
      CONCERN TO NO AVAIL

      163. Another incident involving a Chevrolet Colorado was reported on

September 13, 2017:

      THE CONTACT OWNS A 2017 CHEVROLET COLORADO.
      WHILE DRIVING AT AN UNKNOWN SPEED, THE VEHICLE
      ACCELERATED AND JERKED. ADDITIONALLY, THE BRAKES
      WERE APPLIED, BUT FAILED TO RESPOND AND THE BRAKE
      PEDAL TRAVELED TO THE FLOORBOARD. IN ADDITION, THE
      CONTACT HEARD AN ABNORMAL SCRATCHING NOISE.
      THERE WERE NO WARNING INDICATORS ILLUMINATED.
      THE VEHICLE WAS TAKEN SEVERAL TIMES TO GILROY


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      CHEVROLET (6720 AUTOMALL CT, GILROY, CA 95020, 408-
      842-9301), BUT THEY WERE UNABLE TO DUPLICATE THE
      BRAKE FAILURE. THE DEALER DIAGNOSED THE
      ACCELERATION FAILURE AS THE FOUR WHEEL DRIVE
      BEING ENGAGED. THE VEHICLE WAS NOT REPAIRED. THE
      MANUFACTURER WAS NOTIFIED AND PROVIDED CASE
      NUMBER: 8-4000-730943. NO FURTHER ASSISTANCE WAS
      PROVIDED. THE FAILURE MILEAGE WAS APPROXIMATELY
      17,759.

      164. Another incident involving a Chevrolet Colorado was reported on

November 1, 2017:

      WHEN AUTOMATIC TRANSMISSION DOWNSHIFTS INTO 1ST
      GEAR COMING TO A STOP, IT LUNGES FORWARD. IF WHEN
      NOSING INTO A PARKING SPACE WITH ANY KIND OF POLE
      OR VEHICLE DIRECTLY IN FRONT OF MY TRUCK, NOT
      LEAVING ENOUGH SPACE MY TRUCK WOULD HIT
      WHATEVER. WHEN DRIVING SLOWLY WITH MY 8 SPEED
      AUTOMATIC TRANSMISSION SOMETIMES IT RATTLES AS IF
      I AM ON A RUMBLE STRIP AND SOMETIMES IT JUST CLUNKS
      OR THUDS. THIS AND OTHER SHIFT ISSUES MAKE ME EVEN
      MORE HYPER VIGILANT WHEN DRIVING. 6 MONTHS AFTER
      I PURCHASED MY BRAND NEW 2017 COLORADO, DURING A
      SPELL OF NEGATIVE DEGREE WEATHER I LOST THE
      FOLLOWING: MY CRUISE CONTROL, TRACTION CONTROL,
      FOUR-WHEEL DRIVE; MY ENGINE LIGHT CAME, OIL LIGHT
      ALL LIGHTS CAME ON AND MY RADIO STOPPED WORKING.
      I WAS TOLD BY MY CHEVY DEALER THAT THIS WAS
      NORMAL IN COLD WEATHER. NEXT, I WAS INFORMED IT
      MUST BE BECAUSE I WASHED MY VEHICLE THE DAY
      BEFORE. THIS WENT ON FOR A FEW MONTHS, WITH ME
      SHOWING THEM VIDEOS AND THEM TELLING ME THEY
      COULD NOT DUPLICATE THE ISSUE. OCTOBER OF 2018 THEY
      REPLACED MY RADIO BECAUSE EVIDENTLY THE RADIO
      HAD A BULLETIN THAT SHOWED ALL OF THE THINGS I HAD
      COMPLAINED ABOUT. I WANT TO SAY THIS HAPPENED IN
      EXCESS OF 10 OR MORE TIMES. DRIVING TO MY MOTHERS
      ONE EVENING IN THE DARK MY DASH LIGHTS WERE NOT


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      DIMMING CORRECTLY AND THEN WENT OUT. AS I GOT TO
      A FOUR WAY INTERSECTION WITH CARS COMING THEY
      CAME ON SO BRIGHTLY I ALMOST GOT IN AN ACCIDENT
      WHICH PROMPTED ME TO MAKE AN APPOINTMENT AND I
      WASN’T WILLING TO HEAR SILLY EXCUSES.

      165. Another incident involving a Chevrolet Colorado was reported on April

9, 2018:

      8 SPEED AUTOMATIC TRANSMISSION - ROUGH SHIFTING,
      USUALLY WHEN DRIVING BETWEEN 40 AND 60 MILES PER
      HOUR. TRUCK INTERMITTENTLY FEELS LIKE IT IS RIDING
      OVER RUMBLE STRIPS. TRANSMISSION SEEMS TO BE
      HUNTING. POSSIBLE ISSUE WITH TORQUE CONVERTER.

      166. Another incident involving a Chevrolet Colorado was reported on April

30, 2018:

      8-SPEED AUTOMATIC TRANSMISSION IN INDECISIVE WHEN
      IT COMES TO SHIFTING BETWEEN LOWER GEARS WHILE
      DRIVING. TRANSMISSION MAKING CLUNKING “THUD”
      SOUND WHEN SHIFTING OUT OF PARK AND INTO REVERSE.
      GEAR HUNTING EXPERIENCED AT LOWER SPEEDS AND
      GEARS WHILE VEHICLE ATTEMPTS SHIFTING.

      167. Another incident involving a Chevrolet Colorado was reported on June

21, 2018:

      8 SPEED TRANSMISSION HAS HARD SHIFT WHEN AT LOW
      SPEEDS AND WHEN GOING INTO REVERSE

      168. Another incident involving a 2017 Chevrolet Colorado was reported on

June 19, 2018:

      WHEN DRIVING AT LOW SPEEDS MY 8 SPEED AUTO
      TRANSMISSION - CLUNKS OR THUDS - SPECIALLY FROM 1ST
      - 2ND - ITS SOUNDS LIKE A BANG - TOOK IT TO DEALER -


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      SAID CHEVY KNOWS ABOUT IT - BUT THERE IS NO FIX
      YET.....GREAT!

      169. Another incident involving a Chevrolet Colorado was reported on June

30, 2018:

      WHEN AUTOMATIC TRANSMISSION DOWNSHIFTS INTO 1ST
      GEAR COMING TO A STOP, IT DOES SO HARSHLY AND
      LUNGES FORWARD. WHEN NOSING INTO A PARKING SPACE
      WITH A CONCRETE WALL AT THE FRONT OF THE PARKING
      SPACE, IF I HAD NOT ALLOWED ENOUGH SPACE FOR THE
      LUNGE, THE VEHICLE WOULD HAVE IMPACTED THE WALL.
      THIS CONDITION, ALONG WITH OTHER TRANSMISSION
      SHIFT IRREGULARITIES, HAPPENS PERIODICALLY AND I
      MUST REMAIN AWARE, ESPECIALLY COMING TO A STOP
      NEAR A CROSS WALK.

      170. Another incident involving a Chevrolet Colorado was reported on July

7, 2018:

      EXPERIENCING    ELECTRICAL   PROBLEMS    CAUSING
      STARTING ISSUES, WHILE DRIVING FAILURES IN DASH
      INDICATOR LIGHS, SPEEDOMETER, TACHOMETER, SHIFT
      CONTROL INDICATOR LIGHTS, AND TRANSMISSION
      CONTROL. LOSS OF POWER TO THE POINT TRUCK ALMOST
      COMES TO A STOP AND THEN SURGES, TWICE IT HAS
      ACCELERATED TRAVELING UP TO 50FT ESTIMATED.

      171. On April 27, 2018, the following incident was reported as to a 2018

Chevrolet Colorado:

      IN MAY 2018 I PURCHASED A NEW CHEVY SILVERADO LT
      Z71 PU. I LIVE IN COLORADO AND WHEN I DRIVE THE
      TRUCK DOWN THE I-70 MOUNTAIN PASS THE
      TRANSMISSION IS DOWNSHIFTED BEYOND WHAT IO
      WOULD CALL A SAFE DOWN SHIFT. IM TRAVELING DOWN
      THE PASS, JUST COASTING, DOWN HILL ASSIST MODE IS OFF
      @ ROUGHLY 55 MPH THE TRANSMISSION DOWN SHIFT


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      HARD. THE RPM GOES FROM ~1850 TO ~3800 RPM. THE
      ENGINE AND TRANSMISSION AND ENGINE BOTH MAKE A
      LOT OF NOISE WHEN THIS HAPPENS. I TRAVELED THE PASS
      ABOUT 8 TIME NOW AND THE TRUCK DOES THIS FUNNY
      SHIFT EVERYTIME AND I HAVE PICTURE SHOWING 4
      EVENTS. I’VE TAKING THE DRIVE INTO THE DEALER AND
      SINCE THE COMPUTER DOESN’T LOG A ERROR CODE THE
      DEALER DOESN’T KNOW WHAT TO DO. THIS PAST WEEK
      THEY GAVE ANOTHER 2018 P/U WITH THE SAME TRANNY
      AND ENGINE AND THAT TRUCK DID NOT DO THE SAME
      DOWNSHIFT. I BELIEVE THERE IS SOMETHING WRONG
      WITH MY TRUCK AND ALSO IF THIS EVENT HAPPENED IN
      THE WINTER ON A SNOWY ROAD THE TRUCK WOULD SPIN
      OUT OF CONTROL AND CAUSE A ACCIDENT AND IS A HUGE
      SAFETY CONCERN. I ALSO FILED A COMPLAINT WITH GM
      BUT THEY ARE REALLY NOT HELP TO RESOLVE THIS
      PROBLEM. THE DEALER LOOKED AT THE TRUCK AGAIN
      TODAY, NO CODES RECORDED, THE RESET THE
      TRANSMISSION MEMORY TODAY TO TRY AND SATISFY MY
      NEED TO DO SOMETHING. I NOW WAITING TO HEAR BACK
      FROM THE DEALER ON THE NEXT STEPS. I WILL ALSO CALL
      GM AGAIN TO GIVE THEM THIS INFORMATION. I AM
      ATTACHING PICTURE THAT CLEARLY SHOW THIS
      PROBLEM. I ALSO GIVEN THE DEALER THE SAME PICTURES.

      172. Another incident involving a Chevrolet Colorado was reported on

October 3, 2018:

      SEVERAL TIMES, WHILE DRIVING RIGHT AROUND 55 MPH,
      THE TRANSMISSION DOWNSHIFTED FOR NO REASON ON
      THRUWAY CONDITIONS. WHEN THIS HAPPENED, IT WAS
      ALMOST LIKE SLAMMING ON THE BRAKES QUICKLY. ON
      ALL OCCASIONS, MY BODY LURCHED FORWARD. IF
      SOMEONE WAS BEHIND ME, I PROBABLY WOULD HAVE
      BEEN REAR ENDED. ON ANOTHER OCCASION, WITH MY SON
      IN THE TRUCK, WE STOPPED AT A RED LIGHT AND THE
      TRANSMISSION CLUNKED SO VIOLENTLY, THAT WE BOTH
      THOUGHT WE WERE REAR ENDED AT FIRST. I DESCRIBED
      THE ISSUE TO MY GM SERVICE SHOP WHO SAID THAT THEY


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      COULDN’T FIND AN ISSUE AND THAT THE CODES WERE ALL
      NORMAL. I WAS ADVISED THAT THE CLUNK AT THE RED
      LIGHT WAS COMMON, AS THE TRANSMISSION HAS TO
      RELIEVE PRESSURE. NO WAY IS THIS NORMAL! I GOT ON
      LINE TO REVIEW FORUMS AND IT APPEARS THIS IS A VERY
      PREVALENT ISSUE. YESTERDAY, I LOST MY TRANSMISSION
      COMPLETELY ON A THRUWAY. I HEARD A LOUD CLUNK
      AND THE RPMS SPIKED. I LEFT THE HIGHWAY ASAP BUT
      COULD NOT GO OVER 30 MPH OR THE RPMS WOULD JUST
      SPIKE WITHOUT MOTION RESPONSE. EXITING THE
      THRUWAY AT THIS SPEED WAS VERY DANGEROUS! EVEN
      WITH HAZARDS ON, DRIVERS SELDOM SLOW DOWN OR
      MOVE OVER, ESPECIALLY 18 WHEELERS. THESE
      TRANSMISSIONS ARE CLEARLY A SAFETY HAZARD.

      173. Another incident involving a Chevrolet Colorado was reported on

November 2, 2018:

      THE EIGHT SPEED AUTOMATIC TRANSMISSION STUTTERS
      AND ACTS LIKE IT DOESN’T KNOW WHAT GEAR TO GO INTO
      UNDER LIGHT TO NORMAL ACCELERATION. THIS OCCURS
      WHILE COLD AND DURING THE WARMING PERIOD,
      (NORMALLY UP TO AROUND 180 DEGREES), BUT TENDS TO
      RESOLVE AFTER THE ENGINE IS COMPLETELY WARMED UP.
      THIS TRANSMISSION PROBLEM IS CONTINUOUS AND
      HAPPENS EVERY TIME AFTER THE VEHICLE SITS ALL NIGHT
      OR IF IT HAS SIMPLY SIT FOR A FEW HOURS. IT IS VERY
      APPARENT, OTHER PASSENGERS ASK WHAT IS WRONG
      WITH THE VEHICLE WHEN THEY RIDE IN IT. I BOUGHT THE
      VEHICLE NEW, BUT WHEN I TOOK THE TEST DRIVE IT WAS
      ALREADY WARMED UP. THEREFORE I WAS UNAWARE OF
      THE ISSUES PRESENT. I WENT BACK TO THE SALESMAN TO
      DESCRIBE THE PROBLEM AND WAS INFORMED THIS
      HAPPENS WITH ALL THE 2018 EIGHT SPEED SILVERADO’S
      HE HAS DRIVEN ON THEIR LOT. I LOOKED ON THE
      INTERNET AND FOUND THESE TRANSMISSIONS HAVE A
      LEARN CYCLE, SO I DECIDED TO GIVE IT SOME TIME TO SEE
      IF WAS A LEARNING CURVE WITH THE COMPUTER. IT
      NEVER CLEARED UP. I LATER BROUGHT THE VEHICLE INTO


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      THE DEALERSHIP FOR THE INITIAL SERVICE AND
      DESCRIBED WHAT HAD BEEN HAPPENING WITH IT TO THE
      SERVICE DEPARTMENT. I LEFT THE VEHICLE OVERNIGHT
      SO THE TECHNICIAN COULD DRIVE FIRST THING IN THE
      MORNING AND PERFORM AN SERVICES. THE NEXT DAY I
      WAS CALLED AND TOLD MY VEHICLE WAS READY. UPON
      ARRIVAL I WAS INFORMED THE TECHNICIAN WAS ABLE TO
      DUPLICATE THE PROBLEMS I DESCRIBED, BUT IT WAS
      NORMAL FOR THE EIGHT SPEED TRANSMISSION.
      HOWEVER, IT BECOMES WORSE TO BRING IT BACK IN FOR
      FURTHER DIAGNOSIS. I CALLED GM, THEY ALSO LOOKED
      INTO THE CASE FOR ABOUT A WEEK, THEN CALLED BACK
      AND STATED THAT IS NORMAL FOR THE TRANSMISSION. I
      BOUGHT THE VEHICLE NEW WITH ABOUT 2,500 MILES ON
      IT, (DEMO), AND HAVE HAD IT ONLY A FEW MONTHS. IT
      CURRENTLY HAS LESS THAN 10,000 MILES ON IT.

      174. Another incident involving a 2018 Chevrolet Colorado was reported on

November 16, 2018:

      I HAVE A 2018 CHEVROLET COLORADO LT 4WD CREW CAB.
      MULTIPLE TIMES ON A COLD START THE ENGINE IS
      MISFIRING. THE CHECK ENGINE LIKE COMES ON, THE VSA,
      AND T/C LIGHTS ALL COME ON AND A NOTIFICATION ON
      THE DASH SAYING STABILITRAK IS DISABLED. THE
      VEHICLE SHAKES TERRIBLY. THE CHECK ENGINE LIGHT
      WILL FLASH AND THEN GO SOLID. I AM AN AUTOMOTIVE
      TECHNICIAN. I KNOW THAT A MISFIRE SHOULD SET A HARD
      DTC. WHEN THE VEHICLE IS TURNED OFF AND STARTED
      SEVERAL HOURS LATER THERE IS NO CHECK ENGINE LIGHT
      OR ANY OTHER LIGHT ON. THE DEALERSHIP IN
      MARYSVILLE, OH HAD MY TRUCK FOR 3 DAYS AND TOLD
      ME THEY CLEANED A BUNCH OF TERMINALS AT SEVERAL
      CONNECTORS. WHATEVER THAT IS SUPPOSED TO DO. THEY
      SAID THEY STARTED THE VEHICLE SEVERAL TIMES AFTER
      AND EVERYTHING WAS GOOD. THE NEXT DAY AFTER I
      PICKED THE TRUCK UP, IT DID THE SAME EXACT THING!
      EXTREMELY FRUSTRATING! I KNOW A CONTINUOUS
      MISFIRE LET’S UNBURNED FUEL INTO THE CATALYTIC


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      CONVERTER WHICH LEADS TO PREMATURE BREAKDOWN
      OF THE CATALYST. SO MY QUESTION IS WHAT IS BEING
      DONE ABOUT THESE ISSUES? ANOTHER ISSUE IS WITH THE
      TRANSMISSION. ON A COLD START THERE IS A CLUNK
      NOISE. THEN WHEN YOU ARE DRIVING AT CRUISING SPEED
      AND YOU LET OFF THE THROTTLE AND DEPRESS THROTTLE
      AGAIN THERE IS A SHUDDER. ALSO, WHEN YOU COME TO A
      COMPLETE STOP THE VEHICLE TRIES TO JOLT FORWARD.
      THIS IS EXTREMELY CONCERNING ESPECIALLY ON A
      VEHICLE WITH ROUGHLY 18,000 MILES ON IT. THIS NEEDS
      TO BE ADDRESSED PROMPTLY!!

      175. On March 21, 2019, the following was reported as to a 2019

Chevrolet Colorado:

      VEHICLE TRANSMISSION SEEMS TO LATE DOWN SHIFT
      WHEN SLOWING, CAUSING THE VEHICLE TO JUMP
      FORWARD ONCE SHIFTING HAS COMPLETED.

      176. On June 12, 2019, the following was reported:

      LATE DOWN SHIFT … SHIFTS HARD… VEHICLE LURCHES
      FORWARD ON A STOP

      177. On July 15, 2019, the following was reported:

      I EXPERIENCE HARSH SHIFTS FROM 1.2 GEAR AND WHEN
      DOWNSHIFTING 2-1. IT JOLTS THE WHOLE TRUCK IT
      SOMETIMES RANDOMLY DOWNSHIFTS FOR NO REASON
      WHEN I DRIVING ON THE HIGHWAY I AM AFRAID THAT
      SOMETHING IS GOING TO FAIL IN THE DRIVETRAIN WHEN
      IM DRIVING.

      178. On December 31, 2020, the following was reported as to a 2020

Chevrolet Colorado:

      THE VEHICLE IS EXPERIENCING A SHAKE AND/OR
      SHUDDER DURING LIGHT THROTTLE ACCELERATION
      BETWEEN 25 AND 80 MPH STEADY STATE DRIVING WHEN


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      TRANSMISSION IS NOT ACTIVELY SHIFTING GEARS. THE
      CONDITION IS AS IF I WERE DRIVING OVER RUMBLE STRIPS.
      TSB 18-NA-355 ADDRESSES THIS ISSUE IN 2017 - 2019 CHEVY
      COLORADO PICKUP TRUCKS WITH THE 8 SPEED
      TRANSMISSION. THE 2020 MODEL SHOULD BE ADDED AS IT
      DOES NOT APPEARED TO BE FIXED AT THIS TIME. I
      PURCHASED THIS VEHICLE BRAND NEW FROM THE
      FACTORY WITH ONLY 5 MILES ON IT. THE SHUDDER ISSUE
      HAS BEEN PERSISTENT FROM THE VERY FIRST DAY I
      DROVE IT.

      179. On August 12, 2021, the following “scary and unsafe situation” was

reported as to a 2021 Chevrolet Colorado:

      I purchased a brand new Colorado earlier this year. The vehicle
      currently has about 9,000 miles on the odometer. On two recent
      occasions within 1 1/2 weeks of each other while driving at highway
      speeds, there was a clunk noise and the transmission acted as if it had
      been shifted into neutral. The truck would not accelerate, and the RPMs
      were very high as I was pushing the accelerator and the vehicle was not
      responding but the engine was revving. This was an extremely scary
      and unsafe situation as cars were behind me and I narrowly avoided
      being hit as I tried to get over to the side of the road without any ability
      to accelerate. The first time it happened, after placing the vehicle in
      park and waiting a few minutes, I was able to get it back into gear and
      I drove straight to the dealer. The dealer “was unable to replicate the
      problem” and told me it was probably just a one-time “glitch.”
      Approximately 1 1/2 weeks later, it happened again. I took it back to
      the dealer. The dealer stated that the computer showed error codes
      P0700 and P2817, both of which are faulty transmission codes. The
      dealer stated that the technician cleared the codes, drove the vehicle,
      and was once again “unable to replicate the problem.” The dealer stated
      that it was going to request assistance from Chevy’s engineers because
      it could not figure out what was wrong with the vehicle. I don’t believe
      the vehicle is safe to drive at this point, as I narrowly avoided being in
      an accident on two occasions within 1 1/2 weeks of each other due to
      the failure of the vehicle’s transmission to work appropriately.




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                     i.    GMC Sierra

        180. On January 28, 2015, the following incident was reported as to a 2015

GMC Sierra:

        I HAD MADE A COMPLAINT TO CHAPDELAINE BUICK- GMC
        THAT MY BRAND NEW TRUCK DID NOT SEEM TO GO INTO
        FOUR WHEEL DRIVE. I WAS TOLD TO BRING THE TRUCK TO
        THE DEALERSHIP AND THEY WOULD CHECK IT FOR ME. I
        WAS TOLD BY THE SERVICE DEPARTMENT THAT THE
        TRUCK WORKED JUST FINE IN FOUR WHEEL DRIVE. I THEN
        NOTICED THAT THE TRUCK SEEM TO SHIFT VERY ROUGH
        AND I CALLED THE SERVICE DEPARTMENT AND TOLD
        THEM THAT SOMETHING HAD TO BE WRONG. THE SERVICE
        DEPARTMENT ASKED ME TO BRING THE TRUCK BACK
        DOWN TO THEM THE NEXT DAY AND THEY WOULD TAKE
        IT FOR A TEST DRIVE. WHILE I WAS DRIVING THE TRUCK TO
        THE DEALERSHIP IT SHIFTED FROM DRIVE INTO NEUTRAL.I
        COASTED TO A STOP PUT THE VEHICLE INTO PARK SHUT
        OFF AND RESTARTED THE ENGINE AND THEN SHIFTED
        BACK INTO DRIVE AND TRIED TO DRIVE AGAIN. THIS TIME
        THE VEHICLE SERVICE ENGINE LIGHT CAME ON AND THE
        VEHICLE STAYED IN LOW GEAR AND WOULD NOT SHIFT
        INTO A HIGHER GEAR. THE BEST SPEED I COULD MAKE WAS
        10 MPH. I STOPPED THE VEHICLE AND RESTARTED TWO
        MORE TIMES. ON THE SECOND TRY THE VEHICLE DID GO
        INTO DRIVE. I MADE IT TO THE DEALERSHIP AND THEY
        TOOK IT FOR A TEST DRIVE AND UPON THEIR RETURN
        GAVE ME A LOANER VEHICLE. THEY HAD TO REBUILD THE
        TRANSMISSION ON MY BRAND NEW TRUCK WHICH TOOK
        ABOUT THREE DAYS. THANKFULLY THIS EVENT TOOK
        PLACE ON A BACK ROAD WITH LITTLE TRAFFIC. IF IT HAD
        HAPPENED ON A BUSY ROAD AN ACCIDENT MIGHT HAVE
        OCCURRED. *TR

        181. Another incident involving a GMC Sierra was reported on August 7,

2015:




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        THE CONTACT OWNS A 2015 GMC SIERRA. THE CONTACT
        STATED THAT WHILE DRIVING AT VARIOUS SPEEDS, THE
        TRANSMISSION VIBRATED CAUSING A HESITATION WHEN
        THE GEARS SHIFTED. THE CONTACT MENTIONED THAT THE
        FAILURE WAS MOST SEVERE WHILE DRIVING AT SPEEDS
        BETWEEN 40-50 MPH. THE VEHICLE WAS TAKEN TO A
        DEALER WHO CHANGED THE GEAR RATIO AND ADJUSTED
        THE REAR END. THE VEHICLE WAS REPAIRED, BUT THE
        FAILURE RECURRED. THE MANUFACTURER WAS NOTIFIED
        OF THE FAILURE. THE FAILURE MILEAGE WAS 250.

        182. Another incident involving a 2015 GMC Sierra was reported on

November 3, 2015:

        THE TRANSMISSION SEEMS TO SLIP OR HESITATE AT
        TAKEOFF. THE RUNNING LIGHTS ARE TOO DIM TO SEE
        DOWN THE ROAD.

        183. Another incident involving a GMC Sierra was reported on July 22,

2016:

        2015 GMC SIERRA HAS A DELAY THROTTLE RESPONSE.
        DOES IT AT ALL SPEEDS AND FROM TAKE OFF. TOOK TO
        DEALER AND SERVICE ADVISOR PULLED TRUCK IN SHOP.
        GOT OUT AND SAID IT DOES HAVE A DELAY. THE RAN VIN
        NUMBER THROUGH GMC DATA BASE AND TOLD ME.
        MANUFACTURE SAID IT WAS A NORMAL THING. IT’S NOT
        NORMAL AND NEVER HAD A VEHICLE WITH A THROTTLE
        DELAY.

        184. Another incident involving a 2015 GMC Sierra was reported on July

25, 2016:

        DELAYED ENGAGEMENT IN DRIVE, TRANSMISSION
        CLUNKS, RPM FLARES AND TRUCK QUITS MOVING
        UNEXPECTEDLY. SHUDDER AT 3- 50 MPH, VIBRATES
        STEERING WHEEL AND LEAVES AN UNEASY FEELING THE
        TRUCK IS GOING TO QUIT MOVING.


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      185. Another incident involving a GMC Sierra was reported on September

10, 2016:

      FIRST OF ALL THE HEADLIGHTS ARE VERY DIM AND AT
      NIGHT CANNOT SEE NOTHING.DEALER SAID IT IS WHAT IS
      .VERY BAD !! ALSO MY SIERRA ON WINDOW STICKER
      STATES COMES WITH ALL TERRAIN TIRES IT DOES NOT
      HAVE ALL TERRAIN TIRES . THEY ARE 265/65/R18
      GOODYEAR WRANGLER SRA .I WORKED FOR GOODYEAR
      AND THOSE TIRES ARE ALL SEASON !!! NOT ALL TERRAIN
      AS SPECIFIED ON WINDOW STICKER !! I TALKED TO DEALER
      AND CALLED CUSTOMER SERVICE AT GM THEY NEVER
      CALL BACK AND THEY SAID THOSE ARE THE RIGHT
      TIRES.THEY ARE NOT ACCORDING TO MY ATTORNEY WHO
      STATES THE WINDOW STICKER IS TOTALLY INCORRECT
      AND IS FRAUDULENT CHECK YOUR TIRES AND WINDOW
      STICKERS AND COMPARE AND LOOK ON GOODYEARS
      WEBSITE YOU WILL SEE.ALSO MY TRANSMISSION CLUNKS
      AND KNOCKS AND SHIFTS INCORRECTLY DEALER STATES
      ITS NORMAL I SPEND 40K ON A NEW TRUCK AND ALL I
      HAVE ARE PROBLEMS AND GM DOES NOTHING. IT
      DOWNSHIFTS HORRIBLE WHAT CAN I DO???

      186. Another incident involving a GMC Sierra was reported on December

2, 2016:

      TL* THE CONTACT OWNS A 2015 GMC SIERRA 1500. WHILE
      DRIVING VARIOUS SPEEDS, THE TRANSMISSION VIBRATED
      AND CAUSED A HESITATION WHEN THE GEARS SHIFTED
      WITHOUT WARNING. THE VEHICLE WAS TAKEN TO THE
      DEALER AND REPAIRED; HOWEVER, THE FAILURE
      RECURRED SEVERAL TIMES. THE MANUFACTURER WAS
      MADE AWARE OF THE FAILURE. THE FAILURE MILEAGE
      WAS 50.

      187. Another incident involving a 2015 GMC Sierra was reported on

December 8, 2016:


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      EXTREME LAG/DELAY- HARSH ENGAGEMENT WHEN
      SHIFTING FROM PARK TO REVERSE. ITS LIKE YOU ARE
      BACKING INTO SOMETHING? WHEN CRUISING 28-32 MPH
      AND RELEASING ACCELERATOR(AS IF YOU WERE
      COASTING INTO A TURN) WHEN SLOWING THE VEHICLE
      SEEMS TO SHIFT UP AND LUNGE ENTERING THE TURN.

      CLUNKS AND SHIFTS HARD WHEN CRUISING NORMALLY
      WHEN YOU HAVE TO RELEASE THE GAS PEDAL AND
      SLIGHTLY REACCELERATE, CAUSING THE DRIVER TO
      HESITATE.

      VEHICLE SHUTTERS AND HARD ACCEL 10X WORSE WHEN
      TOWING A 7000 # TRAILER (TRUCK IS RATED OVER 12,000
      LBS. TOWING).

      188. The following incident was reported on March 21, 2016 as to a 2016

GMC Sierra:

      WHILE DRIVING MY TRUCK, IT HAS HAD 3 ALERTS ON DASH
      FOR “SERVICE STABILITRAK, POWER STEERING USE
      CAUTION AND TRAILER BRAKE.” VEHICLE GAUGES ALL
      DROP TO ZERO WHILE OPERATING VEHICLE AND GO ON
      AND OFF. THE VEHICLE WHEN THIS OCCURS ALSO
      DISENGAGES FROM GEAR, VEHICLE IS AN AUTOMATIC.
      THEN ENGINE REVS UP WHEN IT SLIPS OUT OF GEAR AND
      GENERALLY GOES BACK IN GEAR AS GAUGES COME BACK
      ON. THE POWER STEERING SEEMS TO ALSO LOSE SOME
      POWER. WHEN THIS OCCURS, IF YOU DEPRESS THE GAS
      PEDAL, YOU DO NOT GET ANY MORE POWER. THIS IS
      TECHNICALLY THE 6TH OCCURRENCE. IT HAS BEEN BACK
      TO DEALER (GRIFFIN GMC OF MONROE, NC) AND
      COMPUTER CODES WERE CLEARED AND NOTHING
      REPORTED IE...TECHNICALLY FOUND THAT WOULD CAUSE
      THIS ISSUE PER THE DEALERSHIP AS UNABLE TO RE-
      PRODUCE THE CAUSE. I RETURNED THE TRUCK TODAY
      AFTER THIS 6TH OCCURRENCE DUE TO MY FEAR OF
      DRIVING THE VEHICLE WITH MY CHILDREN AND GETTING
      INVOLVED IN AN ACCIDENT. I HAVE VIDEO OF THIS LAST
      OCCURRENCE OF DASHBOARD GAUGES AND SHARED


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      THEM WITH THE DEALERSHIP. FIRST OCCURRENCE
      PICTURES ARE FEB 29, 2016 AND SUNDAY, MARCH 20, 2016.
      VEHICLE HAS APPROXIMATELY 2000 MILES ON ODOMETER.
      ENTIRE TIME, VEHICLE HAS BEEN RUNNING ON LOCAL
      ROAD, EITHER AT STOP OR DRIVING BELOW 45MPH
      MOVING STRAIGHT AHEAD. I COULD NOT REPLICATE OR
      CAUSE THE ISSUE TO HAPPEN AGAIN ON PURPOSE, VERY
      RANDOM.

      189. Another incident involving a GMC Sierra was reported on September

8, 2016:

      TL* THE CONTACT OWNS A 2016 GMC SIERRA 1500. WHEN
      THE SHIFTER WAS ENGAGED, THE VEHICLE DID NOT
      REGISTER THE CORRECT GEAR AND FAILED TO MOVE.
      WHEN THE VEHICLE DID RECOGNIZE THE CORRECT GEAR,
      IT ACCELERATED UNINTENTIONALLY. THE VEHICLE WAS
      TAKEN TO THE DEALER WHERE IT WAS DIAGNOSED THAT
      THE TRANSMISSION WAS DEFECTIVE AND PARTS IN THE
      TRANSMISSION NEEDED TO BE REPLACED. THE VEHICLE
      WAS REPAIRED; HOWEVER, THE FAILURE RECURRED. THE
      VEHICLE WAS RETURNED TO THE DEALER WHERE IT WAS
      DIAGNOSED THAT THE TRANSMISSION NEEDED TO BE
      REPLACED. THE VEHICLE WAS NOT REPAIRED. THE
      MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE
      FAILURE MILEAGE WAS APPROXIMATELY 150. UPDATED
      10/18/16*LJ

      190. Another incident involving a GMC Sierra was reported on May 3, 2017:

      GM 8 SPEED TRANSMISSION IS FULL OF PROBLEM. IT
      CONSTANTLY HESITATES, HANG GEARS, BUCKS, AND
      POSES VARIOUS SAFETY CONCERNS. FOR INSTANCE IF
      MERGING ONTO THE HIGHWAY THE TRANSMISSION WILL
      HESITATE AND THE TRUCK WILL BE UNRESPONSIVE TO
      GAS PEDAL INPUT FOR A PERIOD OF TIME SOMETIMES UP
      TO 12 SECS. THIS HESITATION CAUSES A SAFETY CONCERN
      WHEN ATTEMPTING TO MERGE INTO TRAFFIC. GM
      ACKNOWLEDGES THESE CONCERNS BUT STATES THAT IT IS


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        OPERATING AS DESIGNED BUT ARE WORKING ON
        SOFTWARE UPDATES TO IMPROVE TRANSMISSION
        PERFORMANCE. THIS HAS BEEN A CONSTANT ISSUE SINCE
        I PURCHASED THE TRUCK.

        191. Another incident involving a GMC Sierra was reported on May 4, 2017:

        8 SPEED TRANSMISSION BUCKS, HESITATES, LURCHES
        FORWARD, CLUNKS, WHILE IN DRIVE. THE CONTINENTAL
        TIRES ARE CUPPING, WHICH GM SAYS IS CHARACTERISTIC
        OF THE BRAND. THE TRUCK VIBRATES WHILE AT 25MPH,
        AROUND 50MPHM AND 65-75MPH. WHILE IN AWD/4WD AT 30
        AND 50MPH, THE DRIVELINE MAKES A WHINING NOISE AND
        VIBRATES SOMETIMES.

        192. Another incident involving a GMC Sierra was reported on September

15, 2017:

        THIS ISSUE STARTED A FEW MONTHS AFTER I PURCHASED
        THE TRUCK TOOK IT TO TWO DEALERS THEY SAY ITS
        NORMAL. CALLED GMC & THEY HAVE NO RECALL. WHEN
        DRIVING THE TRUCK & HAVE TO SLOW DOWN IN TRAFFIC
        THE AUTOMATIC TRANSMISSION DOWN SHIFTS & HAS A
        VERY NOTICABLE JERK. WILL ACTUALLY JERK THE HOLE
        TRUCK. PEOPLE WHO HAVE RODE WITH ME TELL ME I HAVE
        A TRANSMISSION PROBLEM. WHAT CAN I DO

        193. Another incident involving a GMC Sierra was reported on March 20,

2018:

        PLEASE MAKE GM RESOLVE THE ISSUES WITH THE 8 SPEED
        TRANSMISSIONS IN THE TRUCKS. 2016 SL T Z71. I
        PURCHASED THE TRUCK NEW. IT’S NEVER SHIFTED
        PROPERLY. HESITATIONS, CLUNKING, JERKING, SHUTTER,
        HARD DOWN SHIFTS .... EVERYTIME I TAKE IT IN, THEY SAY
        IT’S DUE FOR AN UPDATE. THE TRUCK HAS HAD 4 UPDATES
        AND NONE OF THEM HAVE FIXED A THING. I HAD IT IN
        BEFORE THE 36,000 MILE BUMPER TO BUMPER WARRANTY
        WAS UP AND WAS TOLD IT WAS UP TO DATE. THEN LAST


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        WEEK, I TOOK IT IN AND WAS TOLD IT WAS “SEVERAL
        UPDATES BEHIND.“ (54,XXX) MILES. TO TOP IT OFF,
        GENERAL MOTORS WOULDN’T PAY FOR THE $400 UPDATE,
        WHICH DIDN’T FIX ANYTHING AT ALL!!! THE TRUCK
        JERKED BEFORE WE GOT A BLOCK FROM THE DEALERSHIP.
        GM SAYS THAT EVEN THOUGH THE TRUCK IS STILL UNDER
        A FACTORY 60,000 MILE POWERTRAIN WARRANTY,
        TRANSMISSION UPDATES ARENT COVERED. THE 120,000
        EXTENDED WARRANTY WOULDN’T COVER IT BECAUSE
        THEY SAY IT SHOULD BE COVERED UNDER THE FACTORY
        POWERTRAIN WARRANTY! I ABSOLUTELY LOVE THE
        TRUCK OTHER THAN THE JUNK TRANSMISSION IN IT. I
        DON’T THINK IT’S SAFE OR MUCH FUN HAVING A VEHICLE
        THAT STARTS TO GO THEN FALLS FLAT ON ITS FACE FOR A
        FEW SECONDS BEFORE SLAMMING INTO THE NEXT GEAR.
        THIS IS A MAJOR PROBLEM WITH A HUGE NUMBER OF
        TRUCKS. DON’T BELIEVE ME? GOOGLE “2016 SIERRA
        TRANSMISSION ISSUE” OR ANYTHING OF THE SORT.
        YOU’LL SEE. I’M REALLY NOT ASKING FOR MUCH. I DIDN’T
        WANT TO PUT MY FAMILY IN A POTENTIALLY UNSAFE
        VEHICLE ..... YET HERE WE ARE. LIKE I SAID, l’M NOT
        ASKING FOR MUCH. ALL I WANT IS FOR MY TRUCK TO SHIFT
        NORMAL. TO GO WHEN IT NEEDS OR HAS TO. MY TRUCK
        HAS HAD 4 UPDATES AND WAS SEVERAL UPDATES BEHIND
        LAST TIME, THAT’S ROUGHLY AN UPDATE EVERY 10,000
        MILES AND NOW THEY’RE NOT COVERED? ON TWO
        SEPARATE OCCASIONS, IT’S SHIFTED SO HARD THAT IT
        JARRED MY NECK AND MADE IT SORE FOR A FEW DAYS IVE
        EVEN PULLED OVER ON THE SIDE OF THE ROAD THINKING
        WE WERE REAR-ENDED. SO HAS MY WIFE. NOT SAFE-NOT
        NECESSARY!

        194. Another incident involving a GMC Sierra was reported on July 30,

2018:

        TRUCK SHIFTS REALLY HARD AND IS UNPREDICTABLE. I
        ALMOST DROVE THROUGH MY GARAGE DOOR THE OTHER
        DAY SHIFTING TO DRIVE FROM REVERSE. TRUCK WILL
        LUNGE FORWARD OR DELAY IN SHIFTING. THERE HAVE


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        BEEN A FEW TIMES IVE HAD TO SLAM ON THE BRAKES
        BEFORE I BACKED INTO SOMETHING. I HAVE BROUGHT IT
        IN 3-4 TIMES FOR THE ISSUE AND GMC WONT REMEDY THE
        PROBLEM.

        195. Another incident involving a GMC Sierra was reported on August 8,

2018:

        8 SPEED TRANSMISSION BUCKS, HESITATES, LURCHES
        FORWARD, CLUNKS, WHILE STARTUNG ACCELERATION OR
        COMING TO A STOP. I TRY TO KEEP A BIG GAP BETWEEN MY
        TRUCK AND CARS IN FRONT OF ME AT STOP SIGNS
        BECAUSE IT RANDOMLY LURCHES FORWARD AND I
        ALMOST HAVE BUMPED CARS IN FRONT OF ME. I HAVE HAD
        THE TRUCK INTO THE DEALER SO MANU TIMES TO FIX THE
        VIBRATION ISSUES AS WELL, THEY SAID 3 TIRES THAT
        CAME IN THE BRAND NEW TRUCK WERE DEFECTIVE SO I
        HAD TO REPLACE THEM ALL AND THE SHAKE IS STILL
        THERE, THE BALANCED, REBALANCED, ROAD FORCE
        BALANCE AND NOTHING WORKS. LAST TIME AT THE
        DEALER SAID IT IS PROBABLY THE TIRES, HE SAID DON’T
        ROTATE THEM AGAIN AND WHEN THEY WEAR OUT HE
        WILL PUT ME IN A BETTER TIRE. I AM PAST MY WARRANTY
        SO THE DEALER SAYS ANY COSTS ARE MY RESPONSIBILITT,
        IF THE NHTSA COULD PLEASE STEP IN TO ASSIST US TO
        MAKE GM FIC THEAE VEHICLES WHICH ARE A SAFETY
        HAZARD.

        196. Another incident involving a GMC Sierra was reported on September

21, 2018:

        TRANSMISSION - WHEN DRIVING THE VEHICLE IT DOES A
        HARD SHIFT WHEN ACCELERATING AND DECELERATING. I
        HAVE TAKEN THE VEHICLE INTO THE DEALER TWICE. THEY
        ARE SAYING THAT IS A “STATE OF THE ART” COMPUTER
        THAT NEEDS TO BE RESET!!! I AM TAKING IT BACK IN FOR
        A 3RD TIME. THE CARE IS 2 YEARS OLD WITH 31 K MILES.




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        197. Another incident involving a GMC Sierra was reported on October 27,

2018:

        TRANSMISSION   SHIFTS  ABRUPTLY    AND   TORQUE
        CONVERTER CAUSES SHUDDER AT HIGHWAY SPEEDS.
        TRUCK HAS BEEN SERVICED TWICE FOR THE SAME ISSUE
        BY DEALER AND DEALER RECENTLY TOLD ME PROBLEM IS
        UNRESOLVABLE.

        198. Another incident involving a GMC Sierra was reported on November

6, 2018:

        THE CONTACT OWNS A 2016 GMC SIERRA 1500. WHILE
        DRIVING 65 MPH IN STOP AND GO TRAFFIC, THE CONTACT
        DETECTED A SHUTTER AND HEARD AN ABNORMAL NOISE
        WHEN SHIFTING GEARS. THE VEHICLE WAS TAKEN TO
        MARTY’S BUICK GMC … WHERE THE TRANSMISSION WAS
        REPROGRAMMED AND FLUSHED. THE VEHICLE WAS THEN
        TAKEN TO BEST CHEVROLET . . . WHERE THE CONTACT WAS
        INFORMED THAT THE CAUSE OF THE FAILURE COULD NOT
        BE DETERMINED. THE VEHICLE WAS NOT REPAIRED. THE
        MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE
        FAILURE MILEAGE WAS 96,794.

        199. An incident involving a 2017 GMC Sierra was reported on July 20,

2017:

        THE CONTACT OWNS A 2017 GMC SIERRA 1500. WHILE
        DRIVING 30 MPH, THE TRANSMISSION FAILED AFTER A
        COMPLETE STOP. WHEN THE ACCELERATOR PEDAL WAS
        DEPRESSED, THE RPMS INCREASED. WHEN SHIFTING FROM
        SECOND TO FIRST GEAR, THE TRANSMISSION SHIFTED INTO
        FIRST GEAR WITH EXTREME FORCE AND CAUSED THE
        VEHICLE TO ABRUPTLY ACCELERATE. THE CONTACT HAD
        TO ENGAGE THE BRAKE PEDAL WITH FORCE TO AVOID A
        CRASH. THE FAILURE WAS EXPERIENCED NUMEROUS
        TIMES. THE VEHICLE WAS TAKEN TO WALSH CHEVY BUICK


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        GMC (2330 NORTH BLOOMINGTON STREET, STREATOR, IL,
        61364 815-673-4333) WHERE THE TRANSMISSION SYSTEM
        WAS REPROGRAMMED TWICE AND THE ELECTRONIC
        CONTROL MODULE WAS REPLACED. HOWEVER, THE
        FAILURE WAS NOT CORRECTED. THE MANUFACTURER WAS
        NOTIFIED. THE FAILURE MILEAGE WAS 112. UPDATED
        08/30/17*LJ

        200. Another incident involving a GMC Sierra was reported on July 27,

2017:

        THE CONTACT OWNS A 2017 GMC SIERRA. WHILE DRIVING
        APPROXIMATELY 5 MPH, THE VEHICLE FAILED TO SHIFT
        OUT OF GEAR AND THERE WAS A DELAY OF THREE TO
        FOUR SECONDS BEFORE SHIFTING INTO SECOND GEAR. THE
        FAILURE RECURRED EVERY MORNING. THE VEHICLE WAS
        TAKEN TO THE DEALER (JIM CAUSLEY, LOCATED AT 38111
        GRATIOT AVE, CLINTON TOWNSHIP, MI 48036) WHERE IT
        WAS CONFIRMED THAT GM WAS AWARE OF THE ISSUE. THE
        VEHICLE WAS NOT DIAGNOSED OR REPAIRED. THE
        MANUFACTURER WAS NOTIFIED OF THE FAILURE AND
        INFORMED THE CONTACT THAT THERE WAS NO RECALL ON
        HIS VIN. NO FURTHER ASSISTANCE WAS OFFERED. THE
        APPROXIMATE FAILURE MILEAGE WAS 4,500. UPDATED
        11/13/17 *BF

        201. Another incident involving a GMC Sierra was reported on October 17,

2017:

        UNINTENDED ACCELERATION – WHEN SLOWING DOWN TO
        COME TO A STOP THE VEHICLE WILL OCCASIONALLY
        ENGAGE A LOWER GEAR VERY SUDDENLY AND LURCH
        FORWARD. THE RESULTING FORCE IS ENOUGH TO
        OVERPOWER THE BRAKING EFFORT BEING PROVIDED BY
        THE DRIVER AND THE VEHICLE WILL MOVE FORWARD
        SEVERAL FEET BEFORE THE DRIVER CAN REACT AND
        APPLY MORE BRAKING FORCE TO STOP THE VEHICLE. THE
        ISSUE OCCURS RANDOMLY AND INFREQUENTLY AT VERY


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        SLOW SPEEDS (5-10MPH). THERE HAVE BEEN SEVERAL
        OCCASIONS WHERE I’VE BEEN BRAKING TO STOP AT A
        STOP LIGHT AND BEEN FORCED INTO THE MIDDLE OF AN
        INTERSECTION. I’M CONCERNED THE ISSUE COULD CAUSE
        THE VEHICLE TO STRIKE THE CAR IN FRONT OF IT OR A
        PEDESTRIAN CROSSING IN FRONT OF THE VEHICLE AS IT
        STOPS FOR A CROSSWALK. MULTIPLE UNSUCCESSFUL
        REPAIR ATTEMPTS HAVE BEEN MADE BY THE DEALER. I
        ATTEMPTED TO FORCE THE MANUFACTURER TO BUY THE
        VEHICLE BACK FROM ME THROUGH THE MASSACHUSETTS
        LEMON LAW AND SINCE THAT TIME THEY HAVE DENIED
        THE EXISTENCE OF A PROBLEM. I HAVE SEEN SEVERAL
        INSTANCES ONLINE WHERE CONSUMERS WITH THE
        IDENTICAL VEHICLE (ALL WITH THE 8 SPEED
        TRANSMISSION) COMPLAINED OF THE SAME PROBLEM.

        202. Another incident involving a GMC Sierra was reported on February 23,

2018:

        TRANSMISSION HARSH 1-2 SHIFT WHEN IT IS UNDER LIGHT
        THROTTLE AND SOMETIME DOES NOT SHIFT OR MAKE
        NOSE. GMC DEALER ARE AWARE ABOUT THIS ISSUES ON
        ALL GM TRUCK MODEL OF 2015 TO 2017 WITH 8SPED
        TRANSMISSION SINCE APRIL 2017. I HAVE ATTACHED
        DOCUMENTS GIVEN BY DEALER.

        203. Another incident involving a 2017 GMC Sierra was reported on June

1, 2018:

        WHEN DRIVING AT SLOW PARKING LOT SPEEDS OR WHEN
        COMING TO A COMPLETE STOP THE VEHICLE
        INTERMITTENTLY LUNGES, SURGES OR JOLTS, CAUSING
        THE VEHICLE TO MOVE FORWARD OR BACKWARDS
        UNANTICIPATED. SOMETIMES THE JOLT FEELS LIKE
        ANOTHER VEHICLE HAS HIT THIS VEHICLE FROM THE
        REAR, AGAIN CAUSING IT TO LUNGE FORWARD.




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      204. Another incident involving a 2017 GMC Sierra was reported on June

15, 2018:

      I BOUGHT THIS TRUCK USED WITH 12,918 MILES ON IT,
      APRIL 2018. WHEN DRIVING(ESPECIALLY ON HIGHWAY),
      AND CHANGING SPEEDS, TRANSMISSION CLUNKS AND
      LURCHES-AUTOMATIC TRANSMISSION. IT SOUNDS AND
      FEELS AS IF DRIVE TRAIN WILL FALL OUT. I HAVE TAKEN
      IT TO DEALER TWICE. THE FIRST TIME, THEY KEPT IT FOR 3
      DAYS, THE SECOND TIME, FOR ONE. THE MECHANIC IS
      ABLE TO REPLICATE THE NOISE/LURCHING, BUT THEY ARE
      UNABLE TO FIND A CAUSE OR CORRECTION. THEY TELL ME
      IT IS NOT DANGEROUS, BUT I AM CONCERNED THAT THE
      NOISE/MOVEMENT, COULD CAUSE MYSELF OR ANOTHER
      FAMILY MEMBER TO SWERVE OR BRAKE HARD AND CAUSE
      AN ACCIDENT. THE MECHANIC HAS TRIED “UPDATING THE
      SOFTWARE” BUT THAT DID NOT FIX IT. SEVERAL OTHER
      GMC SIERRA OWNERS TELL ME THEY HAVE HAD SAME
      PROBLEM.

      205. Another incident involving a GMC Sierra was reported on December

6, 2018:

      THE TRANSMISSION SHIFTS EXTREMELY ROUGH FROM 1ST
      TO 2ND GEAR IN PARKING LOTS AT A SLOW SPEED AND ON
      NORMAL    HIGHWAY      OR    STREET DRIVING   AND
      EXPERIENCES THE SAME THING WHILE SLOWING DOWN TO
      STOP 2. THE ENGINE HAS RECENTLY BEEN HAVING A
      AWKWARD SHAKE TO IT WHILE IN IDEAL AFTER IT HAS
      BEEN RUNNING AND WARM 3. WHILE BACKING UP AND
      TURNING THE WHEEL, THE FRONT SUSPENSION WILL LET
      OUT A LOUD CLUNK SOUND AND THE SOUND WILL RETURN
      WHEN TURNING THE TRANSMISSIONS BACK FORWARD
      AFTER PUTTING IT INTO DRIVE.

      206. Another incident involving a 2017 GMC Sierra was reported on

December 18, 2018:


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      I HAVE HAD SEVERAL INSTANCES WHERE YOU PUSH THE
      ACCELERATOR AND YOU START TO GO AND THEN IT JUST
      STOPS   MOVING   LIKE   THE     TRANSMISSION    HAS
      DISENGAGED. STARTED TO TURN INTO ONCOMING
      TRAFFIC THIS MORNING AND HAD TO STOP AS AS IT DID
      THIS AND I WAS GOING TO GET HIT!!! IT DOES IT A LOT,
      FIRST TIME I WOULD HAVE BEEN HIT!!! GM SAYS THEY
      KNOW IT’S A PROBLEM, AT SHOP NOW AGAIN FOR IT!
      GOING TO GET SOMEONE KILLED!!!!

      207. Another incident involving a 2017 GMC Sierra was reported on

January 10, 2019:

      TRANSMISSION HAS SURGING AND HESITATION. DEALER
      CANNOT FIX.

      208. Another incident involving a 2017 GMC Sierra was reported on

February 4, 2019:

      TRUCK LAGS POWER WHEN PRESSING THE GAS PEDAL AT
      TIMES AFTER PUTTING TRANSMISSION INTO DRIVE FROM
      REVERSE. TRANSMISSION SHIFTS HARD INTO AND OUT OF
      FIRST GEAR AND AT TIMES FEELS LIKE IT IS SKIPPING 2ND
      GEAR DURING A DOWNSHIFT.

      209. Another incident involving a 2017 GMC Sierra was reported on March

12, 2019:

      TRANSMISSION SHIFT FROM 1ST GEAR. THERE IS A
      PROBLEM IN THE GEAR SHIFT FROM 1ST TO 2ND IT SLAMS
      THE TRANSMISSION WHEN YOU STOP AND START. THERE IS
      A HEATER IN THE TRANSMISSION THAT PUTS EXTRA
      DEGRADATION ON THE OIL CAUSING IT TO NEED
      REPLACEMENT VERY EARLY. DEALER KNOWS OF THE
      ISSUE BUT HAS NO FIX FOR IT ONLY STATED THEY NOTED
      THE FILE IN CASE IT FAILS. UNACCEPATABLE FOR A 55,000.
      PLEASE LOOK INTO THIS.



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      210. On January 8, 2019, the following was reported as to a 2018 GM

Sierra:

      BRAND NEW 2018 SIERRA 1500 Z71. WHEN DRIVING THE
      TRUCK FOR THE FIRST TIME AFTER SITTING FOR A
      NUMBER OF HOURS (6+HRS) THE TRUCK EXPERIENCES A
      "HARD" 1-2 SHIFT. THIS OCCURS 100% OF THE TIME WHEN I
      LEAVE FOR WORK IN THE MORNING. SOMETIMES IT FEELS
      LIKE THE TRANSMISSION SLIPPED, THIS IS THE HARD
      SHIFT FEELING. OTHER TIMES THE TRUCK LOSES
      ACCELERATION, CUTS OUT, FEELS LIKE THE TRUCK HAS
      RAN OUT OF FUEL. ONLY HAPPENS WHEN THE TRUCK HAS
      BEEN SITTING FOR A LONG PERIOD. WHEN I TOOK THE
      TRUCK IN TO HAVE THIS LOOKED INTO I WAS TOLD THIS
      IS A KNOWN ISSUE WITHOUT A RESOLUTION. IVE
      ATTACHED A SCAN'D COPY OF THE DOCUMENT THEY
      GAVE ME #16-NA-361.

      211. On February 14, 2019, the following was reported:

      EXTREMELY HARD SHIFTING ON LOWER GEARS. WHEN
      SLOWING WHEN IT GOES FROM 2ND TO 1ST IT FEELS LIKE I
      GOT REAR-ENDED. NOT ALL THE TIME BUT ONCE A DAY
      AT LEAST. IT ALSO SHUDDERS WHEN SLOWLY
      ACCELERATING IN TRAFFIC, SOMETIMES THE RPM GOES
      WAY HIGH AND IT LURCHES FORWARD WHEN IT
      UPSHIFTS.

      212. On April 2, 2019, the following was reported:

      WHILE THE TRUCK IS IN MOTION AND WHEN
      ACCELERATING AROUND 15-20 MPH THE TRANSMISSION
      WILL SOMETIMES "HUNT" FOR A GEAR CAUSING THE
      TRUCK TO NOT ACCELERATE. THIS RESULTS IN A MILD
      JERKING OF THE TRUCK WHEN IT IS TRYING TO
      ACCELERATE AND FEELS LIKE THE TRANSMISSION IS
      SLIPPING/SKIPPING. THIS IS MORE APPARENT WHEN
      GOING UP A GRADE VERSUS ON A FLAT SURFACE. SO I
      HAVE TO PUSH HARDER ON THE GAS PEDAL WAITING FOR


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      THE TRUCK TO SHIFT. THIS IS A SAFETY ISSUE SINCE
      WHEN NOT PROPERLY ACCELERATING INTO TRAFFIC, AN
      ACCIDENT IS MORE LIKELY TO OCCUR. I SEE THAT THIS
      ISSUE HAS ALREADY BEEN REPORTED IN ANOTHER
      INCIDENT ON YOUR WEBSITE. I HAVE HAD THIS ISSUE
      SINCE I BOUGHT THE TRUCK ON 02/2018 AND THE REASON
      I HAVE WAITED TO REPORT IS DUE TO THE DEALER
      STATING TO ALLOW THE COMPUTER TO UPDATE/LEARN
      YOUR DRIVING HABITS. I HAVE 11,000 MILES ON THE
      TRUCK NOW AND STILL EXPERIENCING THE ISSUE.

      213. On April 25, 2019, the following incident was reported as to a 2019

GMC Sierra:

      TRANSMISSION JERKS INTO GEAR WHEN SLOWING DOWN.
      WHEN SPEEDING UP TRUCK WILL JERK. SERVICE
      MANAGER SAID IT WAS NORMAL TRUCK FEELS LIKE IT
      THE REAR END FALLS OUT WHEN STOPPING.

      214. On July 23, 2019, the following incident was reported:

      RECENTLY PURCHASED A 2019 GMC SIERRA AND IT SHIFTS
      HARD AT LOWER SPEEDS OR WHEN MOVING FROM A
      STOPPED POSITION AND THEN ACCELERATING, OR WHEN
      DECELERATING. WHILE PARKING THE CAR AT ONE POINT
      THE SHIFT WAS SO HARD THAT IT FELT LIKE A HIT, AND
      THEN THE KIDS CONFUSEDLY ASKING 'WHAT WAS THAT?.
      GM IS GIVING US THE RUNAROUND AND UNWILLING TO
      FIX WHAT I HAVE NOW FOUND OUT, HAS BEEN A KNOWN
      PROBLEM. THEY BASED EVERYTHING OUT OF WHAT THE
      MODULES REPORT WHEN THE CAR IS HOOKED UP TO THE
      COMPUTER BASICALLY, IF THE MODULES ARE OK THEN
      THE CAR IS REPORTEDLY OK. NOT THE CASE.

      215. On August 23, 2019, the following incident was reported:

      TL' THE CONTACT OWNS A 2019 GMC SIERRA 1500. WHILE
      DRIVING 10 MPH, THE CONTACT HEARD AN ABNORMAL
      NOISE AND THE VEHICLE BEGAN TO HESITATE. THERE
      WERE NO WARNING INDICATORS ILLUMINATED. THE


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       CONTACT     ALSO    STATED      THAT     THE    VEHICLE
       DOWNSHIFTED      FROM     THIRD     TO    FIRST   GEAR
       INDEPENDENTLY. THE VEHICLE WAS TAKEN TO GEOFF
       PENSKE BUICK GMC (LOCATED AT 100 S MUSEUM RD,
       SHILUNGTON, PA 19607, (610) 370-6673) TO BE DIAGNOSED,
       BUT THE FAILURE COULD NOT BE DUPUCATED. THE
       VEHICLE WAS NOT REPAIRED. THE MANUFACTURER WAS
       NOT NOTIFIED. THE FAILURE MILEAGE WAS 5,500. THE
       CONSUMER STATED WHEN AT A TRAFFIC UGHT CAR, IT
       CLUNKS AND DROPPING INTO FIRST GEAR WHEN COMING
       TO A STOP •TR WHEN STOPPING FOR TRAFFIC THE
       TRANSMISSION SEEMS TO 'CLUNK AS IF IT IS IN A HIGHER
       GEAR AND THEN DROPS INTO FIRST AFTER THE VEHICLE
       COMES TO A STOP. FEELING UKE THE GEARS ARE MOVING
       WHEN THE VEHICLE IS NOT. WHEN LEAVING A STOP IT
       SOMETIMES HESITATE AND THE ENGINE WILL REV UKE IT
       IS IN NEUTRAL THEN QUICKLY LUNGE FORWARD AT TIMES
       SO HARD IT FEELS LIKE IT HAS BEEN HIT FROM BEHIND.*JB

       216. On August 12, 2020, the following was reported as to a 2020 GMC

 Sierra:

       AT 550 MILES HAD TO TOW TO DEALER. THEY SAID NEEDED
       TO REPROGRAM TRANSMISSION. NOW AT 4000 MILES,
       WENT TO START AND VEHICLE WILL NOT DO ANYTHING.
       NO POWER. IT IS BEING TOWED TO DEALER AGAIN. PRETTY
       MUCH BOUGHT A LEMON AS IT LOOKS NOW.

       217. On September 23, 2020, the following was reported:

       TRANSMISSION KICKS WHEN COMING TO A COMPLETE
       STOP.

       218. On May 27, 2021, the following “hard” shifting was reported during

 both up and down shifting for a 2021 GMC Sierra:

       TRANSMISSION SHIFTS HARD WHEN SHIFTING UP AND
       WHEN DOWNSHIFTING. VEHICLE JERKS WHEN GOING



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         SPEEDS <40 AFTER COMING OFF HIGHWAY AT HIGHWAY
         SPEEDS >70.

                     j.     GMC Canyon

         219. An incident involving a 2017 GMC Canyon was reported on August 1,

 2018:

         TRANSMISSION BEGAN SHIFTING HARD. BEFORE LONG
         WHOLE TRUCK RATTLED WHEN SHIFTING. ALMOST A
         GRINDING   SOUND.   CHEVY    DIAGNOSED    TORQUE
         CONVERTER HAS GONE BAD. BACK ORDERED FOR 2 WEEKS.

         220. Another incident involving a 2017 GMC Canyon was reported on

 December 31, 2018:

         TORQUE CONVERTER FAILS AT 12000 MILES FOR MANY.
         THERE IS A GMC NOTICE OUT SINCE 2016. MINE FAILED AT
         16000 MILES AND THE ONE THEY REPLACED WILL LIKELY
         FAIL AGAIN IN ANOTHER 16K MILES. THIS IS BAD. I
         NOTICED IT WHEN I PRESSED ON THE ACCELERATOR AND
         AS I INCREASED SPEED UP TO 45 MPH. IT RATTLED AND
         ROCKED      BADLY.   THE   GMC    REPAIRMAN     SAID,
         “YEAP.....EVER SINCE 2016 ALL THESE DAMN TORQUE
         CONVERTERS HAVE BEEN FAILING IN THE CANYONS AND
         COLORADOS BECAUSE GM AND CHEVY CHANGED THE SIZE
         AND STRENGTH OF THE METAL USED IN ORDER TO REDUCE
         THE WEIGHT OF TRHE VEHICLE. WE WILL REPLACE IT, BUT
         I CAN ASSURE YOU IT WILL FAIL AGAIN AND YOU’LL HAVE
         TO BRING IT BACK TO USE FOR CHANGE OUT AGAIN.”
         WOW....WHAT A BUNCH OF CRAP.

         221. On August 28, 2018, the following incident was reported as to a 2018

 GMC Canyon:

         TRANSMISSION JERKS FROM 4TH TO 5TH. SOMETIMES
         FEELS LIKE SOMEONE HIT YOU IN THE REAR ENDED.



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       222. Another incident involving a 2018 GMC Canyon was reported on

 September 7, 2018:

       TRANSMISSION CLUNKS FEELS LIKE YOUR HIT IN THE REAR
       END. I THOUGHT I WAS REAR ENDED 3 TIMES SO FAR. MY
       TRANSMISSION SURGES FORWARD FROM 4TH TO 5TH
       GEAR. VERY DANGEROUS TO WEAR I DON’T WANT TO
       DRIVE THE TRUCK.

       223. Another incident involving a 2018 GMC Canyon was reported on

 September 7, 2018:

       THE AUTOMATIC TRANSMISSION SHIFTS AGGRESSIVELY
       THE FIRST GEARS FROM A COLD STARTED ENGINE AFTER
       ENGAGING FROM PARK TO DRIVE. SLUGGISH SHIFTING
       AND ACCELERATION.

       224. Another incident involving a 2018 GMC Canyon was reported on

 December 14, 2018:

       RUMBLING OF TRANSMISSION. CLUCKY START. GM DEALER
       ACKNOWLEDGES THE PROBLEM AND HAS TRIED TO REPAIR
       VEHICLE. GM SAYS AT THIS TIME THE TRUCK 8 SPEED
       TRANSMISSIONS ARE NOT FIXABLE

       225. On January 7, 2021, the following delayed acceleration and jerking was

 reported:

       I AM THE OWNER OF A 2020 CANYON SLE THAT WAS
       PURCHASED IN JUNE OF 2020. THE VEHICLE HAS ABOUT
       20,000 MILE ON IT CURRENTLY. I HAVE BEEN
       EXPERIENCING A “LAG” ON ACCELERATION AFTER
       COMING TO A STOP. THIS FEELS LIKE THE TRANSMISSION
       ISN’T DOWN SHIFTING ALL THE WAY. AT TIME WHEN
       ACCELERATING FROM A STOP THE TRUCK WILL ACT AS IT
       IS IN A HIGH GEAR THEN SUDDENLY SLAM INTO A FIRST


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       GEAR. I HAVE TAKE MY TRUCK TO JESSUP GMC IN PALM
       SPRINGS AND THEY SAY THE TECH CAN NOT REPRODUCE
       THE PROBLEM. THIS SOUNDS LIKE THE SAME ISSUE THE
       2015-1019 MODELS HAVE IN REFERENCE TO BULLETIN: 18-
       NA-355 DATED AUGUST 2019

       226. On January 5, 2022, the following was reported, noting “downshift”

 issue and that the dealer was “backed up for weeks” and unable to look at the car:

       When rolling to stop signs or red lights, the vehicle occasionally fails
       to downshift properly and will attempt to continue pushing the vehicle
       when trying to stop. On multiple occasions, the vehicle acts as if it
       cannot be stopped due to the transmission failing to downshift. One
       must aggressively apply the brakes to get the vehicle to come to a stop.
       Unable to have the vehicle checked out at a local dealer, due to being
       backed up for weeks when trying to have it looked at. No visual
       indication/warning is given when this happens. There is a current class
       action lawsuit for models up to 2019, but this needs to be extended to
       2020 models as well, as multiple online forums discuss this issue being
       prevalent in newer models of the 8-speed transmission.

       4.    Well-Publicized Criticism of the Shift Defect in Trade Publications
             Demonstrate GM’s Knowledge of the Shift Defect Before 2020.

       227. GM was also made aware of the Shift Defect through criticisms of

 automotive journalists, who identified the problems described above in online trade

 publications. In an article on gmauthority.com describing updates to its 2019

 transmission, the publication emphasizes:

       In prior-generation, K2 platform Silverado and Sierra, the GM 8-speed
       was often criticized for its jerky and unexpected shifting behavior that
       ultimately worsened the satisfaction of driving and/or riding in the
       pickup. Whether the improvements made to the 8-speed gearbox in the
       all-new T1 platform 2019 Sierra and Silverado will address these issues
       is unknown. (See Alex Luft, “GM 8-Speed Automatic Enhanced For
       2019 Silverado, Sierra” dated July 18, 2018, available at



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       http://gmauthority.com/blog/2018/07/gm-8-speed-automatic-
       enhanced-for-2019-silverado-sierra/ (last accessed May 7, 2019).)

       228. And a January 11, 2018 article on the trutheaboutcars.com described

 the ongoing problems associated with the Shift Defect, reporting:

       The 1-2 shift sounds and feels like it’s going to rip the diff out of the
       axle, which is a common complaint about the eight-speed transmission
       in these vehicles. The AWD mode, which lives between 2WD and 4-
       High and which is basically the “4WD” in the Escalade/Denali, is
       laughably slow to respond to spinning rear transmissions. (See Jack
       Baruth,”2017 Silverado LTZ Long-term Test – 10,000 Miles and
       Counting”      dated    January       11,     2018,      available     at
       https://www.thetruthaboutcars.com/2018/01/long-term-test-2017-
       silverado-ltz-10000-miles/ (last accessed May 7, 2019).)

       229. Finally, the automotive journalists at motortrend.com highlighted the

 flaws GM’s eight-speed transmission in comparison with its new 10-speed

 transmissions:

       Simply put, . . . . we were unimpressed by how the Silverado’s volume
       5.3-liter DFM V-8 and its eight-speed automatic performed. We’re
       disappointed to find that GM didn’t fix the old 5.3’s biggest flaws: its
       sloppy throttle response at low speeds and its transmission’s over
       eagerness to get to its top gear. The truck feels powerful enough once
       it’s moving, but getting there is frustrating. ‘The engine has power, but
       it’s being tag-teamed by the unholy GM duo of a lazy throttle pedal and
       a transmission that hates to downshift,’ features editor Scott Evans said.
       ‘Every time you want to move, you’ve got to get deep into the throttle
       before anything useful happens. The shifts aren’t as smooth as the 10-
       speed automatic, either, so you notice every time it’s forced to drop two
       gears to maintain speed up a hill.’

       The 6.2-liter V-8 and its 10-speed auto, which is only available as an
       option on the top-level Silverado LTZ and Silverado High Country,
       improves things immensely. The big V-8 has plenty of power on tap,
       and it sounds especially great when you bury your foot into the throttle.
       The 10-speed automatic is worlds better than the eight-speed, too. It


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       feels modern and well sorted—basically the polar opposite of the eight-
       speed automatic. Its shifts are seamless and nearly unnoticeable, and it
       doesn’t display the hunting behavior of the other transmission, either.
       (See Christian Seabaugh, “2019 CHEVROLET SILVERADO FIRST
       TEST: PENCILS DOWN” dated September 14, 2018 available at
       https://www.motortrend.com/cars/chevrolet/silverado-
       1500/2019/2019-chevrolet-silverado-first-test-review/ (last accessed
       May 7, 2019).)

       230. These well-publicized criticisms disclosing the Shift Defect, in addition

 to GM’s own documents and hundreds of consumer complaints, show GM’s

 awareness of the Shift Defect.

 C.    Plaintiffs’ Experiences

       1.    Matthew Battle’s Experience

       231. Plaintiff Matthew Battle purchased a new, 2020 GMC Canyon from

 Sellers Buick GMC in Farmington, Michigan. The vehicle was equipped with an

 8L90 or 8L45 transmission.

       232. Plaintiff purchased the vehicle primarily for personal, family, or

 household use.

       233. At all times, like other Class Members, Plaintiff has driven the vehicle

 in a foreseeable manner and in the manner in which it was intended to be used.

       234. At the time of purchase, Plaintiff had reviewed marketing materials for

 the vehicle online, including visiting GM's website. Plaintiff also discussed the

 purchase with an authorized dealer. In addition, prior to purchasing the Class




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 Vehicle, Plaintiff reviewed the Class Vehicle’s window sticker and test drove the

 Class Vehicle at the Dealership.

       235. Plaintiff, acting as a reasonable consumer, relied on the materials he

 reviewed, and the discussions he had, before making his purchase.

       236. None of the information provided to Plaintiff disclosed any defects in

 the vehicle or its transmission. GM’s omissions were material to Plaintiff.

       237. Shortly after purchase, Plaintiff’s transmission exhibited hard shifting,

 clunking and jerking. This Shift Defect reduced, and continues to reduce, Plaintiff’s

 satisfaction with the vehicle. Also, the Shift Defect raises a safety concern.

       238. On or about November 12, 2021, Plaintiff provided notice to GM about

 the Shift Defect when he brought his vehicle into Sellers Buick GMC in Farmington,

 Michigan because of the transmission problems, including hard shifting. At that

 time, Plaintiff had only 9,904 miles on the vehicle. Plaintiff additionally provided

 notice to GM about the Shift Defect when he informed the dealership about the

 transmission problems when he brought his vehicle in for service in or about

 November 2020, February 2021, and August 2021. In or about November 2020,

 Plaintiff had only approximately 3,780 miles on the vehicle. In or about February

 2021, Plaintiff had only approximately 5,598 miles on the vehicle. In or about

 August 2021, Plaintiff had only approximately 8,466 miles on the vehicle.




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       239. On or about February 17, 2022, Plaintiff also sent a notice letter to GM

 advising of the Shift Defect, to no avail.

       240. Despite an attempted repair, GM’s authorized dealership has failed to

 adequately repair Plaintiff’s vehicle, which continues to exhibit a Shift Defect.

       241. GM did not disclose the Shift Defect in its advertising materials, on its

 websites, or to its dealers. Had GM done so, Plaintiff, acting as a reasonable

 consumer, would have learned of that material information, and would not have

 purchased the vehicle or paid the price he paid for it.

       242. As a result of the Shift Defect, Plaintiff has lost confidence in the ability

 of his Class Vehicle to provide safe and reliable transportation for its ordinary and

 advertised purpose and is, accordingly, unable to rely on GM’s advertising or

 labeling in the future. Plaintiff does not intend to purchase or lease another vehicle

 from GM in the future, though he would like to do so.

       2.     Juan Castaneda’s Experience

       243. Plaintiff Juan Castaneda purchased a new, 2021 GMC Canyon from

 Cardinale Oldsmobile GMC Truck in Seaside, California. The vehicle was equipped

 with an 8L90 or 8L45 transmission.

       244. Plaintiff purchased the vehicle primarily for personal, family, or

 household use.




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       245. At all times, like other Class Members, Plaintiff has driven the vehicle

 in a foreseeable manner and in the way it was intended to be used.

       246. Prior to purchase, Plaintiff reviewed marketing materials for the vehicle

 online and test drove similar vehicles to the Class Vehicle.

       247. At the time of purchase, Plaintiff reviewed the Class Vehicle’s window

 sticker and discussed the purchase with an authorized dealer.

       248. Plaintiff, acting as a reasonable consumer, relied on the materials he

 reviewed, and the discussions he had, before making his purchase.

       249. None of the information provided to Plaintiff disclosed any defects in

 the vehicle or its transmission. GM’s omissions were material to Plaintiff.

       250. Shortly after purchase, Plaintiff’s transmission exhibited hard shifting,

 clunking, jerking and vibrating. This Shift Defect reduced, and continues to reduce,

 Plaintiff’s satisfaction with the vehicle. Also, the Shift Defect raises a safety

 concern.

       251. On or about September 25, 2021, Plaintiff provided notice to GM about

 the Shift Defect when he brought his vehicle into Winter Chevrolet in Pittsburg,

 California and advised of the transmission problems he was having, including hard

 shifting. At that time, Plaintiff had only 3,550 miles on the vehicle.

       252. On or about February 17, 2022, Plaintiff also sent a notice letter to GM

 about the Shift Defect, to no avail.



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        253. Despite an attempted repair, GM’s authorized dealership has failed to

 adequately repair Plaintiff’s vehicle, which continues to exhibit a Shift Defect.

        254. GM did not disclose the Shift Defect in its advertising materials, on its

 websites, or to its dealers. Had GM done so, Plaintiff would have learned of that

 material information, and would not have purchased the vehicle or paid the price he

 paid for it.

        255. As a result of the Shift Defect, Plaintiff has lost confidence in the ability

 of his Class Vehicle to provide safe and reliable transportation for its ordinary and

 advertised purpose and is, accordingly, unable to rely on GM’s advertising or

 labeling in the future. Plaintiff does not intend to purchase or lease another vehicle

 from GM in the future, though he would like to do so.

        3.      David Figueroa’s Experience

        256. Plaintiff David Figueroa purchased a new, 2021 GMC Canyon from

 Buick GMC of Mahwah in Mahwah, New Jersey. The vehicle was equipped with an

 8L90 or 8L45 transmission.

        257. Plaintiff purchased the vehicle primarily for personal, family, or

 household use.

        258. At all times, like other Class Members, Plaintiff has driven the vehicle

 in a foreseeable manner and in the way it was intended to be used.




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       259. At the time of purchase, Plaintiff had reviewed marketing materials for

 the vehicle online and discussed the purchase with an authorized dealer. Plaintiff

 reviewed the Class Vehicle’s window sticker and test drove the Class Vehicle at the

 Dealership.

       260. Plaintiff, acting as a reasonable consumer, relied on the materials he

 reviewed, and the discussions he had, before making his purchase.

       261. None of the information provided to Plaintiff disclosed any defects in

 the vehicle or its transmission. GM’s omissions were material to Plaintiff.

       262. Shortly after purchase, Plaintiff’s transmission exhibited hard shifting,

 clunking and jerking. This Shift Defect reduced, and continues to reduce, Plaintiff’s

 satisfaction with the vehicle. Also, the Shift Defect raises a safety concern.

       263. On or about December 3, 2020, Plaintiff provided notice to GM about

 the Shift Defect when he brought his Vehicle into Buick GMC of Mahwah because

 of the transmission problem. At that time, Plaintiff had only 4,659 miles on the

 vehicle. Plaintiff additionally provided notice to GM about the Shift Defect when he

 brought his Vehicle into Buick GMC of Mahwah because of the transmission

 problem. At that time, Plaintiff had only 6,900 miles on the vehicle

       264. On or about February 17, 2022, Plaintiff also sent a notice letter to GM

 advising of the Shift Defect, to no avail.




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         265. Despite attempted repairs, GM’s authorized dealership has failed to

 adequately repair Plaintiff’s vehicle, which continues to exhibit a Shift Defect.

         266. GM did not disclose the Shift Defect in its advertising materials, on its

 websites, or to its dealers. Had GM done so, Plaintiff would have learned of that

 material information, and would not have purchased the vehicle or paid the price he

 paid for it.

         267. As a result of the Shift Defect, Plaintiff has lost confidence in the ability

 of his Class Vehicle to provide safe and reliable transportation for its ordinary and

 advertised purpose and is, accordingly, unable to rely on GM’s advertising or

 labeling in the future. Plaintiff does not intend to purchase or lease another vehicle

 from GM in the future, though he would like to do so.

         4.     Walter and Janice Helms’ Experience

         268. Plaintiffs Walter and Janice Helms purchased a new, 2021 GMC Sierra

 from Gee Automotive Companies in Liberty Lake, Washington. The vehicle was

 equipped with an 8L90 or 8L45 transmission.

         269. Plaintiffs purchased the vehicle primarily for personal, family, or

 household use.

         270. At all times, like other Class Members, Plaintiffs have driven the

 vehicle in a foreseeable manner and in the manner in which it was intended to be

 used.



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       271. Prior to purchasing his Class Vehicle, Plaintiffs researched the vehicle

 online and reviewed marketing materials, including television commercials.

       272. At the time of purchase, Plaintiffs had reviewed marketing materials

 for the vehicle, reviewed the Class Vehicle’s window sticker and also discussed the

 purchase with an authorized dealer.

       273. Plaintiffs, acting as reasonable consumers, relied on the materials they

 reviewed, and the discussions had, before making their purchase.

       274. None of the information provided to Plaintiffs disclosed any defects in

 the vehicle or its transmission. GM’s omissions were material to Plaintiffs.

       275. Shortly after purchase, Plaintiffs’ transmission exhibited hard shifting,

 vibrating and jerking. This Shift Defect reduced, and continues to reduce, Plaintiffs’

 satisfaction with the vehicle. Also, the Shift Defect raises a safety concern. When

 Plaintiffs noticed the Shift Defect, Plaintiffs had approximately 1,900 miles on the

 vehicle. On or about February 24, 2022, Plaintiffs provided notice to GM about the

 Shift Defect when Mr. Helms brought the Vehicle into George Gee Buick, GMC,

 Porsche because of the Shift Defect. At that time, Plaintiffs had only approximately

 2,149 miles on the vehicle.

       276. On or about February 17, 2022, a notice letter was sent to GM advising

 of the Shift Defect, to no avail.




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        277. Despite attempted repairs, GM’s authorized dealership has failed to

 adequately repair Plaintiffs’ vehicle, which continues to exhibit a Shift Defect.

        278. GM did not disclose the Shift Defect in its advertising materials, on its

 websites, or to its dealers. Had GM done so, Plaintiffs would have learned of that

 material information, and would not have purchased the vehicle or paid the price he

 paid for it.

        279. As a result of the Shift Defect, Plaintiffs have lost confidence in the

 ability of their Class Vehicle to provide safe and reliable transportation for its

 ordinary and advertised purposes and are, accordingly, unable to rely on GM’s

 advertising or labeling in the future. Plaintiffs do not intend to purchase or lease

 another vehicle from GM in the future, though they would like to do so.

        5.      Robert Gribble’s Experience

        280. Plaintiff Robert Gribble purchased a used, 2021 Chevrolet Silverado

 from Expressway Chevrolet Buick GMC in Mt. Vernon, Indiana. The vehicle was

 equipped with an 8L90 or 8L45 transmission.

        281. Plaintiff purchased the vehicle primarily for personal, family, or

 household use.

        282. At all times, like other Class Members, Plaintiff has driven the vehicle

 in a foreseeable manner and in the way it was intended to be used.




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        283. At the time of purchase, Plaintiff had reviewed marketing materials for

 the vehicle online and discussed the purchase with an authorized dealer. In addition,

 prior to purchasing the Class Vehicle, Plaintiff test drove the Class Vehicle at the

 Dealership.

        284. Plaintiff, acting as a reasonable consumer, relied on the materials he

 reviewed, and the discussions had, before making his purchase.

        285. None of the information provided to Plaintiff disclosed any defects in

 the vehicle or its transmission. GM’s omissions were material to Plaintiff.

        286. Shortly after purchase, Plaintiff’s transmission exhibited hard shifting

 and jerking. This Shift Defect reduces Plaintiff’s satisfaction with the vehicle and

 also raises a safety concern.

        287. On or about March 8, 2022, Plaintiff sent a notice letter to GM advising

 of the Shift Defect, to no avail.

        288. GM did not disclose the Shift Defect in its advertising materials, on its

 websites, or to its dealers. Had GM done so, Plaintiff would have learned of that

 material information, and would not have purchased the vehicle or paid the price he

 paid for it.

        289. As a result of the Shift Defect, Plaintiff has lost confidence in the ability

 of his Class Vehicle to provide safe and reliable transportation for its ordinary and

 advertised purpose and is, accordingly, unable to rely on GM’s advertising or



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 labeling in the future. Plaintiff does not intend to purchase or lease another vehicle

 from GM in the future, though he would like to do so.

 D.    Fraudulent Concealment Allegations

       290. Most of Plaintiffs’ claims arise out of GM’s fraudulent concealment of

 the Shift Defect and the problems it causes, and its representations about the quality,

 durability, and performance of the Class Vehicles, including their 8L90 and 8L45

 transmissions.

       291. To the extent that Plaintiffs’ claims arise from GM’s fraudulent

 concealment, there is no one document or communication, and no one interaction,

 upon which Plaintiffs base their claims. Plaintiffs allege that at all relevant times,

 including specifically at the time they purchased their Class Vehicles, GM knew of

 the Shift Defect; GM was under a duty to disclose the Shift Defect based upon its

 exclusive knowledge of it, its affirmative representations about it, and its

 concealment of it, and GM never disclosed the Shift Defect to Plaintiffs or the public

 at any time or place or in any manner.

       292. Plaintiffs make the following specific fraud allegations with as much

 specificity as possible, although they do not have access to information necessarily

 available only to GM:

       293. Who: as noted in Part B, supra, GM personnel knew of but actively

 concealed the Shift Defect from Plaintiffs and Class members while simultaneously



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 touting the quality, durability and performance of the Class Vehicles and their 8L90

 and 8L45 transmissions. In addition to management, the GM personnel at issues

 include former GM Assistant Chief Engineer Bill Goodrich, and former GM Chief

 Engineer Kaveh Kavoos, who participated in public appearances or were quoted in

 press releases touting the 8L transmissions, when they were well aware they suffered

 from a Shit Defect. This also includes Cadillac President Johan deNyssen who had

 heard from dealers about the Shift Defect and did not inform customers. Similarly,

 Brand Quality Manager Mark Gordon who apprised dealers to tell customers the

 Shift Defect was normal, when it knew it was not, and a redesign for the 8L was

 needed but would not be ready until MY23.

       294. What: GM knew that the Class Vehicles suffer from the Shift Defect.

 GM concealed the Shift Defect and made contrary representations about the quality,

 durability, performance, and other attributes of the Class Vehicles.

       295. When: GM concealed material information regarding the Shift Defect

 at all times and made representations about the quality, durability, and performance

 of the Class Vehicles, starting no later than 2014, or at the subsequent introduction

 of certain models of Class Vehicles to the market, continuing through the time of

 sale, and on an ongoing basis, and continuing to this day. GM has not disclosed the

 truth about the Shift Defect in the Class Vehicles to anyone outside of GM. GM has

 never taken any action to inform consumers about the true nature of the Shift Defect



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 in Class Vehicles. And when consumers brought their Class Vehicles to GM

 complaining of the symptoms associated with the Shift Defect, GM denied any

 knowledge of, or responsibility for, the Shift Defect, and called it a “normal”

 characteristic.

       296. Where: GM concealed material information regarding the true nature

 of the Shift Defect in every communication it had with Plaintiffs and Class members

 and made contrary representations about the quality, durability, and performance of

 the Class Vehicles and their 8L90 and 8L45 transmissions. Such information is not

 adequately disclosed in any sales documents, displays, advertisements, warranties,

 owner's manual, or on GM's website.

       297. How: GM concealed the Shift Defect from Plaintiffs and Class

 members and made representations about the quality and durability of the Class

 Vehicles. GM actively concealed the truth about the existence and nature of the Shift

 Defect from Plaintiffs and Class members, even though it knew about the Shift

 Defect and knew that information about the Shift Defect would be important to a

 reasonable consumer, and GM promised in its marketing materials that the Class

 Vehicles have qualities that they do not have, and moreover, made representations

 in its warranties that it knew were false, misleading, and deceptive.

       298. Why: GM actively concealed material information about the Shift

 Defect in Class Vehicles, and simultaneously made representations about the quality,



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 durability, and performance of the Class Vehicles and their 8L90 and 8L45

 transmissions, for the purpose of inducing Plaintiffs and Class members to purchase

 the Class Vehicles, rather than purchasing or leasing competitors’ vehicles. Had GM

 disclosed the truth, for example, in its advertisements or other materials or

 communications, Plaintiffs (and reasonable consumers) would have been aware of

 the Shift Defect, and would not have bought the Class Vehicles or would have paid

 less for them.

 E.    GM Has Actively Concealed the Shift Defect

       299. Despite its knowledge of the Shift Defect in the Class Vehicles,

 Defendant actively concealed the existence and nature of the Shift Defect from

 Plaintiffs and Class Members. Specifically, Defendant failed to disclose to or

 actively concealed from Plaintiffs and Class Members, at and after the time of

 purchase or repair, and thereafter:

              A.     any and all known material defects or material nonconformities

       of the Class Vehicles, including the Shift Defect;

              B.     that the Class Vehicles were not in good working order, were

       defective, and were not fit for their intended purpose; and

              C.     that the Class Vehicles were defective, even though GM learned

       of the Shift Defect before it placed the Class Vehicles in the stream of

       commerce.



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       300. More troubling, Defendant did not issue any recall and otherwise

 refuses to acknowledge the Defect, despite TSBs as early as 2014 recognizing the

 Defect, but do not acknowledge that since 2018 a redesign was planned (“Gen 2”)

 specifically to address the Shift Defect.

       301. GM has also directed its authorized dealerships to inform Plaintiffs and

 members of the Class that the jerking, hesitation, surging, and lurching are normal

 and that no repairs are necessary. This result in customers and dealers often trying

 unnecessary repairs or changes, like tires, suspension, etc., that does not correct the

 Shift Defect.

       302. Defendant has deprived Class Members of the benefit of their bargain,

 exposed them all to a dangerous safety Shift Defect, and caused them to expend

 money at their dealerships and/or be unable to drive their vehicles for stretches of

 time, while they are being constantly repaired.

       303. Moreover, when vehicles are brought to Defendant's dealers for repair,

 whether covered by warranty or not, Class Members are provided with ineffective

 repairs in which defective parts are replaced with other defective parts, as

 experienced by Plaintiffs.

       304. As a result, Class Members continue to experience the Shift Defect

 despite having repairs, as shown by the experiences of Plaintiffs. Because many




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 Class Members, like Plaintiffs, are current owners who rely on their vehicles daily,

 compensation for repairs, related expenses, and diminution in value is not sufficient.

       305. Defendant has not recalled all the Class Vehicles to repair the Shift

 Defect, has not offered to its customers a free suitable repair or free replacement of

 parts related to the Shift Defect, under the recall or otherwise, and has not reimbursed

 all Class Vehicle owners who incurred costs for repairs related to the Shift Defect.

       306. Class Members have not received the value for which they bargained

 when they purchased the Class Vehicles.

       307. As a result of the Shift Defect, the value of the Class Vehicles has

 diminished, including without limitation, the resale value of the Class Vehicles.

       308. The existence of the Shift Defect is a material fact that a reasonable

 consumer would consider when deciding whether to purchase a Class Vehicle.

 Whether a vehicle’s transmission contains a defect causing lurching forward, sudden

 acceleration, delayed acceleration, and sudden loss of forward propulsion is a

 material safety concern. Had Plaintiffs and other Class Members known of the Shift

 Defect, they would have paid less for the Class Vehicles or would not have

 purchased them.

       309. Reasonable consumers, like Plaintiffs, expect that a vehicle is safe, will

 function in a manner that will not pose a safety risk, is free from defects, and will

 not malfunction while operating the vehicle as it is intended. Plaintiffs and Class



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 Members further expect and assume that GM will not sell vehicles with known

 safety defects, such as the Shift Defect, and will fully disclose any such defect to

 consumers prior to purchase or offer a suitable non-defective repair.

        310. The Class Vehicles do not function as GM intended; no manufacturer

 intends for a vehicle's transmission and related components to result in lurching,

 jerking, sudden acceleration, delayed acceleration, and present substantial safety

 risks as a result.

 F.     The Agency Relationship Between GM US, LLC and its Network of
        Authorized Dealerships

        311. To sell vehicles to the general public, Defendant enters into agreements

 with its nationwide network of authorized dealerships to engage in retail sales with

 consumers such as Plaintiffs. In return for the exclusive right to sell new, Defendant-

 branded vehicles, the authorized dealerships are also permitted under these

 agreements with Defendant to service and repair these vehicles under the warranties

 Defendant provides directly to consumers who purchased new vehicles from the

 authorized dealerships.

        312. Accordingly, Defendant’s authorized dealerships are Defendant’s

 agents, and the consumers who purchase Defendant vehicles are the intended third-

 party beneficiaries of these dealership agreements, which allow the consumers to

 purchase and service their Defendant vehicles locally. Because Plaintiffs and

 members of the Class there are third-party beneficiaries of the dealership agreements


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 which create the implied warranty, they may avail themselves of the implied

 warranty. This is true because third-party beneficiaries to contracts between other

 parties that create an implied warranty of merchantability may avail themselves of

 the implied warranty. See In re Toyota Motor Corp. Unintended Acceleration Mktg.,

 Sales Practices, & Prod. Liab. Litig., 754 F. Supp. 2d 1145, 1185 (C.D. Cal. 2010).

       313. Further, Plaintiffs and each of the members of the Class are the intended

 beneficiaries of Defendant's express and implied warranties. The dealers were not

 intended to be the ultimate consumers of the Class Vehicles, and they have no rights

 under the warranty agreements provided by Defendant. Defendant’s warranties were

 designed for and intended to benefit the consumers only. The consumers are the true

 intended beneficiaries of Defendant's express and implied warranties, and the

 consumers may therefore avail themselves of those warranties.

       314. Defendant issued the express warranty to the Plaintiffs and the Class

 members. Defendant also developed and disseminated the owner’s manual and

 warranty booklets, advertisements, and other promotional materials relating to the

 Class Vehicles. Because Defendant issues the express warranty directly to the

 consumers, the consumers are in direct privity with Defendant with respect to the

 warranties

       315. In promoting, selling, and repairing its defective vehicles, Defendant

 acts through numerous authorized dealers who act, and represent themselves to the



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 public, as exclusive Defendant representatives and agents. That the dealers act as

 Defendant's agents is demonstrated by the following facts:

             A.       The authorized GM US LLC dealerships complete all service and

       repair according to Defendant's instructions, which Defendant issues to its

       authorized dealerships through service manuals, service bulletins, TSBs, and

       other documents;

             B.       Consumers are able to receive services under Defendant's issued

       New Vehicle Limited Warranty only at Defendant's authorized dealerships,

       and they are able to receive these services because of the agreements between

       Defendant and the authorized dealers. These agreements provide Defendant

       with a significant amount of control over the actions of the authorized

       dealerships;

             C.       The warranties provided by Defendant for the defective vehicles

       direct consumers to take their vehicles to authorized dealerships for repairs or

       services;

             D.       Defendant has provided training and partnered with various

       technical schools to provide GM-specific training for technicians, so that

       dealerships are able to hire technicians that have completed GM-overseen

       certification course;




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              E.     Defendant dictates the nature and terms of the purchase contracts

       entered into between its authorized dealers and consumers;

              F.     Defendant controls the way in which its authorized dealers can

       respond to complaints and inquiries concerning defective vehicles, and the

       dealerships are able to perform repairs under warranty only with Defendant's

       authorization;

              G.     Defendant has entered into agreements and understandings with

       its authorized dealers pursuant to which it authorizes and exercises substantial

       control over the operations of its dealers and the dealers' interaction with the

       public; and

              H.     Defendant implemented its express and implied warranties as

       they relate to the defects alleged herein by instructing authorized Defendant

       dealerships to address complaints of the Shift Defect by prescribing and

       implementing the relevant TSBs cited herein.

       316. GM's warranty booklets make it abundantly clear that GM’s authorized

 dealerships are GM’s agents for vehicle sales and service. The booklets, which are

 plainly written for the consumers, not the dealerships, tell the consumers repeatedly

 to seek repairs and assistance at its “authorized dealerships.”

       317. For example, the booklets state, that GM “will provide repairs to the

 vehicle during the warranty period” and also that “[t]o obtain warranty repairs, take



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 the vehicle to a [Buick, Cadillac, Chevrolet, or GMC] dealer facility within the

 warranty period and request the needed repairs.”

       318. The booklets direct Plaintiffs and class members, should they have

 warranty problems, to first “contact the owners of the dealer facility or the general

 manager.” Next, Plaintiffs and class members are directed to contact GM directly as

 a Customer Assistance Center. However, the booklet states, “[w]hen contacting

 [GM], remember that your concern will likely be resolved at a dealer’s facility.”

       319. Accordingly, as the above paragraphs demonstrate, the authorized

 dealerships are agents of Defendant. Plaintiffs and each of the members of the Class

 have had sufficient direct dealings with either Defendant or its agent dealerships to

 establish privity of contract between Defendant, on one hand, and Plaintiffs and each

 of the members of the Class, on the other hand. This establishes privity with respect

 to the express and implied warranty between Plaintiffs and Defendant.

                        CLASS ACTION ALLEGATIONS

       320. Plaintiffs bring this lawsuit as a class action on behalf of themselves

 and all others similarly situated as members of the proposed Classes pursuant to

 Federal Rules of Civil Procedure 23(a), (b)(3) and (c)(4). As described below, this

 action satisfies the numerosity, commonality, typicality, adequacy, predominance,

 and superiority requirements of Rules 23(a) and 23(b)(3). This action also satisfies

 the requirements of Rule 23(c)(4).



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       321. Pursuant to Fed. R. Civ. Proc. 23(a), (b)(3) and/or (c)(4), Plaintiffs

 assert classes based on the applicable state law of where the Plaintiff purchased a

 Class Vehicle. Class Vehicles are GM vehicles from MY19 to the present

 manufactured and sold new after March 1, 2019, equipped with 8L45 or 8L90

 automatic transmissions. The proposed Classes include:

             A.      California Class: All original purchasers or current owners of

       Class Vehicles who purchased the Vehicles from authorized GM dealers in

       California.

             B.      Michigan Class: All original purchasers or current owners of

       Class Vehicles who purchased the Vehicles from authorized GM dealers in

       Michigan.

             C.      New Jersey Class: All original purchasers or current owners of

       Class Vehicles who purchased the Vehicles from authorized GM dealers in

       New Jersey.

             D.      Indiana Class: All original purchasers or current owners of

       Class Vehicles who purchased the Vehicles from authorized GM dealers in

       Indiana.

             E.      Washington Class: All original purchasers or current owners of

       Class Vehicles who purchased the Vehicles from authorized GM dealers in

       Washington.



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       322. Excluded from the Class are: (1) Defendant, any entity or division in

 which Defendant has a controlling interest, and their legal representatives, officers,

 directors, assigns, and successors; (2) the Judge to whom this case is assigned and

 the Judge’s staff; (3) any Judge sitting in the presiding state and/or federal court

 system who may hear an appeal of any judgment entered; and (4) those persons who

 have suffered personal injuries as a result of the facts alleged herein. Plaintiffs

 reserve the right to seek certification under a different Class definition if discovery

 and further investigation reveal that the Class should be expanded or otherwise

 modified.

       323. Numerosity: Although the exact number of Class Members is

 uncertain and can only be ascertained through appropriate discovery, the number is

 great enough such that joinder is impracticable. The disposition of the claims of these

 Class Members in a single action will provide substantial benefits to all parties and

 to the Court. The Class Members are readily identifiable from information and

 records in GM’s possession, custody, or control, as well as from records kept by the

 Department of Motor Vehicles.

       324. Typicality: Plaintiffs’ claims are typical of the claims of the Class in

 that Plaintiffs, like all Class Members, purchased a Class Vehicle designed,

 manufactured, and distributed by GM, and equipped with the defective GM 8L45 or

 8L90 transmissions. The representative Plaintiffs, like all Class Members, have been



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 damaged by GM’s misconduct in that they have overpaid for Class Vehicles that

 would be priced lower had consumers and competitors knew of the Shift Defect;

 they have purchased vehicles of diminished value due to the Shift Defect; they did

 not receive the benefit of their bargain, as GM’s own service proposals recognize.

 Furthermore, the factual bases of GM’s misconduct are common to all Class

 Members and represent a common thread resulting in injury to the Class as a whole.

       325. Commonality: There are numerous questions of law and fact common

 to Plaintiffs and the Class that predominate over any question affecting only

 individual Class Members. These common legal and factual issues include the

 following:

       (a)    Whether Class Vehicles contain defects relating to the GM 8L45 or

 8L90 Transmission;

       (b)    Whether the defects relating to the GM 8L45 or 8L90 Transmission

 constitute an unreasonable safety risk;

       (c)    Whether the defective nature of the GM 8L45 or 8L90 Transmission

 constitutes a material fact;

       (d)    Whether Defendant has a duty to disclose the defective nature of the

 GM 8L45 or 8L90 Transmission to Plaintiffs and Class Members;

       (e)    Whether Defendant knew or reasonably should have known of the

 defects relating to the GM 8L45 or 8L90 Transmission before it sold Class Vehicles



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 to Plaintiffs and Class Members and, if so, how long Defendant has known of the

 defect;

       (f)    Whether Defendant breached the implied warranty of merchantability

 pursuant to the laws of the Class Jurisdictions; and

       (g)    Whether Defendant breached express warranties pursuant to the laws

 of the Class Jurisdictions.

       (h)    Whether and how much Defendant’s misconduct and the Shift Defect

 have inflicted economic harm upon purchasers of the Class Vehicles.;

       326. Adequate Representation:           Plaintiffs will fairly and adequately

 protect the interests of the Class Members. Plaintiffs have retained attorneys

 experienced in the prosecution of class actions, including consumer and product

 defect class actions, and Plaintiffs intend to prosecute this action vigorously.

       327. Predominance and Superiority: Plaintiffs and the Class Members

 have all suffered and will continue to suffer harm and damages as a result of GM’s

 unlawful and wrongful conduct. A class action is superior to other available methods

 for the fair and efficient adjudication of the controversy. Absent a class action, most

 Class Members would likely find the cost of litigating their claims prohibitively high

 and would therefore have no effective remedy at law. Because of the relatively small

 size of the individual Class Members’ claims, it is likely that only a few Class

 Members could afford to seek legal redress for GM’s misconduct. Absent a class



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 action, Class Members will continue to incur damages, and GM’s misconduct will

 continue without remedy. Class treatment of common questions of law and fact

 would also be a superior method to multiple individual actions or piecemeal

 litigation in that class treatment will conserve the resources of the courts and the

 litigants and will promote consistency and efficiency of adjudication.

       328. This action is also certifiable under the provisions of Fed. R. Civ. Proc.

 23(b)(2) because GM has acted or refused to act on grounds generally applicable to

 the Class, thereby making appropriate final injunctive relief or corresponding

 declaratory relief with respect to the Class as a whole and necessitating that any such

 relief be extended to members of the Class on a mandatory, class-wide basis.

       329. In the alternative, the common issues regarding GM’s liability and the

 existence of the Shift Defect can be decided class-wide under Rule 23(c)(4).

       330. Plaintiffs are not aware of any difficulty which will be encountered in

 the management of this litigation which should preclude its maintenance as a class

 action.

              TOLLING OF THE STATUTES OF LIMITATIONS

 A.    Fraudulent Concealment

       331. As previously described, any applicable statute(s) of limitations has

 been tolled by GM's knowing and active concealment and denial of the facts alleged




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 herein. Plaintiffs and members of the Class could not have reasonably discovered

 the nature of the Shift Defect prior to this class action litigation being commenced.

       332. GM was and remains under the continuing duty to disclose to Plaintiffs

 and members of the Class the true character, quality and nature of the Class Vehicles,

 and it will require costly repairs, poses a safety concern, and diminished the resale

 value of the Class Vehicles. As a result of the active concealment by GM, any and

 all applicable statutes of limitations otherwise applicable to the allegations herein

 have been tolled.

       333. GM has known of the Shift Defect in the Class Vehicles since at least

 2014, and has concealed from, or failed to, notify Plaintiffs, Class Members, and the

 public of the full and complete nature of the Shift Defect, even when directly asked

 about it by Plaintiffs and Class Members during communications with GM, GM

 Customer Assistance, GM dealerships, and GM service centers. GM continues to

 conceal the Shift Defect to this day.

 B.    Estoppel

       334. GM was, and is, under a continuous duty to disclose to Plaintiffs and

 Class members the true character, quality, and nature of the Class Vehicles. GM

 actively concealed—and continues to conceal—the true character, quality, and

 nature of the Class Vehicles and knowingly made representations about the quality

 and durability of the Vehicles. Plaintiffs and Class Members reasonably relied upon



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 GM's knowing and affirmative representations and/or active concealment of these

 facts. Based on the foregoing, GM is estopped from relying on any statutes of

 limitation in defense of this action.

 C.     Discovery Rule

        335. The causes of action alleged herein did not accrue until Plaintiffs and

 Class Members discovered that their Class Vehicles suffered from the Shift Defect.

 Plaintiffs and the Class Members had no realistic ability to discern that the GM 8L45

 and 8L90 Transmissions in Class Vehicles were defective until (at the earliest) after

 the Shift Defect manifested in their 8L90 and 8L45 transmissions and/or component

 parts failed.

        336. Even then, Plaintiffs and Class Members had no reason to know that

 such manifestations were caused by a defect in the Class Vehicles because of GM's

 active concealment of the Shift Defect. Not only did GM fail to notify Plaintiffs or

 Class members about the Shift Defect, GM, in fact, denied any knowledge of, or

 responsibility for, the Shift Defect when directly asked about it.

        337. Thus, Plaintiffs and Class Members were not reasonably able to

 discover the Shift Defect until after they had purchased the Class Vehicles, despite

 their exercise of due diligence, and their causes of action did not accrue until, at

 earliest, they discovered that the Shift Defect was causing failure in the 8L90 and

 8L45 transmissions of their Vehicles.



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                                CAUSES OF ACTION

     COUNT 1: FRAUDULENT CONCEALMENT UNDER THE EACH
                   SUBCLASS STATE’S COMMON LAW
      338. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       339. Plaintiffs bring this cause of action on behalf of themselves and on

 behalf of the Class, against Defendant.

       340. GM omitted material facts concerning the Class Vehicles.

       341. As described above, GM made material omissions and affirmative

 misrepresentations regarding the Class Vehicles.

       342. GM knew these representations were false when made.

       343. The vehicles purchased by Plaintiffs were, in fact, defective, unsafe and

 unreliable, because the Shift Defect in the 8L90 and 8L45 transmissions causes

 unsafe conditions, including, but not limited to, Class Vehicles suddenly lurching

 forward, sudden acceleration, delayed acceleration, and sudden loss of forward

 propulsion. These conditions deprive the purchasers of the benefit of their bargain,

 diminish resale value, and present a safety hazard because they severely affect the

 driver’s ability to control the car’s speed, acceleration, and deceleration.

       344. GM had a duty to disclose that these vehicles were defective, unsafe

 and unreliable, in that the Shift Defect in the 8L90 and 8L45 transmissions causes




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 unsafe conditions, because Plaintiffs relied on GM’s representations that the vehicles

 they were purchasing were safe and free from defects.

       345. The aforementioned omission was material, because if it had been

 disclosed Plaintiffs would not have bought their vehicles.

       346. The aforementioned representations were also material because they

 were facts that would typically be relied on by a person purchasing a new or used

 motor vehicle. GM intentionally made the false statements in order to sell vehicles

 and avoid the expense and public relations nightmare of a recall.

       347. Plaintiffs relied on GM’s reputation-along with their failure to disclose

 the Shift Defect and GM’s affirmative assurances that their vehicles were safe and

 reliable and other similar false statements—in purchasing the Class Vehicles.

       348. GM had a duty to disclose the true facts about the Class Vehicles

 because they were known and/or accessible only to GM who had superior knowledge

 and access to the facts, and the facts were not known to or reasonably discoverable

 by Plaintiffs and the Class. As stated above, these omitted and concealed facts were

 material because they directly impact the safety, reliability and value of the Class

 Vehicles. Whether a manufacturer’s products are safe and reliable, and whether that

 manufacturer stands behind its products, is of material concern to a reasonable

 consumer.




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     COUNT 2: VIOLATION OF CALIFNORNIA CONSUMER LEGAL
          REMEDIES ACT CAL. CIV. CODE § 1750, ET SEQ.

       349. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       350. Juan Castenada (“California Plaintiff”) brings this cause of action on

 his own behalf and on behalf of the California Class.

       351. Defendant is a “person” as defined by California Civil Code § 1761(c).

       352. California Plaintiff and members of the California Class are

 “consumers” within the meaning of California Civil Code § 1761(d) because they

 purchased their Class Vehicles primarily for personal, family, or household use in

 California.

       353. By failing to disclose and concealing the defective nature of the

 transmissions from California Plaintiff and California Class Members, Defendant

 violated California Civil Code § 1770(a), as it represented that the Class Vehicles

 and their transmissions had characteristics and benefits that they do not have and

 represented that the Class Vehicles and their transmissions were of a particular

 standard, quality, or grade when they were of another. See Cal. Civ. Code §§

 1770(a)(5) & (7).

       354. Defendant’s unfair and deceptive acts or practices occurred repeatedly

 in Defendant’s trade or business, were capable of deceiving a substantial portion of

 the purchasing public and imposed a serious safety risk on the public.


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       355. Defendant knew that the Class Vehicles and their transmissions

 suffered from an inherent defect, were defectively designed or manufactured, and

 were not suitable for their intended use.

       356. Because of their reliance on Defendant’s omissions, owners of the Class

 Vehicles, including California Plaintiff and California Class Members, suffered an

 ascertainable loss of money, property, and/or value of their Class Vehicles.

 Additionally, because of the Shift Defect, California Plaintiff and California Class

 Members were harmed and suffered actual damages including economic damages at

 the point of sale and diminution of value of their Class Vehicles, and costs for repair.

       357. Defendant was under a duty to California Plaintiff and California Class

 Members to disclose the defective nature of the transmissions and/or the associated

 repair costs because:

       (a)    Defendant was in a superior position to know the true state of facts

 about the safety defect in the Class Vehicles’ transmissions;

       (b)    California Plaintiff and California Class Members could not reasonably

 have been expected to learn or discover that their transmissions had a dangerous

 safety defect until it manifested; and

       (c)    Defendant knew that Plaintiff and Class Members could not reasonably

 have been expected to learn of or discover the Shift Defect.




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       358. In failing to disclose the defective nature of transmissions, Defendant

 knowingly and intentionally concealed material facts and breached its duty not to do

 so.

       359. The facts Defendant concealed from or failed to disclose to California

 Plaintiff and California Class Members are material in that a reasonable consumer

 would have considered them to be important in deciding whether to purchase the

 Class Vehicles or pay less. Had California Plaintiff and California Class Members

 known that the Class Vehicles’ transmissions were defective, they would not have

 purchased the Class Vehicles or would have paid less for them.

       360. California Plaintiff and California Class Members are reasonable

 consumers who do not expect the transmissions installed in their vehicles to exhibit

 problems such as the Shift Defect. This is the reasonable and objective consumer

 expectation relating to a vehicle’s transmissions.

       361. Because of Defendant’s conduct, California Plaintiff and California

 Class Members were harmed and suffered actual damages in that, on information

 and belief, the Class Vehicles experienced and will continue to experience problems

 such as the Shift Defect.

       362. As a direct and proximate result of Defendant’s unfair or deceptive acts

 or practices, California Plaintiff and California Class Members suffered and will

 continue to suffer actual damages.



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       363. California Plaintiff and California Class Members provided Defendant

 with notice of its violations of the CLRA pursuant to California Civil Code §

 1782(a). Defendant has failed to provide appropriate relief for its violations of the

 CLRA within 30 days, California Plaintiff now seeks monetary, compensatory, and

 punitive damages.

  COUNT 3: VIOLATION OF CALIFORNIA BUS. & PROF. CODE, §17200
                          ET SEQ.

       364. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       365. California Plaintiff brings this cause of action on his own behalf and on

 behalf of the members of the California Class.

       366. Because of their reliance on Defendant’s omissions, owners of the Class

 Vehicles, including California Plaintiff and California Class Members, suffered an

 ascertainable loss of money, property, and/or value of their Class Vehicles.

 Additionally, because of the Shift Defect, California Plaintiff and California Class

 Members were harmed and suffered actual damages including economic damages at

 the point of sale and diminution of value of their Class Vehicles, and costs of repair.

       367. California Business & Professions Code § 17200 prohibits acts of

 “unfair competition,” including any “unlawful, unfair or fraudulent business act or

 practice” and “unfair, deceptive, untrue or misleading advertising.”




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       368. California Plaintiff and California Class Members are reasonable

 consumers who do not expect their transmissions to be defective.

       369. Defendant knew the Class Vehicles and their transmissions were

 defectively designed or manufactured, would fail prematurely, and were not suitable

 for their intended use.

       370. In failing to disclose the Shift Defect, Defendant has knowingly and

 intentionally concealed material facts and breached its duty not to do so.

       371. Defendant was under a duty to California Plaintiff and California Class

 Members to disclose the defective nature of the Class Vehicles and their

 transmissions because:

       (a)    Defendant was in a superior position to know the true state of facts

 about the safety defect in the Class Vehicles’ transmissions; and

       (b)    Defendant actively concealed the defective nature of the Class Vehicles

 and their transmissions from California Plaintiff and California Class Members.

       372. The facts Defendant concealed from or failed to disclose to California

 Plaintiff and California Class Members are material in that a reasonable person

 would have considered them to be important in deciding whether to purchase Class

 Vehicles. Had they known of the Shift Defect, California Plaintiff and California

 Class Members would have paid less for Class Vehicles equipped with the subject

 transmissions or would not have purchased them at all.



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       373. Defendant continued to conceal the defective nature of the Class

 Vehicles and their transmissions even after Class Members began to report

 problems.

       374. Defendant’s conduct was and is likely to deceive consumers.

       375. Defendant’s acts, conduct, and practices were unlawful, in that they

 constituted:

       (a)      Violations of California’s Consumers Legal Remedies Act;

       (b)      Violations of the Song-Beverly Consumer Warranty Act;

       (c)      Violations of the Magnuson-Moss Warranty Act; and

       (d)      Breach of Express Warranty under California Commercial Code

 section 2313.

       376. By its conduct, Defendant has engaged in unfair competition and

 unlawful, unfair, and fraudulent business practices.

       377. Defendant’s unfair or deceptive acts or practices occurred repeatedly in

 Defendant’s trade or business and were capable of deceiving a substantial portion of

 the purchasing public.

       378. As a direct and proximate result of Defendant’s unfair and deceptive

 practices, California Plaintiff and California Class Members have suffered and will

 continue to suffer actual damages.




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       379. Defendant has been unjustly enriched and should be required to make

 restitution to California Plaintiff and California Class Members to §§ 17203 and

 17204 of the Business & Professions Code.

   COUNT 4: BREACH OF IMPLIED WARARNTY PURSUANT TO THE
   SONG-BEVERLY CONSUMER WARRANTY ACTCAL. CIV. CODE §§
                   1792 AND 1791.1, ET SEQ.

       380. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       381. California Plaintiff brings this cause of action on his own behalf and on

 behalf of the members of the California Class.

       382. California Plaintiff and the California Class Members are “buyers”

 within the meaning of Cal. Civ. Code § 1791(b).

       383. GM is and was at all relevant times a “manufacturer” within the

 meaning of Cal. Civ. Code § 1791(j).

       384. The Class Vehicles are and were at all relevant times “are “consumer

 goods” within the meaning of Cal. Civ. Code § 1791(a).

       385. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under Cal.

 Civ. Code §§ 1791.1(a) & 1792.

       386. GM knew or had reason to know of the specific use for which the Class

 Vehicles were purchased. GM directly sold and marketed vehicles equipped with the



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 8L90 and 8L45 transmissions to customers through authorized dealers, like those

 from whom California Plaintiff and the California Class Members bought their

 vehicles, for the intended purpose of consumers purchasing the vehicles. GM knew

 that the Class Vehicles would and did pass unchanged from the authorized dealers

 to California Plaintiff and the California Class Members, with no modification to the

 defective transmissions.

       387. GM provided California Plaintiff and California Class Members with

 an implied warranty that the Class Vehicles and their components and parts are

 merchantable and fit for the ordinary purposes for which they were sold.

       388. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles and their transmissions that were manufactured, supplied,

 distributed, and/or sold by GM were safe and reliable for providing transportation;

 and (ii) a warranty that the Class Vehicles and their transmissions would be fit for

 their intended use while the Class Vehicles were being operated.

       389. Contrary to the applicable implied warranties, the Class Vehicles and

 their transmissions at the time of sale and thereafter were not fit for their ordinary

 and intended purpose of providing California Plaintiff and California Class Members

 with reliable, durable, and safe transportation. Instead, the Class Vehicles are

 defective, including, but not limited to, the defective design or manufacture of their




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 transmissions and the existence of the Shift Defect at the time of sale or thereafter.

 GM knew of this defect at the time these sales occurred.

       390. GM also knew since 2018 when it budgeted for a Gen 2 program, that

 there was no satisfactory fix that would preclude purchasers from experiencing the

 Shift Defect.

       391. As a result of GM’s breach of the applicable implied warranties,

 California Plaintiff and the California Class Members of the Class Vehicles suffered

 an ascertainable loss of money, property, and/or value of their Class Vehicles.

 Additionally, as a result of the Shift Defect, California Plaintiff and the California

 Class Members were harmed and suffered actual damages including economic

 damages at the point of sale and diminution of value of their Class Vehicles, and

 costs of repair.

       392. GM’s actions, as complained of herein, breached the implied warranty

 that the Class Vehicles were of merchantable quality and fit for such use in violation

 of violation of California Civil Code §§ 1792 and 1791.1.

       393. California Plaintiff and the California Class Members have complied

 with all obligations under the warranty, or otherwise have been excused from

 performance of said obligations as a result of GM’s conduct described herein.

       394. California Plaintiff and the California Class Members were not required

 to notify GM of the breach because affording GM a reasonable opportunity to cure



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 its breach of written warranty would have been futile. GM was also on notice of the

 Shift Defect from the complaints and service requests it received from California

 Plaintiff and the California Class Members, from repairs and/or replacements of the

 transmissions or components thereof, and through other internal sources.

       395. Nonetheless, California Plaintiff and members of the California Class

 provided notice to GM of the breach of implied warranties when they repeatedly

 took their vehicles to an authorized GM dealership and requested warranty repairs.

 California Plaintiff also provided GM with notice by letter dated February 17, 2022.

       396. Because California Plaintiff purchased his vehicle from an authorized

 GM dealership, he is in privity with Defendant. California Plaintiff and the members

 of the California Class have had sufficient direct dealings with GM and its agents

 (dealerships and customer support personnel) to establish privity of contract between

 GM, on one hand, and California Plaintiff and the members of the California Class,

 on the other hand. Furthermore, GM provided warranties directly to California

 Plaintiff and the members of the California Class and California Plaintiff and the

 members of the California Class are the intended beneficiaries of GM's express and

 implied warranties. The dealers were not intended to be the ultimate consumers of

 their vehicles and have no rights under the warranty agreements provided with

 provided with the Class Vehicles; the warranty agreements were designed for and

 intended to benefit the consumer only.



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       397. Nonetheless, privity is not required here because California Plaintiff

 and the members of the California Class are the intended third-party beneficiaries of

 contracts between GM and its dealerships. These contracts give the dealerships the

 right to sell GM vehicles, as well as service and perform warranty repairs on GM's

 behalf. California Plaintiff and the members of the California Class are the

 beneficiaries of these contracts, because they are the intended end-consumers and

 users of the products GM distributes to its authorized dealerships.

       398. As a direct and proximate cause of GM’s breach, California Plaintiff

 and California Class Members suffered damages and continue to suffer damages,

 including economic damages at the point of sale and diminution of value of their

 Class Vehicles, and costs for repair.

       399. As a direct and proximate result of GM’s breach of the implied

 warranty of merchantability, California Plaintiff and California Class Members have

 been damaged in an amount to be proven at trial.

  COUNT 5: BREACH OF EXPRESS WARRANTY, CAL. COM. CODE §§
                       2313 AND 10210

       400. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       401. California Plaintiff brings this cause of action on his own behalf and on

 behalf of the members of the California Class.




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        402. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under Cal. Com. Code §§ 2104(1) and 10103(c), and a “seller” of motor

 vehicles under § 2103(1)(d).

        403. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of Cal. Com. Code §§ 2105(1) and 10103(a)(8).

        404. GM provided all purchasers of the Class Vehicles with the express

 warranty described herein, which became a material part of the bargain.

 Accordingly, GM's express warranty is an express warranty under California state

 law.

        405. GM      provided    all   purchasers   of   Class    Vehicles    with   the

 Chevrolet/GMC/Cadillac Warranties.

        406. Under the Warranties, GM expressly warranted the following: “The

 warranty covers repairs to correct any vehicle defect, not slight noise, vibrations, or

 other normal characteristics of the vehicle due to materials or workmanship

 occurring during the warranty period.” Accordingly, the warranty covered all defects

 except for “slight noise, vibrations, or other normal characteristics of the vehicle due

 to materials or workmanship occurring during the warranty period.” Because the

 Shift Defect does not fall into any of the above excluded categories, it is covered

 under GM’s express warranties, which provide such repairs “including towing, parts,

 and labor . . . at no charge” for up to 3 years or 36,000 miles for the Chevrolet or



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 GMC-brand vehicles, or 4 years or 50,000 miles for the Cadillac-brand vehicles (the

 “Bumper-to-Bumper Limited Warranties”).

       407. Furthermore, under the Powertrain Component of the Warranties, GM

 expressly warranted that the powertrain components listed therein, including the

 transmission and “all internally lubricated parts, case, torque converter, mounts,

 seals, and gaskets as well as any electrical components internal to the transmission/

 transaxle” and “any actuators directly connected to the transmission (slave cylinder,

 etc.)” are covered under the Warranties for up to 5 years or 60,000 miles for the

 Chevrolet or GMC brand vehicles, or 6 years or 70,000 miles for the Cadillac-brand

 vehicles (the “Powertrain Warranties”).

       408. GM manufactured and/or installed the 8L90 and 8L45 transmissions

 and the transmissions’ component parts in the Class Vehicles, and the 8L90 and

 8L45 transmissions and their component parts are covered by the express

 Warranties.

       409. The Shift Defect at issue in this litigation was present at the time the

 Class Vehicles were sold to California Plaintiff and California Class Members.

       410. California Plaintiff and California Class Members relied on GM’s

 express warranties, which were a material part of the bargain, when purchasing or

 leasing their Class Vehicles.




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       411. Further, California Plaintiff and members of the California Class

 experienced defects within the warranty period. Despite the existence of the

 warranties, Defendant failed to inform California Plaintiff and members of the

 California Class that the Class Vehicles were equipped with defective transmissions

 and related components. When providing repairs under the express warranty, these

 repairs were ineffective and incomplete and did not provide a permanent repair for

 the Shift Defect.

       412. Under the express Warranties, GM was obligated to correct the Shift

 Defect in the vehicles owned by California Plaintiff and California Class Members.

       413. Although GM was obligated to correct the Shift Defect, none of the

 attempted fixes to the transmissions are adequate under the terms of the Warranties,

 as they did not cure the defect.

       414. In fact, GM has known since 2018 when it budgeted for a Gen 2

 program for the 8L transmissions, that there was no satisfactory fix that would

 preclude purchasers from experiencing the Shift Defect.

       415. GM breached the express Warranties by performing illusory repairs.

 Rather than repairing the vehicles pursuant to the express Warranties, GM falsely

 informed Class Members that there was no problem with their Class Vehicles,

 performed ineffective procedures including software updates, and/or replaced




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 defective components in the 8L90 and 8L45 transmissions with equally defective

 components, without actually repairing the Class Vehicles.

        416. GM and its agent dealers have failed and refused to conform the 8L90

 and 8L45 transmissions to the express Warranties. GM’s conduct, as discussed

 throughout this Complaint, has voided any attempt on its part to disclaim liability

 for its actions.

        417. Because California Plaintiff purchased his vehicles from an authorized

 GM dealership, they are in privity with Defendant. California Plaintiff and the

 members of the California Class have had sufficient direct dealings with GM and its

 agents (dealerships and customer support personnel) to establish privity of contract

 between GM, on one hand, and California Plaintiff and the members of the

 California Class, on the other hand. Furthermore, GM provided warranties directly

 to California Plaintiff and the members of the California Class and California

 Plaintiff and the members of the California Class are the intended beneficiaries of

 GM's express and implied warranties. The dealers were not intended to be the

 ultimate consumers of their vehicles and have no rights under the warranty

 agreements provided with provided with the Class Vehicles; the warranty

 agreements were designed for and intended to benefit the consumer only.

        418. Nonetheless, privity is not required here because California Plaintiff

 and the members of the California Class are the intended third-party beneficiaries of



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 contracts between GM and its dealerships. These contracts give the dealerships the

 right to sell GM brand vehicles, as well as service and perform warranty repairs on

 GM's behalf. California Plaintiff and the members of the California Class are the

 beneficiaries of these contracts, because they are the intended end-consumers and

 users of the products GM distributes to its authorized dealerships.

       419. Any attempt by GM to disclaim or limit recovery to the terms of the

 express warranty is unconscionable and unenforceable here. Specifically, the

 warranty limitation is unenforceable because GM knowingly sold defective products

 without informing consumers about the Shift Defect. The time limits are

 unconscionable and inadequate to protect California Plaintiff and the members of

 the California Class. Among other things, California Plaintiff and members of the

 California Class did not determine these time limitations and/or did not know of

 other limitations not appearing in the text of the warranties, the terms of which were

 drafted by GM and unreasonable favored GM. A gross disparity in bargaining power

 and knowledge of the extent, severity, and safety risk of the Shift Defect existed

 between GM and members of the Class.

       420. California Plaintiff and California Class Members have complied with

 all obligations under the Warranties, or otherwise have been excused from

 performance of said obligations as a result of GM’s conduct described herein.




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       421. California Plaintiff and California Class Members were not required to

 notify GM of the breach because affording GM a reasonable opportunity to cure its

 breach of written warranty would have been futile. GM was also on notice of the

 Shift Defect from the complaints and service requests it received from Plaintiff and

 the Class Members, from repairs and/or replacements of the transmissions or

 components thereof, and through other internal and external sources.

       422. Nonetheless, California Plaintiff provided notice to GM of the breach

 of express warranties when they repeatedly took their vehicles to an authorized GM

 dealership and requested warranty repairs. California Plaintiff also provided GM

 with notice by letter dated February 17, 2022.

       423. Because GM, through its conduct and exemplified by its own service

 bulletins, has covered repairs of the Shift Defect if GM determines the repairs are

 appropriately covered under the Warranties, GM cannot now deny that the

 Warranties cover the Shift Defect.

       424. Because GM has not been able to remedy the Shift Defect, any

 limitation on remedies included in the Warranties causes the Warranties to fail their

 essential purposes, rendering them null and void.

       425. As a direct and proximate cause of GM’s breach, California Plaintiff

 and California Class Members suffered damages and continue to suffer damages,

 including economic damages at the point of sale and diminution of value of their



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 Class Vehicles. Additionally, California Plaintiff and California Class Members

 have incurred or will incur economic damages at the point of repair in the form of

 the cost of repair.

        426. California Plaintiff and California Class Members have been damaged

 in an amount to be determined at trial. Plaintiff and the other Class Members are

 entitled to legal and equitable relief against GM, including actual damages,

 consequential damages, specific performance, attorneys’ fees, costs of suit, and other

 relief as appropriate.

  COUNT 6: BREACH OF EXPRESS WARRANTY, IND. CODE §§ 26-1-2-
                     313 AND 26-1-2.1-210

        427. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

        428. Plaintiff Gribble (“Indiana Plaintiff”) brings this cause of action on

 behalf of himself and on behalf of members of the Indiana Class.

        429. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under IND. CODE §§ 26-1-2-104(1) and 26-1-2.1-103(3), and a “seller” of

 motor vehicles under § 26-1-2-103(1)(d).

        430. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of IND. CODE §§ 26-1-2-105(1) and 26-1-2.1-103(1)(h).

        431. GM provided all purchasers of the Class Vehicles with the express

 warranty described herein, which became a material part of the bargain.


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       432. GM provided all purchasers of Cadillac-branded Class Vehicles with

 the Cadillac Warranty and all purchasers and lessees of Chevrolet or GM-branded

 Class Vehicles with the Chevrolet/GM Warranty.

       433. Under the Warranties, GM expressly warranted the following: “The

 warranty covers repairs to correct any vehicle defect, not slight noise, vibrations, or

 other normal characteristics of the vehicle due to materials or workmanship

 occurring during the warranty period.” Accordingly, the warranty covered all defects

 except for “slight noise, vibrations, or other normal characteristics of the vehicle due

 to materials or workmanship occurring during the warranty period.” Because the

 Transmission Defect does not fall into any of the above excluded categories, it is

 covered under GM’s express warranty. GM agreed to provide such repairs

 “including towing, parts, and labor . . . at no charge” for up to 3 years or 36,000

 miles, whichever comes first, for Chevrolet or GM-branded Class Vehicles and for

 up to 4 years or 50,000 miles, whichever comes first, for Cadillac-branded Class

 Vehicles (the “Bumper-to-Bumper Limited Warranties”).

       434. Furthermore, under the Powertrain Component of the Warranties, GMC

 expressly warranted that the powertrain components listed therein, including the

 transmission and “all internally lubricated parts, case, torque converter, mounts,

 seals, and gaskets as well as any electrical components internal to the transmission/

 transaxle” and “any actuators directly connected to the transmission (slave cylinder,



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 etc.)” are covered under the Warranties for up to 5 years or 60,000 miles, whichever

 comes first, for Chevrolet or GM-branded Class Vehicles, and for up to 6 years or

 70,000 miles, whichever comes first, for Cadillac-branded Class Vehicles (the

 “Powertrain Warranties”).

       435. GM manufactured and/or installed the 8L90 and 8L45 transmissions

 and the transmissions’ component parts in the Class Vehicles, and the 8L90 and

 8L45 transmissions and their component parts are covered by the express

 Warranties.

       436. The Shift Defect at issue in this litigation was present at the time the

 Class Vehicles were sold to Indiana Plaintiff and the Indiana Class Members.

       437. Plaintiff relied on GM’s express warranties, which were a material part

 of the bargain, when purchasing his Class Vehicle.

       438. Further, Plaintiff and members of the Indiana Class experienced defects

 within the warranty period. Despite the existence of the warranties, Defendant failed

 to inform Indiana Plaintiffs and members of the Indiana Class that the Class Vehicles

 were equipped with defective transmissions and related components. When

 providing repairs under the express warranty, these repairs were ineffective and

 incomplete and did not provide a permanent repair for the Shift Defect.




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        439. Under the express Warranties, GM was obligated to correct the Shift

 Defect in the vehicles owned or leased by Indiana Plaintiff and the Indiana Sub-

 Class Members.

        440. Although GM was obligated to correct the Shift Defect, none of the

 attempted fixes to the transmissions are adequate under the terms of the Warranties,

 as they did not cure the defect.

        441. In fact, GM has known since 2018 when it budgeted for a Gen 2

 program for the 8L transmissions, that there was no satisfactory fix that would

 preclude purchasers from experiencing the Shift Defect.

        442. GM breached the express warranties by performing illusory repairs or

 none at all. Rather than repairing the vehicles pursuant to the express Warranties,

 GM falsely informed Indiana Sub-Class Members that there was no problem with

 their Class Vehicles, performed ineffective procedures including software updates,

 and/or replaced defective components in the 8L90 and 8L45 transmissions with

 equally defective components, without actually repairing the Class Vehicles.

        443. GM and its agent dealers have failed and refused to conform the 8L90

 and 8L45 transmissions to the express Warranties. GM’s conduct, as discussed

 throughout this Complaint, has voided any attempt on its part to disclaim liability

 for its actions.




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       444. Because Indiana Plaintiff purchased his vehicle from an authorized GM

 dealership, he is in privity with Defendant. Indiana Plaintiffs and the members of the

 Indiana Class have had sufficient direct dealings with GM and its agents (dealerships

 and customer support personnel) to establish privity of contract between GM, on one

 hand, and Indiana Plaintiff and the members of the Indiana Class, on the other hand.

 Furthermore, GM provided warranties directly to Indiana Plaintiff and the members

 of the Indiana Class and Indiana Plaintiff and the members of the Indiana Class are

 the intended beneficiaries of GM's express and implied warranties. The dealers were

 not intended to be the ultimate consumers of their vehicles and have no rights under

 the warranty agreements provided with provided with the Class Vehicles; the

 warranty agreements were designed for and intended to benefit the consumer only.

       445. Nonetheless, privity is not required here because Indiana Plaintiff and

 the members of the Indiana Class are the intended third-party beneficiaries of

 contracts between GM and its dealerships. These contracts give the dealerships the

 right to sell GM brand vehicles, as well as service and perform warranty repairs on

 GM's behalf. Indiana Plaintiff and the members of the Indiana Class are the

 beneficiaries of these contracts, because they are the intended end-consumers and

 users of the products GM distributes to its authorized dealerships.

       446. Any attempt by GM to disclaim or limit recovery to the terms of the

 express warranty is unconscionable and unenforceable here. Specifically, the



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 warranty limitation is unenforceable because GM knowingly sold defective products

 without informing consumers about the Shift Defect. The time limits are

 unconscionable and inadequate to protect Indiana Plaintiff and the members of the

 Indiana Class. Among other things, Indiana Plaintiff and members of the Indiana

 Class did not determine these time limitations and/or did not know of other

 limitations not appearing in the text of the warranties, the terms of which were

 drafted by GM and unreasonable favored GM. A gross disparity in bargaining power

 and knowledge of the extent, severity, and safety risk of the Shift Defect existed

 between GM and members of the Class.

       447. Indiana Plaintiff and the Indiana Class Members have complied with

 all obligations under the Warranties, or otherwise have been excused from

 performance of said obligations as a result of GM’s conduct described herein.

       448. Because GM, through its conduct and exemplified by its own service

 bulletins, has covered repairs of the Shift Defect if GM determines the repairs are

 appropriately covered under the Warranties, GM cannot now deny that the

 Warranties cover the Shift Defect.

       449. Because GM has not been able to remedy the Shift Defect, any

 limitation on remedies included in the Warranties causes the Warranties to fail their

 essential purposes because the contractual remedy is insufficient to make Indiana

 Plaintiff and Indiana Class Members whole, rendering them null and void.



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        450. Indiana Plaintiff and the Indiana Class Members were not required to

 notify GM of the breach because affording GM a reasonable opportunity to cure its

 breach of written warranty would have been futile. GM was also on notice of the

 Shift Defect from the complaints and service requests it received from Class

 Members, including those formal complaints submitted to NHTSA, and through

 other internal sources.

        451. Nonetheless, Indiana Plaintiff provided notice to GM of the breach of

 express warranties when he took his vehicle in for servicing and via letter on March

 8, 2022.

        452. As a direct and proximate cause of GM’s breach, Indiana Plaintiff and

 the Indiana Sub-Class Members suffered damages and continue to suffer damages,

 including economic damages at the point of sale or lease and diminution of value of

 their Class Vehicles. Additionally, Indiana Plaintiff and the Indiana Class Members

 have incurred or will incur economic damages at the point of repair in the form of

 the cost of repair.

        453. As a direct and proximate result of GM’s breach of express warranties,

 Indiana Plaintiff and the Indiana Class Members have been damaged in an amount

 to be determined at trial.




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        COUNT 7: BREACH OF THE IMPLIED WARRANTY OF
      MERCHANTABILITY IND. CODE §§ 26-1-2-314 AND 26-1-2.1-212

       454. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       455. Indiana Plaintiff brings this cause of action on his own behalf and on

 behalf of the members of the Indiana Class.

       456. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under IND. CODE §§ 26-1-2-104(1) and 26-1-2.1-103(3), and a “seller” of

 motor vehicles under § 26-1-2-103(1)(d).

       457. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of IND. CODE §§ 26-1-2-105(1) and 26-1-2.1-103(1)(h).

       458. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under IND.

 CODE § 26-1-2-314 and 26-1-2.1-212.

       459. GM knew or had reason to know of the specific use for which the Class

 Vehicles were purchased or leased. GM directly sold and marketed vehicles

 equipped with the 8L90 and 8L45 transmissions to customers through authorized

 dealers, like those from whom Indiana Plaintiff and the Indiana Class Members

 bought their vehicles, for the intended purpose of consumers purchasing the

 vehicles. GM knew that the Class Vehicles would and did pass unchanged from the




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 authorized dealers to Indiana Plaintiff and the Indiana Class Members, with no

 modification to the defective transmissions.

       460. GM provided Indiana Plaintiff and Class Members with an implied

 warranty that the Class Vehicles and their components and parts are merchantable

 and fit for the ordinary purposes for which they were sold.

       461. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles and their transmissions that were manufactured, supplied,

 distributed, and/or sold by GM were safe and reliable for providing transportation;

 and (ii) a warranty that the Class Vehicles and their transmissions would be fit for

 their intended use while the Class Vehicles were being operated.

       462. Contrary to the applicable implied warranties, the Class Vehicles and

 their transmissions at the time of sale and thereafter were not fit for their ordinary

 and intended purpose of providing Plaintiff and Class Members with reliable,

 durable, and safe transportation. Instead, the Class Vehicles are defective, including,

 but not limited to, the defective design or manufacture of their transmissions and the

 existence of the Shift Defect at the time of sale or lease and thereafter. GM knew of

 this defect at the time these sale or lease transactions occurred.

       463. As a direct and proximate cause of GM’s breach, Indiana Plaintiff and

 the Indiana Class Members suffered damages and continue to suffer damages,




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 including economic damages at the point of sale and diminution of value of their

 Class Vehicles, and costs for repair.

       464. GM’s actions, as complained of herein, breached the implied warranty

 that the Class Vehicles were of merchantable quality and fit for such use in violation

 of IND. CODE § 26-1-2-314 and 26-1-2.1-212.

       465. Indiana Plaintiff and the Indiana Class Members have complied with

 all obligations under the warranty, or otherwise have been excused from

 performance of said obligations as a result of GM’s conduct described herein.

       466. Indiana Plaintiff and the Indiana Class Members were not required to

 notify GM of the breach because affording GM a reasonable opportunity to cure its

 breach of written warranty would have been futile. GM was also on notice of the

 Shift Defect from the complaints and service requests it received from Plaintiffs and

 the Class Members, from repairs and/or replacements of the transmissions or

 components thereof, and through other internal sources.

       467. Nonetheless, Indiana Plaintiff and members of the Indiana Class

 provided notice to GM of the breach of implied warranties when they repeatedly

 took their vehicles to an authorized GM dealership and requested warranty repairs.

 Indiana Plaintiff also provided GM with notice by letter dated March 8, 2022.

       468. Because Indiana Plaintiff purchased his vehicle from an authorized GM

 dealership, he is in privity with Defendant. Indiana Plaintiff and the members of the



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 Indiana Class have had sufficient direct dealings with GM and its agents (dealerships

 and customer support personnel) to establish privity of contract between GM, on one

 hand, and Indiana Plaintiff and the members of the Indiana Class, on the other hand.

 Furthermore, GM provided warranties directly to Indiana Plaintiff and the members

 of the Indiana Class and Indiana Plaintiff and the members of the Indiana Class are

 the intended beneficiaries of GM's express and implied warranties. The dealers were

 not intended to be the ultimate consumers of their vehicles and have no rights under

 the warranty agreements provided with provided with the Class Vehicles; the

 warranty agreements were designed for and intended to benefit the consumer only.

       469. Nonetheless, privity is not required here because Indiana Plaintiff and

 the members of the Indiana Class are the intended third-party beneficiaries of

 contracts between GM and its dealerships. These contracts give the dealerships the

 right to sell GM vehicles, as well as service and perform warranty repairs on GM's

 behalf. Indiana Plaintiff and the members of the Indiana Class are the beneficiaries

 of these contracts, because they are the intended end-consumers and users of the

 products GM distributes to its authorized dealerships

       470. As a direct and proximate cause of GM’s breach, Indiana Plaintiff and

 members of the Indiana Class suffered damages and continue to suffer damages,

 including economic damages at the point of sale and diminution of value of their

 Class Vehicles, and costs for repair.



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       471. As a direct and proximate result of GM’s breach of the implied

 warranty of merchantability, Indiana Plaintiff and members of the Indiana Class

 have been damaged in an amount to be proven at trial

   COUNT 8: VIOLATION OF MICHIGAN CONSUMER PROTECTION
            ACT, MICH. COMP. LAWS §445.903, ET SEQ.

       472. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       473. Plaintiff Matthew Battle (“Michigan Plaintiff”) brings this claim on

 behalf of himself and the Michigan Class.

       474. The Michigan Consumer Protection Act (“Michigan CPA”) prohibits

 “[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct of

 trade or commerce.” MICH. COMP. LAWS § 445.903(1).

       475. GM engaged in unfair, unconscionable, or deceptive methods, acts or

 practices prohibited by the Michigan CPA, including: (i) “Representing that goods

 or services have … characteristics … that they do not have”; (ii) “Representing that

 goods or services are of a particular standard … if they are of another”; (iii) “Failing

 to reveal a material fact, the omission of which tends to mislead or deceive the

 consumer, and which fact could not reasonably be known by the consumer”; and (iv)

 “Failing to reveal facts that are material to the transaction in light of representations

 of fact made in a positive manner.” MICH. COMP. LAWS § 445.903(1). By failing

 to disclose and actively concealing the Shift Defect, by marketing its Class Vehicles


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 and their transmissions as high quality, durable, and high-performance, and by

 presenting themselves as reputable manufacturers that valued safety and stood

 behind their vehicles after they were sold, GM engaged in deceptive business

 practices prohibited by the Michigan CPA.

       476. In the course of their business, GM violated the Michigan CPA by

 knowingly misrepresenting and/or intentionally concealing material facts regarding

 the Class Vehicles and the existence of the Shift Defect. Specifically, in marketing,

 offering for sale, and selling the defective Class Vehicles, GM engaged in one or

 more of the following unfair or deceptive acts or practices prohibited by MICH.

 COMP. LAWS § 445.903(1):

              A.    representing that the Class Vehicles have characteristics or

       benefits that they do not have;

              B.    representing that the Class Vehicles are of a particular standard

       and quality when they are not; and

              C.    concealing the existence of the Shift Defect and GM’s ability to

       repair the Shift Defect.

       477. GM’s scheme and concealment of the true characteristics of the Class

 Vehicles were material to Plaintiff and the Michigan Class members, and GM

 misrepresented, concealed, or failed to disclose the truth with the intention that

 Plaintiff and the Michigan Class members would rely on the misrepresentations,



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 concealments, and omissions. The facts concealed or not disclosed by Defendant to

 Michigan Plaintiff and the Michigan Class Members are material because a

 reasonable person would have considered them to be important in deciding whether

 to purchase Defendant’s Class Vehicles, or to pay less for them. Whether a vehicle’s

 transmission contains a defect causing lurching forward, sudden acceleration,

 delayed acceleration, and sudden loss of forward propulsion is a material safety

 concern. Had they known the truth, Plaintiff and the Michigan Class members would

 not have purchased the Class Vehicles, or would have paid significantly less for

 them.

         478. Plaintiff and the Michigan Class members had no way of discerning

 that GM's representations were false and misleading, or otherwise learning the facts

 that GM had concealed or failed to disclose.

         479. GM had an ongoing duty to Plaintiff and the Michigan Class members

 to refrain from unfair and deceptive practices under the Michigan CPA in the course

 of its business. Specifically, GM owed Plaintiff and the Michigan Class members a

 duty to disclose all the material facts concerning the Class Vehicles because it

 possessed exclusive knowledge, it intentionally concealed such material facts from

 Plaintiff and the Michigan Class members, and/or they made misrepresentations that

 were rendered misleading because they were contradicted by withheld facts.




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       480. Plaintiff and the Michigan Class members suffered ascertainable loss

 and actual damages as a direct and proximate result of GM’s concealment,

 misrepresentations, and/or failure to disclose material information.

       481. Plaintiff and the Michigan Class seek monetary relief, declaratory

 relief, treble damages, punitive damages, and attorneys’ fees against GM in an

 amount to be determined at trial.

  COUNT 9: BREACH OF IMPLIED WARRANTY, MICH. COMP. LAWS
                         § 440.2314

       482. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       483. Michigan Plaintiff Matthew Battle brings this claim on behalf of

 himself and the Michigan Class.

       484. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under MICH. COMP. LAWS §§ 440.2104(1) and a “seller” of motor vehicles

 under § 440.2103(1)(c).

       485. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of MICH. COMP. LAWS §§ 440.2105(1) and 440.2803(1)(h).

       486. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under

 MICH. COMP. LAWS §§ 440.2314 and 440.2862.




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       487. GM knew or had reason to know of the specific use for which the Class

 Vehicles were purchased. GM directly sold and marketed Class Vehicles to

 customers through authorized dealers, like those from whom Michigan Plaintiff and

 members of the Michigan Class bought their vehicles, for the intended purpose of

 consumers purchasing the vehicles. GM knew that the Class Vehicles would and did

 pass unchanged from the authorized dealers to Michigan Plaintiff and members of

 the Michigan Class, with no modification to the defective Class Vehicles.

       488. GM provided Michigan Plaintiff and members of the Michigan Class

 with an implied warranty that the Class Vehicles and their components and parts are

 merchantable and fit for the ordinary purposes for which they were sold.

       489. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by GM

 were safe and reliable for providing transportation; and (ii) a warranty that the Class

 Vehicles would be fit for their intended use while the Class Vehicles were being

 operated.

       490. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Michigan Plaintiff and Michigan Class Members with reliable, durable,

 and safe transportation. Instead, the Class Vehicles were and are defective at the time




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 of sale and thereafter as more fully described above. GM knew of this defect at the

 time these sale transactions occurred.

       491. As a direct and proximate cause of GM’s breach, Michigan Plaintiff

 and the Michigan Class Members suffered damages and continue to suffer damages,

 including economic damages at the point of sale and diminution of value of their

 Class Vehicles, and costs for repair.

       492. GM’s actions, as complained of herein, breached the implied warranty

 that the Class Vehicles were of merchantable quality and fit for such use in violation

 of the Uniform Commercial Code and Michigan law.

       493. Michigan Plaintiff and members of the Michigan Class have complied

 with all obligations under the warranty, or otherwise have been excused from

 performance of said obligations as a result of GM’s conduct described herein.

       494. Michigan Plaintiff and members of the Michigan Class were not

 required to notify GM of the breach because affording GM a reasonable opportunity

 to cure its breach of warranty would have been futile. GM was also on notice of the

 Shift Defect from the complaints and service requests it received from Michigan

 Plaintiff and the Class Members and through other internal sources.

       495. Nonetheless, Michigan Plaintiff and members of the Michigan Class

 provided notice to GM of the breach of implied warranties when they repeatedly




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 took their vehicles to an authorized GM dealership and requested warranty repairs.

 Michigan Plaintiff also provided GM with notice by letter dated February 17, 2022.

       496. Because Michigan Plaintiff purchased his vehicle from an authorized

 GM dealership, he is in privity with Defendant. Michigan Plaintiff and the members

 of the Michigan Class have had sufficient direct dealings with GM and its agents

 (dealerships and customer support personnel) to establish privity of contract between

 GM, on one hand, and Michigan Plaintiff and the members of the Michigan Class,

 on the other hand. Furthermore, GM provided warranties directly to Michigan

 Plaintiff and the members of the Michigan Class and Michigan Plaintiff and the

 members of the Michigan Class are the intended beneficiaries of GM's express and

 implied warranties. The dealers were not intended to be the ultimate consumers of

 their vehicles and have no rights under the warranty agreements provided with

 provided with the Class Vehicles; the warranty agreements were designed for and

 intended to benefit the consumer only.

       497. Nonetheless, privity is not required here because Michigan Plaintiff and

 the members of the Michigan Class are the intended third-party beneficiaries of

 contracts between GM and its dealerships. These contracts give the dealerships the

 right to sell GM vehicles, as well as service and perform warranty repairs on GM's

 behalf. Michigan Plaintiff and the members of the Michigan Class are the




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 beneficiaries of these contracts, because they are the intended end-consumers and

 users of the products GM distributes to its authorized dealerships.

       498. As a direct and proximate cause of GM’s breach, Michigan Plaintiff

 and members of the Michigan Class suffered damages and continue to suffer

 damages, including economic damages at the point of sale and diminution of value

 of their Class Vehicles, and costs for repair.

       499. As a direct and proximate result of GM’s breach of the implied

 warranty of merchantability, Michigan Plaintiff and members of the Michigan Class

 have been damaged in an amount to be proven at trial.

  COUNT 10: BREACH OF EXPRESS WARRANTY, MICH. COMP. LAWS
                         § 440.2313

       500. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       501. Michigan Plaintiff brings this claim on behalf of himself and the

 Michigan Class.

       502. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under MICH. COMP. LAWS §§ 440.2104(1) and a “seller” of motor vehicles

 under § 440.2103(1)(c).

       503. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of MICH. COMP. LAWS §§ 440.2105(1) and 440.2803(1)(h).




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        504. The 8L90 and 8L45 transmissions were manufactured and/or installed

 in the Class Vehicles by Defendant and are covered by the express warranty.

        505. Defendant provided all purchasers of the Class Vehicles with an

 express warranty described herein, which became a material part of the bargain.

 Accordingly, GM's express warranty is an express warranty under Michigan state

 law.

        506. GM      provided    all   purchasers   of   Class    Vehicles    with   the

 Chevrolet/GMC/Cadillac Warranties.

        507. Under the Warranties, GM expressly warranted the following: “The

 warranty covers repairs to correct any vehicle defect, not slight noise, vibrations, or

 other normal characteristics of the vehicle due to materials or workmanship

 occurring during the warranty period.” Accordingly, the warranty covered all defects

 except for “slight noise, vibrations, or other normal characteristics of the vehicle due

 to materials or workmanship occurring during the warranty period.” Because the

 Shift Defect does not fall into any of the above excluded categories, it is covered

 under GM’s express warranties, which provide such repairs “including towing, parts,

 and labor . . . at no charge” for up to 3 years or 36,000 miles for the Chevrolet or

 GMC-brand vehicles, or 4 years or 50,000 miles for the Cadillac-brand vehicles (the

 “Bumper-to-Bumper Limited Warranties”).




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       508. Furthermore, under the Powertrain Component of the Warranties, GM

 expressly warranted that the powertrain components listed therein, including the

 transmission and “all internally lubricated parts, case, torque converter, mounts,

 seals, and gaskets as well as any electrical components internal to the transmission/

 transaxle” and “any actuators directly connected to the transmission (slave cylinder,

 etc.)” are covered under the Warranties for up to 5 years or 60,000 miles for the

 Chevrolet or GMC brand vehicles, or 6 years or 70,000 miles for the Cadillac-brand

 vehicles (the “Powertrain Warranties”).

       509. GM manufactured and/or installed the 8L90 and 8L45 transmissions

 and the transmissions’ component parts in the Class Vehicles, and the 8L90 and

 8L45 transmissions and their component parts are covered by the express

 Warranties.

       510. The Shift Defect at issue in this litigation was present at the time the

 Class Vehicles were sold to Michigan Plaintiff and the Michigan Class Members.

       511. The Warranty formed the basis of the bargain that was reached when

 Michigan Plaintiff and other members of the Michigan Class purchased their Class

 Vehicles.

       512. Further, Michigan Plaintiff and members of the Michigan Class

 experienced defects within the warranty period. Despite the existence of the

 warranties, Defendant failed to inform Michigan Plaintiff and members of the



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 Michigan Class that the Class Vehicles were equipped with defective transmissions

 and related components. When providing repairs under the express warranty, these

 repairs were ineffective and incomplete and did not provide a permanent repair for

 the Shift Defect.

        513. Under the express Warranties, GM was obligated to correct the Shift

 Defect in the vehicles owned by Michigan Plaintiff and Michigan Class Members.

        514. Although GM was obligated to correct the Shift Defect, none of the

 attempted fixes to the transmissions are adequate under the terms of the Warranties,

 as they did not cure the defect.

        515. GM breached the express Warranties by performing illusory repairs.

 Rather than repairing the vehicles pursuant to the express Warranties, GM falsely

 informed Class Members that there was no problem with their Class Vehicles,

 performed ineffective procedures including software updates, and/or replaced

 defective components in the 8L90 and 8L45 transmissions with equally defective

 components, without actually repairing the Class Vehicles.

        516. GM and its agent dealers have failed and refused to conform the 8L90

 and 8L45 transmissions to the express Warranties. GM’s conduct, as discussed

 throughout this Complaint, has voided any attempt on its part to disclaim liability

 for its actions.




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       517. Because Michigan Plaintiff purchased his vehicle from an authorized

 GM dealership, he is in privity with Defendant. Michigan Plaintiff and the members

 of the Michigan Class have had sufficient direct dealings with GM and its agents

 (dealerships and customer support personnel) to establish privity of contract between

 GM, on one hand, and Michigan Plaintiff and the members of the Michigan Class,

 on the other hand. Furthermore, GM provided warranties directly to Michigan

 Plaintiff and the members of the Michigan Class and Michigan Plaintiff and the

 members of the Michigan Class are the intended beneficiaries of GM's express and

 implied warranties. The dealers were not intended to be the ultimate consumers of

 their vehicles and have no rights under the warranty agreements provided with

 provided with the Class Vehicles; the warranty agreements were designed for and

 intended to benefit the consumer only.

       518. Nonetheless, privity is not required here because Michigan Plaintiff and

 the members of the Michigan Class are the intended third-party beneficiaries of

 contracts between GM and its dealerships. These contracts give the dealerships the

 right to sell GM brand vehicles, as well as service and perform warranty repairs on

 GM's behalf. Michigan Plaintiff and the members of the Michigan Class are the

 beneficiaries of these contracts, because they are the intended end-consumers and

 users of the products GM distributes to its authorized dealerships.




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       519. Any attempt by GM to disclaim or limit recovery to the terms of the

 express warranty is unconscionable and unenforceable here. Specifically, the

 warranty limitation is unenforceable because GM knowingly sold defective products

 without informing consumers about the Shift Defect. The time limits are

 unconscionable and inadequate to protect Michigan Plaintiff and the members of the

 Michigan Class. Among other things, Michigan Plaintiff and members of the

 Michigan Class did not determine these time limitations and/or did not know of other

 limitations not appearing in the text of the warranties, the terms of which were

 drafted by GM and unreasonable favored GM. A gross disparity in bargaining power

 and knowledge of the extent, severity, and safety risk of the Shift Defect existed

 between GM and members of the Class.

       520. Michigan Plaintiff and the Michigan Class Members have complied

 with all obligations under the Warranties, or otherwise have been excused from

 performance of said obligations as a result of GM’s conduct described herein.

       521. Because GM, through its conduct and exemplified by its own service

 bulletins, has covered repairs of the Shift Defect if GM determines the repairs are

 appropriately covered under the Warranties, GM cannot now deny that the

 Warranties cover the Shift Defect.

       522. Because GM has not been able to remedy the Shift Defect, any

 limitation on remedies included in the Warranties causes the Warranties to fail their



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 essential purposes because the contractual remedy is insufficient to make Michigan

 Plaintiff and Michigan Class Members whole, rendering them null and void.

       523. Michigan Plaintiff were not required to notify GM of the breach

 because affording GM a reasonable opportunity to cure its breach of written

 warranty would have been futile. GM was also on notice of the Shift Defect from

 the complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.

       524. Nonetheless, Michigan Plaintiff provided notice to GM of the breach

 of express warranties when he repeatedly took his vehicle to an authorized GM

 dealership and requested warranty repairs. Michigan Plaintiff also provided GM

 with notice by letter dated February 17, 2022.

       525. As a direct and proximate cause of GM’s breach, Michigan Plaintiff

 and Michigan Class Members suffered damages and continue to suffer damages,

 including economic damages at the point of sale and diminution of value of their

 Class Vehicles, and costs for repair..

       526. As a result of GM's breach of the express warranty, Michigan Plaintiff

 and Michigan Class Members are entitled to legal and equitable relief against GM,

 including actual damages, specific performance, attorney's fees, costs of suit, and

 other relief as appropriate.




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  COUNT 11: VIOLATION OF NEW JERSEY CONSUMER FRAUD ACT,
                N.J. STAT. ANN. §§ 56:8-1, ET SEQ.

       527. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       528. Plaintiff David Figueroa (“New Jersey Plaintiff”) brings this count on

 behalf of himself and the New Jersey Class against Defendant.

       529. GM, New Jersey Plaintiff, and the New Jersey Class Members

 “persons” within the meaning of the New Jersey Consumer Fraud Act ("New Jersey

 CFA"), N.J. Stat. Ann. § 56:8-1(d).

       530. GM engaged in “sales” of “merchandise” within the meaning of N.J.

 Stat. Ann. § 56:8-1(c), (d).

       531. The New Jersey CFA makes unlawful “[t]he act, use or employment by

 any person of any unconscionable commercial practice, deception, fraud, false

 pretense, false promise, misrepresentations, or the knowing concealment,

 suppression or omission, in connection with the sale or advertisement of any

 merchandise or real estate, or with the subsequent performance of such person as

 aforesaid, whether or not any person has in fact been misled, deceived or damaged

 thereby…” N.J. Stat. Ann. § 56:8-2. GM engaged in unlawful trade practices, and

 unfair or deceptive acts or practices that violated the New Jersey CFA.

       532.    GM participated in unfair or deceptive trade practices that violated the

 New Jersey CFA. As described below and alleged throughout the Complaint, by


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 failing to disclose the Shift Defect, by concealing the Shift Defect, by marketing its

 vehicles as safe, reliable, well-engineered, and of high quality, and by presenting

 itself as a reputable manufacturer that valued safety, performance and reliability, and

 stood behind its vehicles after they were sold, GM knowingly and intentionally

 misrepresented and omitted material facts in connection with the sale of the Class

 Vehicles. GM systematically misrepresented, concealed, suppressed, or omitted

 material facts relating to the Class Vehicles and the Shift Defect in the course of its

 business.

       533. GM also engaged in unlawful trade practices by employing deception,

 deceptive acts or practices, fraud, misrepresentations, or concealment, suppression

 or omission of any material fact with intent that others rely upon such concealment,

 suppression or omission, in connection with the sale of the Class Vehicles.

       534. GM’s unfair and deceptive acts or practices occurred repeatedly in

 GM's trade or business, were capable of deceiving a substantial portion of the

 purchasing public, and imposed a serious safety risk on the public.

       535. GM knew that the Class Vehicles suffered from an inherent defect,

 were defectively designed and/or manufactured, and were not suitable for their

 intended use.

       536. GM knew or should have known that its conduct violated the New

 Jersey CFA.



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       537. Defendant was under a duty to New Jersey Plaintiff and the New Jersey

 Class Members to disclose the defective nature of the Class Vehicles because:

              A.    Defendant was in a superior position to know the true state of

       facts about the safety defect in the Class Vehicles;

              B.    Defendant made partial disclosures about the quality of the Class

       Vehicles without revealing the defective nature of the Class Vehicles; and

              C.    Defendant actively concealed the defective nature of the Class

       Vehicles from New Jersey Plaintiff and the New Jersey Class Members at the

       time of sale and thereafter.

       538.   By failing to disclose the Shift Defect, Defendant knowingly and

 intentionally concealed material facts and breached its duty not to do so.

       539. The facts concealed or not disclosed by Defendant to New Jersey

 Plaintiff and the New Jersey Class Members are material because a reasonable

 person would have considered them to be important in deciding whether or not to

 purchase Defendant's Class Vehicles, or to pay less for them. Whether a vehicle’s

 transmission contains a defect causing lurching forward, sudden acceleration,

 delayed acceleration, and sudden loss of forward propulsion is a material safety

 concern. Had New Jersey Plaintiff and the New Jersey Class Members known that

 the Class Vehicles suffered from the Shift Defect described herein, they would not

 have purchased the Class Vehicles or would have paid less for them.



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       540. New Jersey Plaintiff and the New Jersey Class Members are reasonable

 consumers who do not expect that their vehicles will suffer from the Shift Defect.

 That is the reasonable and objective consumer expectation for vehicles.

       541. As a result of Defendant's misconduct, New Jersey Plaintiff and the

 New Jersey Class Members have been harmed and have suffered actual damages in

 that the Class Vehicles are defective and require repairs or replacement.

       542. As a direct and proximate result of Defendant’s unfair or deceptive acts

 or practices, New Jersey Plaintiff and the New Jersey Class Members have suffered

 and will continue to suffer actual damages.

       543. GM’s violations present a continuing risk to New Jersey Plaintiff and

 the New Jersey Class Members as well as to the general public. GM’s unlawful acts

 and practices complained of herein affect the public interest.

       544. Pursuant to N.J. Stat. Ann. § 56:8-19, New Jersey Plaintiff and the New

 Jersey Class Members seek an order enjoining GM’s unlawful conduct, actual

 damages, treble damages, attorneys’ fees, costs, and any other just and proper relief

 available under the New Jersey CFA.

    COUNT 12: BREACH OF IMPLIED WARRANTY, N.J. STAT. ANN. §
                          12A:2-314

       545. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.




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       546. New Jersey Plaintiff brings this count on behalf of himself and the New

 Jersey Class against Defendant.

       547. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under N.J. Stat. Ann. § 12A:2-104(1) and a "seller" of motor vehicles under

 § 2-103(1)(d).

       548. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of N.J. Stat. Ann.§§ 12A:2-105(1) and 2A-103(1)(h).

       549. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under N.J.

 Stat. Ann. § 12A:2-314.

       550. GM knew or had reason to know of the specific use for which the Class

 Vehicles were purchased. GM directly sold and marketed Class Vehicles to

 customers through authorized dealers, like those from whom New Jersey Plaintiff

 and members of the New Jersey Class bought their vehicles, for the intended purpose

 of consumers purchasing the vehicles. GM knew that the Class Vehicles would and

 did pass unchanged from the authorized dealers to New Jersey Plaintiff and members

 of the New Jersey Class, with no modification to the defective Class Vehicles.

       551. GM provided New Jersey Plaintiff and members of the New Jersey

 Class with an implied warranty that the Class Vehicles and their components and

 parts are merchantable and fit for the ordinary purposes for which they were sold.



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 However, the Class Vehicles are not fit for their ordinary purpose of providing

 reasonably reliable and safe transportation because, inter alia, the Class Vehicles and

 their lifter suffered from an inherent defect at the time of sale and thereafter and are

 not fit for their particular purpose of providing safe and reliable transportation.

       552. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by GM

 were safe and reliable for providing transportation; and (ii) a warranty that the Class

 Vehicles would be fit for their intended use while the Class Vehicles were being

 operated.

       553. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Plaintiffs and Class Members with reliable, durable, and safe

 transportation. Instead, the Class Vehicles were and are defective at the time of sale

 and thereafter as more fully described above. GM knew of this defect at the time

 these sale transactions occurred.

       554. As a result of GM’s breach of the applicable implied warranties, New

 Jersey Plaintiff and members of the New Jersey Class suffered an ascertainable loss

 of money, property, and/or value of their Class Vehicles. Additionally, as a result of

 the Shift Defect, New Jersey Plaintiff and members of the New Jersey Class were

 harmed and suffered actual damages including economic damages at the point of



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 sale and diminution of value of their Class Vehicles, as well as at the point of repair

 in the form of the cost of repair and additional losses.

       555. GM’s actions, as complained of herein, breached the implied warranty

 that the Class Vehicles were of merchantable quality and fit for such use in violation

 of the Uniform Commercial Code and relevant state law.

       556. New Jersey Plaintiff and members of the New Jersey Class have

 complied with all obligations under the warranty, or otherwise have been excused

 from performance of said obligations as a result of GM’s conduct described herein.

       557. New Jersey Plaintiff and members of the New Jersey Class have had

 sufficient direct dealings with either GM or its agents (i.e., dealerships and technical

 support) to establish privity of contract between GM, on one hand, and New Jersey

 Plaintiff and members of the New Jersey Class on the other hand. Nonetheless,

 privity is not required here because New Jersey Plaintiff and members of the New

 Jersey Class are intended third-party beneficiaries of contracts between GM and its

 distributors and dealers, and specifically, of GM's express warranties, including the

 NVLW, the Powertrain Warranties, and any warranties provided with certified pre-

 owned vehicles. The dealers were not intended to be the ultimate consumers of the

 Class Vehicles and have rights under the warranty agreements provided with the

 Class Vehicles; the warranty agreements were designed for and intended to benefit

 the consumer only.



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       558. New Jersey Plaintiff and members of the New Jersey Class were not

 required to notify GM of the breach because affording GM a reasonable opportunity

 to cure its breach of warranty would have been futile. GM was also on notice of the

 Shift Defect from the complaints and service requests it received from New Jersey

 Plaintiff and the Class Members and through other internal sources.

       559. Nonetheless, New Jersey Plaintiff and members of the New Jersey

 Class provided notice to GM of the breach of express warranties when they took

 their vehicles to GM-authorized provider of warranty repairs. New Jersey Plaintiff

 also provided notice to GM of its breach of express warranty by letter dated February

 17, 2022.

       560. As a direct and proximate cause of GM's breach, New Jersey Plaintiff

 and members of the New Jersey Class suffered damages and continue to suffer

 damages, including economic damages at the point of sale and diminution of value

 of their Class Vehicles. Additionally, New Jersey Plaintiff and members of the New

 Jersey Class have incurred or will incur economic damages at the point of repair in

 the form of the cost of repair as well as additional losses.

       561. As a direct and proximate result of GM's breach of the implied warranty

 of merchantability, New Jersey Plaintiff and members of the New Jersey Class have

 been damaged in an amount to be proven at trial.




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    COUNT 13: BREACH OF EXPRESS WARRANTY, N.J. STAT. ANN.
                         §12A:2-313

        562. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

        563. New Jersey Plaintiff brings this count on behalf of himself and the New

 Jersey Class against Defendant.

        564. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under N.J. Stat. Ann. § 12A:2-104(1) and a “seller” of motor vehicles under

 § 2-103(1)(d).

        565. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of N.J. Stat. Ann.§§ 12A:2-105(1) and 2A-103(1)(h).

        566. Defendant provided all purchasers of the Class Vehicles with an

 express warranty described herein, which became a material part of the bargain.

 Accordingly, GM’s express warranty is an express warranty under New Jersey state

 law.

        567. GM      provided    all   purchasers   of   Class   Vehicles    with   the

 Chevrolet/GMC/Cadillac Warranties.

        568. Under the Warranties, GM expressly warranted the following: “The

 warranty covers repairs to correct any vehicle defect, not slight noise, vibrations, or

 other normal characteristics of the vehicle due to materials or workmanship

 occurring during the warranty period.” Accordingly, the warranty covered all defects


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 except for “slight noise, vibrations, or other normal characteristics of the vehicle due

 to materials or workmanship occurring during the warranty period.” Because the

 Shift Defect does not fall into any of the above excluded categories, it is covered

 under GM’s express warranties, which provide such repairs “including towing, parts,

 and labor . . . at no charge” for up to 3 years or 36,000 miles for the Chevrolet or

 GMC-brand vehicles, or 4 years or 50,000 miles for the Cadillac-brand vehicles (the

 “Bumper-to-Bumper Limited Warranties”).

       569. Furthermore, under the Powertrain Component of the Warranties, GM

 expressly warranted that the powertrain components listed therein, including the

 transmission and “all internally lubricated parts, case, torque converter, mounts,

 seals, and gaskets as well as any electrical components internal to the transmission/

 transaxle” and “any actuators directly connected to the transmission (slave cylinder,

 etc.)” are covered under the Warranties for up to 5 years or 60,000 miles for the

 Chevrolet or GMC brand vehicles, or 6 years or 70,000 miles for the Cadillac-brand

 vehicles (the “Powertrain Warranties”).

       570. GM manufactured and/or installed the 8L90 and 8L45 transmissions

 and the transmissions’ component parts in the Class Vehicles, and the 8L90 and

 8L45 transmissions and their component parts are covered by the express

 Warranties.




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       571. The Shift Defect at issue in this litigation was present at the time the

 Class Vehicles were sold to Plaintiffs and the Class Members.

       572. The Warranty formed the basis of the bargain that was reached when

 New Jersey Plaintiff and other members of the New Jersey Class purchased their

 Class Vehicles.

       573. Further, New Jersey Plaintiff and members of the New Jersey Class

 experienced defects within the warranty period. Despite the existence of the

 warranties, Defendant failed to inform New Jersey Plaintiff and members of the New

 Jersey Class that the Class Vehicles were equipped with defective transmissions and

 related components. When providing repairs under the express warranty, these

 repairs were ineffective and incomplete and did not provide a permanent repair for

 the Shift Defect.

       574. Under the express Warranties, GM was obligated to correct the Shift

 Defect in the vehicles owned by New Jersey Plaintiff and New Jersey Class

 Members.

       575. Although GM was obligated to correct the Shift Defect, none of the

 attempted fixes to the transmissions are adequate under the terms of the Warranties,

 as they did not cure the defect.

       576. GM breached the express Warranties by performing illusory repairs.

 Rather than repairing the vehicles pursuant to the express Warranties, GM falsely



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 informed Class Members that there was no problem with their Class Vehicles,

 performed ineffective procedures including software updates, and/or replaced

 defective components in the 8L90 and 8L45 transmissions with equally defective

 components, without actually repairing the Class Vehicles.

        577. GM and its agent dealers have failed and refused to conform the 8L90

 and 8L45 transmissions to the express Warranties. GM’s conduct, as discussed

 throughout this Complaint, has voided any attempt on its part to disclaim liability

 for its actions.

        578. Because New Jersey Plaintiff purchased his vehicle from an authorized

 GM dealership, he is in privity with Defendant. New Jersey Plaintiff and the

 members of the Washington Class have had sufficient direct dealings with GM and

 its agents (dealerships and customer support personnel) to establish privity of

 contract between GM, on one hand, and New Jersey Plaintiff and the members of

 the New Jersey Class, on the other hand. Furthermore, GM provided warranties

 directly to New Jersey Plaintiff and the members of the New Jersey Class and New

 Jersey Plaintiff and the members of the New Jersey Class are the intended

 beneficiaries of GM’s express and implied warranties. The dealers were not intended

 to be the ultimate consumers of their vehicles and have no rights under the warranty

 agreements provided with provided with the Class Vehicles; the warranty

 agreements were designed for and intended to benefit the consumer only.



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       579. Nonetheless, privity is not required here because New Jersey Plaintiff

 and the members of the New Jersey Class are the intended third-party beneficiaries

 of contracts between GM and its dealerships. These contracts give the dealerships

 the right to sell GM brand vehicles, as well as service and perform warranty repairs

 on GM's behalf. New Jersey Plaintiff and the members of the New Jersey Class are

 the beneficiaries of these contracts, because they are the intended end-consumers

 and users of the products GM distributes to its authorized dealerships.

       580. Any attempt by GM to disclaim or limit recovery to the terms of the

 express warranty is unconscionable and unenforceable here. Specifically, the

 warranty limitation is unenforceable because GM knowingly sold defective products

 without informing consumers about the Shift Defect. The time limits are

 unconscionable and inadequate to protect New Jersey Plaintiff and the members of

 the New Jersey Class. Among other things, New Jersey Plaintiff and members of the

 New Jersey Class did not determine these time limitations and/or did not know of

 other limitations not appearing in the text of the warranties, the terms of which were

 drafted by GM and unreasonable favored GM. A gross disparity in bargaining power

 and knowledge of the extent, severity, and safety risk of the Shift Defect existed

 between GM and members of the Class.

       581. Because GM, through its conduct and exemplified by its own service

 bulletins, has covered repairs of the Shift Defect if GM determines the repairs are



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 appropriately covered under the Warranties, GM cannot now deny that the

 Warranties cover the Shift Defect.

       582. Because GM has not been able to remedy the Shift Defect, any

 limitation on remedies included in the Warranties causes the Warranties to fail their

 essential purposes because the contractual remedy is insufficient to make New

 Jersey Plaintiff and New Jersey Class Members whole, rendering them null and void.

       583. New Jersey Plaintiff and the New Jersey Class Members have complied

 with all obligations under the Warranties, or otherwise have been excused from

 performance of said obligations as a result of GM’s conduct described herein.

       584. New Jersey Plaintiff was not required to notify GM of the breach

 because affording GM a reasonable opportunity to cure its breach of written

 warranty would have been futile. GM was also on notice of the Shift Defect from

 the complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.

       585. Nonetheless, New Jersey Plaintiff provided notice to GM of the breach

 of express warranties when he repeatedly took his vehicle to an authorized GM

 dealership and requested warranty repairs.

       586. As a result of GM’s breach of the applicable express warranties, owners

 of the Class Vehicles suffered, and continue to suffer, an ascertainable loss of

 money, property, and/or value of their Class Vehicles. Additionally, as a result of



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 the Shift Defect, New Jersey Plaintiff and New Jersey Class Members were harmed

 and suffered actual damages including economic damages at the point of sale and

 diminution of value of their Class Vehicles, and costs for repair.

       587. As a result of GM's breach of the express warranty, New Jersey Plaintiff

 and New Jersey Class Members are entitled to legal and equitable relief against GM,

 including actual damages, specific performance, attorneys’ fees, costs of suit, and

 other relief as appropriate.

 COUNT 14: VIOLATION OF WASHINGTON CONSUMER PROTECTION
            ACT, WASH. REV. CODE §§ 19.86.010, ET SEQ.

       588. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       589. Plaintiffs Walter and Janice Helms (“Washington Plaintiffs”) bring this

 count on behalf of themselves and the Washington Class against Defendant.

       590. Washington Plaintiffs, the Washington Class Members, and GM are

 “persons” within the meaning of WASH. REV. CODE § 19.86.010(2).

       591. GM committed the acts complained of herein in the course of “trade”

 or “commerce” within the meaning of WASH. REV. CODE. § 19.96.010.

       592. The Washington Consumer Protection Act (“Washington CPA”)

 broadly prohibits “[u]nfair methods of competition and unfair or deceptive acts or

 practices in the conduct of any trade or commerce.” WASH. REV. CODE § 19.86.020.




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       593. GM participated in unfair or deceptive trade practices that violated the

 Washington CPA. As described below and alleged throughout the Complaint, by

 failing to disclose the Shift Defect, by concealing the Shift Defect, by marketing its

 vehicles as safe, reliable, well-engineered, and of high quality, and by presenting

 itself as a reputable manufacturer that valued safety, performance and reliability, and

 stood behind its vehicles after they were sold, GM knowingly and intentionally

 misrepresented and omitted material facts in connection with the sale of the Class

 Vehicles. GM systematically misrepresented, concealed, suppressed, or omitted

 material facts relating to the Class Vehicles and the Shift Defect in the course of its

 business.

       594. GM also engaged in unlawful trade practices by employing deception,

 deceptive acts or practices, fraud, misrepresentations, or concealment, suppression

 or omission of any material fact with intent that others rely upon such concealment,

 suppression or omission, in connection with the sale of the Class Vehicles.

       595. GM’s unfair and deceptive acts or practices occurred repeatedly in

 GM's trade or business, were capable of deceiving a substantial portion of the

 purchasing public, and imposed a serious safety risk on the public.

       596. GM knew that the Class Vehicles suffered from an inherent defect,

 were defectively designed and/or manufactured, and were not suitable for their

 intended use.



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       597. GM knew or should have known that its conduct violated the

 Washington CPA.

       598. Defendant was under a duty to Washington Plaintiffs and the

 Washington Class Members to disclose the defective nature of the Class Vehicles

 because:

              A.    Defendant was in a superior position to know the true state of

       facts about the safety defect in the Class Vehicles;

              B.    Defendant made partial disclosures about the quality of the Class

       Vehicles without revealing the defective nature of the Class Vehicles; and

              C.    Defendant actively concealed the defective nature of the Class

       Vehicles from Washington Plaintiffs and the Washington Class Members at

       the time of sale and thereafter.

       599. By failing to disclose the Shift Defect, Defendant knowingly and

 intentionally concealed material facts and breached its duty not to do so.

       600. The facts concealed or not disclosed by Defendant to Washington

 Plaintiffs and the Washington Class Members are material because a reasonable

 person would have considered them to be important in deciding whether to purchase

 Defendant's Class Vehicles, or to pay less for them. Whether a vehicle’s transmission

 contains a defect causing lurching forward, sudden acceleration, delayed

 acceleration, and sudden loss of forward propulsion is a material safety concern. Had



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 Washington Plaintiffs and the Washington Class Members known that the Class

 Vehicles suffered from the Shift Defect described herein, they would not have

 purchased the Class Vehicles or would have paid less for them.

       601. Washington Plaintiffs and the Washington Class Members are

 reasonable consumers who do not expect that their vehicles will suffer from the Shift

 Defect. That is the reasonable and objective consumer expectation for vehicles.

       602. Washington Plaintiffs provided notice of their claims and intention to

 represent a class of similarly situated consumers on February 17, 2022.

       603. As a result of Defendant’s misconduct, Washington Plaintiffs and the

 Washington Class Members have been harmed and have suffered actual damages in

 that the Class Vehicles are defective and require repairs or replacement.

       604. As a direct and proximate result of GM’s unfair or deceptive acts or

 practices, Washington Plaintiffs and the Washington Sub-Class Members suffered

 and will continue to suffer injury in fact and/or actual damages.

       605. GM is liable to Washington Plaintiffs and the Washington Sub-Class

 for damages in amounts to be proven at trial, including punitive damages, attorneys’

 fees, costs, and any other remedies the Court may deem appropriate under WASH.

 REV. CODE. § 19.86.090. Because GM’s actions were willful and knowing,

 Plaintiffs’ damages should be trebled.




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 COUNT 15: BREACH OF IMPLIED WARRANTY, WASH. REV. CODE §
                         62A.2-314

       606. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       607. Washington Plaintiffs bring this count on behalf of herself and the

 Washington Class against Defendant.

       608. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under WASH. REV. CODE §§ 62A.2-104(1) and 62A.2A-103(1)(t), and a

 “seller” of motor vehicles under § 2.103(a)(4).

       609. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of WASH. REV. CODE §§ 62A.2-105(1) and 62A.2A-103(1)(h).

       610. A warranty that the Class Vehicles were in merchantable condition and

 fit for the ordinary purpose for which vehicles are used is implied by law under

 WASH. REV. CODE § 62A.2-314.

       611. GM knew or had reason to know of the specific use for which the Class

 Vehicles were purchased. GM directly sold and marketed Class Vehicles to

 customers through authorized dealers, like those from whom Washington Plaintiffs

 and members of the Washington Class bought their vehicles, for the intended

 purpose of consumers purchasing the vehicles. GM knew that the Class Vehicles

 would and did pass unchanged from the authorized dealers to Washington Plaintiffs




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 and members of the Washington Class, with no modification to the defective Class

 Vehicles.

       612. GM provided Washington Plaintiffs and members of the Washington

 Class with an implied warranty that the Class Vehicles and their components and

 parts are merchantable and fit for the ordinary purposes for which they were sold.

       613. This implied warranty included, among other things: (i) a warranty that

 the Class Vehicles that were manufactured, supplied, distributed, and/or sold by GM

 were safe and reliable for providing transportation; and (ii) a warranty that the Class

 Vehicles would be fit for their intended use while the Class Vehicles were being

 operated.

       614. Contrary to the applicable implied warranties, the Class Vehicles at the

 time of sale and thereafter were not fit for their ordinary and intended purpose of

 providing Washington Plaintiffs and Washington Class Members with reliable,

 durable, and safe transportation. Instead, the Class Vehicles were and are defective

 at the time of sale and thereafter as more fully described above. GM knew of this

 defect at the time these sale transactions occurred.

       615. As a result of GM’s breach of the applicable implied warranties,

 Washington Plaintiffs and members of the Washington Class suffered an

 ascertainable loss of money, property, and/or value of their Class Vehicles.

 Additionally, because of the Shift Defect, Washington Plaintiffs and members of the



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 Washington Class were harmed and suffered actual damages including economic

 damages at the point of sale and diminution of value of their Class Vehicles, as well

 as at the point of repair in the form of the cost of repair and additional losses.

       616. GM’s actions, as complained of herein, breached the implied warranty

 that the Class Vehicles were of merchantable quality and fit for such use in violation

 of the Uniform Commercial Code and relevant state law.

       617. Because Washington Plaintiffs purchased their vehicle from an

 authorized GM dealership, they are in privity with Defendant. Washington Plaintiffs

 and the members of the Washington Class have had sufficient direct dealings with

 GM and its agents (dealerships and customer support personnel) to establish privity

 of contract between GM, on one hand, and Washington Plaintiffs and the members

 of the Washington Class, on the other hand. Furthermore, GM provided warranties

 directly to Washington Plaintiffs and the members of the Washington Class and

 Washington Plaintiffs and the members of the Washington Class are the intended

 beneficiaries of GM's express and implied warranties. The dealers were not intended

 to be the ultimate consumers of their vehicles and have no rights under the warranty

 agreements provided with provided with the Class Vehicles; the warranty

 agreements were designed for and intended to benefit the consumer only.

       618. Nonetheless, privity is not required here because Washington Plaintiffs

 and the members of the Washington Class are the intended third-party beneficiaries



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 of contracts between GM and its dealerships. These contracts give the dealerships

 the right to sell GM brand vehicles, as well as service and perform warranty repairs

 on GM's behalf. Washington Plaintiffs and the members of the Washington Class

 are the beneficiaries of these contracts, because they are the intended end-consumers

 and users of the products GM distributes to its authorized dealerships.

       619. Washington Plaintiffs and members of the Washington Class have

 complied with all obligations under the warranty, or otherwise have been excused

 from performance of said obligations as a result of GM’s conduct described herein.

       620. Washington Plaintiffs and members of the Washington Class were not

 required to notify GM of the breach because affording GM a reasonable opportunity

 to cure its breach of warranty would have been futile. GM was also on notice of the

 Shift Defect from the complaints and service requests it received from Washington

 Plaintiffs and the Class Members and through other internal sources.

       621. Nonetheless, Plaintiffs provided notice to GM of the breach of implied

 warranties when they repeatedly took their vehicle to an authorized GM dealership

 and requested warranty repairs. Washington Plaintiffs also provided notice by letter

 dated February 17, 2022.

       622. As a direct and proximate cause of GM's breach, Washington Plaintiffs

 and members of the Washington Class suffered damages and continue to suffer




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 damages, including economic damages at the point of sale and diminution of value

 of their Class Vehicles, and costs for repair.

       623. As a direct and proximate result of GM’s breach of the implied

 warranty of merchantability, Washington Plaintiffs and members of the Washington

 Class have been damaged in an amount to be proven at trial.

  COUNT 16: BREACH OF EXPRESS WARRANTY, WASH. REV. CODE §
                          62A.2-313

       624. Plaintiffs incorporate by reference and re-allege the allegations

 contained in paragraphs 1-337 of this Complaint.

       625. Washington Plaintiffs brings this count on behalf of themselves and the

 Washington Class against Defendant.

       626. GM is and was at all relevant times a “merchant” with respect to motor

 vehicles under WASH. REV. CODE §§ 62A.2-104(1) and 62A.2A-103(1)(t), and a

 “seller” of motor vehicles under § 2.103(a)(4).

       627. The Class Vehicles are and were at all relevant times “goods” within

 the meaning of WASH. REV. CODE §§ 62A.2-105(1) and 62A.2A-103(1)(h).

       628. The 8L90 and 8L45 transmissions were manufactured and/or installed

 in the Class Vehicles by Defendant and are covered by the express warranty.

       629. Defendant provided all purchasers of the Class Vehicles with an

 express warranty described herein, which became a material part of the bargain.




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 Accordingly, GM's express warranty is an express warranty under Washington state

 law.

        630. GM      provided    all   purchasers    of   Class   Vehicles    with   the

 Chevrolet/GMC/Cadillac Warranties.

        631. Under the Warranties, GM expressly warranted the following: “The

 warranty covers repairs to correct any vehicle defect, not slight noise, vibrations, or

 other normal characteristics of the vehicle due to materials or workmanship

 occurring during the warranty period.” Accordingly, the warranty covered all defects

 except for “slight noise, vibrations, or other normal characteristics of the vehicle due

 to materials or workmanship occurring during the warranty period.” Because the

 Shift Defect does not fall into any of the above excluded categories, it is covered

 under GM’s express warranties, which provide such repairs “including towing, parts,

 and labor . . . at no charge” for up to 3 years or 36,000 miles for the Chevrolet or

 GMC-brand vehicles, or 4 years or 50,000 miles for the Cadillac-brand vehicles (the

 “Bumper-to-Bumper Limited Warranties”).

        632. Furthermore, under the Powertrain Component of the Warranties, GM

 expressly warranted that the powertrain components listed therein, including the

 transmission and “all internally lubricated parts, case, torque converter, mounts,

 seals, and gaskets as well as any electrical components internal to the transmission/

 transaxle” and “any actuators directly connected to the transmission (slave cylinder,



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 etc.)” are covered under the Warranties for up to 5 years or 60,000 miles for the

 Chevrolet or GMC brand vehicles, or 6 years or 70,000 miles for the Cadillac-brand

 vehicles (the “Powertrain Warranties”).

       633. GM manufactured and/or installed the 8L90 and 8L45 transmissions

 and the transmissions’ component parts in the Class Vehicles, and the 8L90 and

 8L45 transmissions and their component parts are covered by the express

 Warranties.

       634. The Shift Defect at issue in this litigation was present at the time the

 Class Vehicles were sold to Washington Plaintiffs and the Washington Class

 Members.

       635. The Warranty formed the basis of the bargain that was reached when

 Washington Plaintiffs and other members of the Washington Class purchased their

 Class Vehicles.

       636. Further, Washington Plaintiff and members of the Washington Class

 experienced defects within the warranty period. Despite the existence of the

 warranties, Defendant failed to inform Washington Plaintiffs and members of the

 Washington Class that the Class Vehicles were equipped with defective

 transmissions and related components. When providing repairs under the express

 warranty, these repairs were ineffective and incomplete and did not provide a

 permanent repair for the Shift Defect.



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        637. Under the express Warranties, GM was obligated to correct the Shift

 Defect in the vehicles owned by Washington Plaintiffs and Washington Class

 Members.

        638. Although GM was obligated to correct the Shift Defect, none of the

 attempted fixes to the transmissions are adequate under the terms of the Warranties,

 as they did not cure the defect.

        639. GM breached the express Warranties by performing illusory repairs.

 Rather than repairing the vehicles pursuant to the express Warranties, GM falsely

 informed Class Members that there was no problem with their Class Vehicles,

 performed ineffective procedures including software updates, and/or replaced

 defective components in the 8L90 and 8L45 transmissions with equally defective

 components, without actually repairing the Class Vehicles.

        640. GM and its agent dealers have failed and refused to conform the 8L90

 and 8L45 transmissions to the express Warranties. GM’s conduct, as discussed

 throughout this Complaint, has voided any attempt on its part to disclaim liability

 for its actions.

        641. Because Washington Plaintiffs purchased their vehicle from an

 authorized GM dealership, they are in privity with the Defendant. Washington

 Plaintiffs and the members of the Washington Class have had sufficient direct

 dealings with GM and its agents (dealerships and customer support personnel) to



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 establish privity of contract between GM, on one hand, and Washington Plaintiffs

 and the members of the Washington Class, on the other hand. Furthermore, GM

 provided warranties directly to Washington Plaintiffs and the members of the

 Washington Class and Washington Plaintiffs and the members of the Washington

 Class are the intended beneficiaries of GM's express and implied warranties. The

 dealers were not intended to be the ultimate consumers of their vehicles and have no

 rights under the warranty agreements provided with provided with the Class

 Vehicles; the warranty agreements were designed for and intended to benefit the

 consumer only.

       642. Nonetheless, privity is not required here because Washington Plaintiffs

 and the members of the Washington Class are the intended third-party beneficiaries

 of contracts between GM and its dealerships. These contracts give the dealerships

 the right to sell GM brand vehicles, as well as service and perform warranty repairs

 on GM's behalf. Washington Plaintiffs and the members of the Washington Class

 are the beneficiaries of these contracts, because they are the intended end-consumers

 and users of the products GM distributes to its authorized dealerships.

       643. Any attempt by GM to disclaim or limit recovery to the terms of the

 express warranty is unconscionable and unenforceable here. Specifically, the

 warranty limitation is unenforceable because GM knowingly sold defective products

 without informing consumers about the Shift Defect. The time limits are



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 unconscionable and inadequate to protect Washington Plaintiffs and the members of

 the Washington Class. Among other things, Washington Plaintiffs and members of

 the Washington Class did not determine these time limitations and/or did not know

 of other limitations not appearing in the text of the warranties, the terms of which

 were drafted by GM and unreasonable favored GM. A gross disparity in bargaining

 power and knowledge of the extent, severity, and safety risk of the Shift Defect

 existed between GM and members of the Class.

       644. Washington Plaintiffs and the Washington Class Members have

 complied with all obligations under the Warranties, or otherwise have been excused

 from performance of said obligations as a result of GM’s conduct described herein.

       645. Because GM, through its conduct and exemplified by its own service

 bulletins, has covered repairs of the Shift Defect if GM determines the repairs are

 appropriately covered under the Warranties, GM cannot now deny that the

 Warranties cover the Shift Defect.

       646. Because GM has not been able to remedy the Shift Defect, any

 limitation on remedies included in the Warranties causes the Warranties to fail their

 essential purposes because the contractual remedy is insufficient to make

 Washington Plaintiffs and Washington Class Members whole, rendering them null

 and void.




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       647. Washington Plaintiffs were not required to notify GM of the breach

 because affording GM a reasonable opportunity to cure its breach of written

 warranty would have been futile. GM was also on notice of the Shift Defect from

 the complaints and service requests it received from Class Members, including those

 formal complaints submitted to NHTSA, and through other internal sources.

       648. Nonetheless, Washington Plaintiffs provided notice to GM of the

 breach of express warranties when they repeatedly took their vehicle to an authorized

 GM dealership and requested warranty repairs. Washington Plaintiffs also provided

 GM with notice by letter dated February 17, 2022.

       649. As a direct and proximate cause of GM’s breach, Washington Plaintiffs

 and Washington Class Members suffered damages and continue to suffer damages,

 including economic damages at the point of sale and diminution of value of their

 Class Vehicles, and costs for repair.

       650. As a result of GM’s breach of the express warranty, Washington

 Plaintiffs and Washington Class Members are entitled to legal and equitable relief

 against GM, including actual damages, specific performance, attorney’s fees, costs

 of suit, and other relief as appropriate.

                               REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs on behalf of themselves, and all others similarly

 situated, requests the Court to enter judgment against GM, as follows:



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       A.     An order certifying the proposed Class pursuant to Federal Rule of Civil

 Procedure 23, designating Plaintiffs as named representatives of the Class and

 designating the undersigned as Class Counsel for the Class;

       B.     A declaration that Defendant is financially responsible for notifying all

 members of the Class about the defective nature of the GM 8L45 and 8L90

 transmission, any repair or replacement available to remedy the defect and/or the

 need for periodic maintenance

       C.     A declaration that Defendant is financially responsible for all Class

 notice and the administration of Class relief.

       D.     An order enjoining Defendant from further deceptive distribution, sales

 practices with respect to the Class Vehicles, and to remove and replace Plaintiffs and

 Class Members’ transmissions with a suitable alternative product; enjoining

 Defendant from selling the Class Vehicles with the misleading information and

 defective transmissions; compelling Defendant to provide members of the Class with

 a replacement transmission that does not contain the defects alleged herein; and/or

 compelling Defendant to reform its warranty, in a manner deemed to be appropriate

 by the Court, to cover the injury alleged at no cost to members of the Class and to

 notify all members of the Class that such warranty has been reformed;




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          E.   A declaration requiring Defendant to comply with the various

 provisions of the state and federal consumer protection statutes herein alleged and

 to make all the required disclosures;

          F.   An award to Plaintiffs and members of the Class for actual,

 compensatory, exemplary, and statutory damages, including interest, including

 damages for economic loss including loss of the benefit of the bargain, overpayment

 damages, diminished value and the cost of repair to make the Class Vehicles

 conform to the benefit of the bargain, in an amount to be proven at trial;

          G.   Any and all remedies provided pursuant to the state and federal

 consumer protection statutes herein alleged, including any applicable statutory and

 civil penalties;

          H.   A declaration that Defendant must disgorge, for the benefit of the Class,

 all or part of the ill-gotten profits it received from the sale of the Class Vehicles, or

 make full restitution to Plaintiffs and members of the Class;

          I.   An award of attorneys’ fees and costs, as allowed by law;

          J.   An award of pre-judgment and post-judgment interest on any amounts

 awarded, as provided by law;

          K.   Leave to amend the Complaint to conform to the evidence produced at

 trial;




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       L.     Plaintiffs demand that GM perform a recall, and repair all Class

 Vehicles at no expense to Plaintiffs and members of the Class; and

       M.     Granting such other and further relief as the Court deems just and

 proper.

                             JURY TRIAL DEMANDED

       Pursuant to Federal Rule of Civil Procedure 38(c), Plaintiffs demand a trial by

 jury of any and all issues in this action so triable.

        RESPECTFULY SUBMITTED this 12th day of April, 2022.

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